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                          EXHIBIT 2
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                         JAMES v. HAMPTON, ET AL.

                                        PAUL FISCHER




                                           July 28, 2017



                                         Prepared for you by




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         1                   UNITED STATES DISTRICT COURT                1   JEANMARIE MILLER
         2                   EASTERN DISTRICT OF MICHIGAN                2   State of Michigan, Department of Attorney General
         3                       SOUTHERN DIVISION                       3   525 West Ottawa Street
         4                                                               4   Fifth Floor
         5   SYLVIA JAMES,                                               5   Lansing, Michigan 48909
         6                    Plaintiff,                                 6   (517) 373-6434
         7             vs.           Case No. 2:12-cv-10273              7   millerj51@michigan.gov
         8                          Hon. Paul D. Borman                  8      Appearing on behalf of the Defendants, JTC, Val
         9                          Magistrate Judge R. Steven Whalen    9      Washington and Deb Green.
        10   HILLIARD HAMPTON, et al.,                                  10
        11                    Defendants.                               11   BRETT A. ASHER
        12   ____________________________                               12   The Mike Cox Law Firm, P.L.L.C.
        13                                                              13   17430 Laurel Park Drive North
        14                                                              14   Suite 120E
        15      The Confidential Deposition of PAUL FISCHER,            15   Livonia, Michigan 48152
        16      Taken at 2000 Town Center, Suite 2700,                  16   (734) 591-4002
        17      Southfield, Michigan,                                   17   basher@mikecoxlaw.com
        18      Commencing at 9:03 a.m.,                                18      Appearing on behalf of the Defendant, Pamela Anderson.
        19      Friday, July 28, 2017,                                  19
        20      Before Becky L. Johnson, CSR-5395.                      20
        21                                                              21
        22                                                              22
        23                                                              23
        24                                                              24
        25                                                              25


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         1   APPEARANCES:                                                1                     TABLE OF CONTENTS
         2                                                               2
         3   JASON R. HIRSCH                                             3       WITNESS                                    PAGE
         4   JOSHUA A. FISHER                                            4       PAUL FISCHER
         5   Morganroth & Morganroth, P.L.L.C.                           5
         6   344 North Old Woodward Avenue                               6       EXAMINATION
         7   Suite 200                                                   7       BY MR. HIRSCH:                                   9
         8   Birmingham, Michigan 48009                                  8
         9   (248) 864-4000                                              9                            EXHIBITS
        10   jhirsch@morganrothlaw.com                                  10
        11   jfisher@morganrothlaw.com                                  11       EXHIBIT                            PAGE
        12      Appearing on behalf of the Plaintiff.                   12       (Exhibits attached to transcript.)
        13                                                              13
        14   MATTHEW T. NELSON                                          14       DEPOSITION       EXHIBIT      1                       33
        15   Warner, Norcross & Judd, L.L.P.                            15       DEPOSITION       EXHIBIT      2                       55
        16   111 Lyon Street NW                                         16       DEPOSITION       EXHIBIT      3                       96
        17   Suite 900                                                  17       DEPOSITION       EXHIBIT      4                       97
        18   Grand Rapids, Michigan 49503                               18       DEPOSITION       EXHIBIT      5                      100
        19   (616) 752-2539                                             19       DEPOSITION       EXHIBIT      6                      101
        20   mnelson@wnj.com                                            20       DEPOSITION       EXHIBIT      7                      129
        21      Appearing on behalf of the Defendant, Paul Fischer,     21       DEPOSITION       EXHIBIT      8                      130
        22      Esq.                                                    22       DEPOSITION       EXHIBIT      9                      132
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         1      DEPOSITION          EXHIBIT   13                     167    1   on a section-by-section basis we may need to -- but
         2      DEPOSITION          EXHIBIT   14                     168    2   that may be better addressed later. In other words,
         3      DEPOSITION          EXHIBIT   15                     180    3   nobody will use anything for the moment --
         4      DEPOSITION          EXHIBIT   16                     184    4           MR. NELSON: Sure.
         5                                                                  5           MR. HIRSCH: -- is I think probably --
         6                                                                  6           MR. NELSON: But there also will be
         7                                                                  7   questions -- there will also be questions that
         8                                                                  8   Mr. Fischer will not be able to answer because of
         9                                                                  9   privileges.
        10                                                                 10           MR. HIRSCH: And those -- I mean, I'll
        11                                                                 11   still ask whatever questions I ask and to the extent
        12                                                                 12   you make that direction or objection to him, then --
        13                                                                 13           MR. NELSON: Fair game.
        14                                                                 14           MR. HIRSCH: -- we'll go from there.
        15                                                                 15           Okay, thank you.
        16                                                                 16           Good morning, sir, my name is Jason Hirsch,
        17                                                                 17   I'm one of the attorneys for Plaintiff in this matter.
        18                                                                 18           Let the record show that this is the
        19                                                                 19   deposition of Paul J. Fischer taken pursuant to notice
        20                                                                 20   under the Federal Rules of Civil Procedure.
        21                                                                 21           Mr. Fischer, I know you've done this
        22                                                                 22   before, but we'll go over some rules to make sure
        23                                                                 23   we're on the same page, okay? I'm going to ask you a
        24                                                                 24   series of questions. You understand you were just
        25                                                                 25   sworn in and your answers are going to be under oath,


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         1   Southfield, Michigan                                           1   okay?
         2   Friday, July 28, 2017                                          2           THE WITNESS: Yes.
         3   9:03 a.m.                                                      3           MR. HIRSCH: And if you could answer
         4                                                                  4   verbally, as you know, the court reporter, it is
         5                    PAUL FISCHER,                                 5   difficult for her to take down head shakes or other
         6      was thereupon called as a witness herein, and after         6   motions, okay?
         7      having first been duly sworn to testify to the truth,       7           THE WITNESS: Yes.
         8      the whole truth and nothing but the truth, was              8           MR. HIRSCH: And if at any time you don't
         9      examined and testified as follows:                          9   understand a question I ask, please say so and I'll
        10               MR. NELSON: Before we get started, I just         10   try to clarify, okay?
        11      wanted -- the defense counsel just wanted to put a         11           THE WITNESS: Yes.
        12      note for the record.                                       12           MR. HIRSCH: Please let me finish my entire
        13               I'm sure you're already aware of this, but        13   question before you --
        14      we do anticipate that there will be areas of               14           THE WITNESS: Yes.
        15      questioning that are going to implicate privilege,         15           MR. HIRSCH: -- before you -- before you --
        16      work product, attorney/client and deliberative             16   I don't know if humor works on the record.
        17      process. We just wanted to make that point at the          17           We get it. Let me finish my entire
        18      beginning so if there were any questions we could          18   question to make sure you understand what I'm asking
        19      resolve that, rather than have issues come up later        19   and because it's difficult for the court reporter to
        20      so --                                                      20   record any of us talking over each other, okay?
        21               MR. HIRSCH: Yeah, and I agree, Matt, so I         21           THE WITNESS: Yes.
        22      think, you know, probably to make it easier, you guys      22           MR. HIRSCH: And if at any time I should
        23      will probably -- for the moment we'll just designate       23   interrupt you or you have not completed your answer,
        24      the whole thing as confidential pursuant to the terms      24   please let me know and we'll let you finish it for the
        25      of the protective order and -- but, you know, I guess      25   record, okay?




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        1                THE WITNESS: Yes.                                   1       American Bar Association?
        2                MR. HIRSCH: And if at any time you need a           2   A. No, no local bar associations, if that's what you
        3      break just let me know, preferably not mid-question,          3      mean.
        4      any other time and we'll certainly take a break for           4   Q. Okay. Sir, could you tell me your employment history
        5      anybody that needs the restroom or anything else,             5       starting from --
        6      okay?                                                         6   A. Let me ask you, you meant currently, whether I was
        7                THE WITNESS: Yes.                                   7      formally a member of anything you're not interested
        8                     EXAMINATION                                    8      in?
        9   BY MR. HIRSCH:                                                   9   Q. Well, I guess thanks for bringing that up then. So I
       10   Q. Okay. Sir, just for the record could we have your            10       think a moment ago when I asked you are you a member
       11      full name?                                                   11       of the American Bar Association you said no?
       12   A. Paul Jeffrey Fischer, F-I-S-C-H-E-R.                         12   A. I used to be.
       13   Q. And your date of birth, sir?                                 13   Q. Have you ever been a member of the American Bar
       14   A. 11-15-57.                                                    14       Association?
       15   Q. Sir, could you tell me your formal education from            15   A. Yes.
       16      undergraduate college forward?                               16   Q. Okay. For what period of time were you a member?
       17   A. I graduated University of Michigan in 1979, graduated        17   A. A short period, few years, probably in the early '80s.
       18      Wayne State Law School in 1983.                              18   Q. Okay.
       19   Q. And I presume you received a J.D. degree from Wayne          19   A. Oakland County Bar Association for a similar period,
       20      State Law School; is that correct?                           20      short period.
       21   A. Yes.                                                         21   Q. Okay.
       22   Q. And what was the degree you received undergrad from          22   A. And a former member of the Association of Judicial
       23      University of Michigan?                                      23      Disciplinary Council.
       24   A. Ancient history -- I mean, it wasn't ancient history         24   Q. Okay. Could you tell me about your employment history
       25      and it's now ancient history.                                25       from the time you graduated law school forward?



                                                               Page 10                                                              Page 12
        1   Q. It was a bachelor's of arts degree --                         1   A. Yes. So for maybe six months after law school I
        2   A. Yes.                                                          2      worked for a private firm here in this complex,
        3   Q. -- in ancient history, correct?                               3      Bushnell, Gage, Doctoroff & Reizen for about six
        4   A. Yes.                                                          4      months, probably March of 1984. And then I started at
        5   Q. Okay. Are you a member of any professional                    5      the Oakland County Prosecutor's Office until about
        6      associations?                                                 6      maybe November of 1990 when I started at the Judicial
        7   A. You mean like the State Bar?                                  7      Tenure Commission as a staff attorney and I was there
        8   Q. Let's set Bar -- well, let me ask you some more               8      until March of 1992.
        9      specific questions.                                           9              From there I went to a firm in Birmingham,
       10   A. Well, I don't understand the question.                       10      Hyman Lippitt, and I was there until December of 2000.
       11   Q. I understand. Are you a member of the American Bar           11      And on January 1st, 2001 I started with the Tenure
       12      Association?                                                 12      Commission, the Judicial Tenure Commission, as the
       13   A. No.                                                          13      executive director and I was there until September
       14   Q. Okay. You are a member of the Michigan Bar, correct?         14      12th, 2016.
       15   A. Yes.                                                         15   Q. And have you held any employment since September of
       16   Q. Are you a member of any other State Bars?                    16      2016?
       17   A. No.                                                          17   A. No.
       18   Q. And are you admitted to practice law in any federal          18   Q. Going back to the first private firm you worked at,
       19      courts?                                                      19      Bushnell, what kind of practice did you focus on at
       20   A. Yes.                                                         20      that firm?
       21   Q. Which ones?                                                  21   A. It was a general practice firm. It did a lot of
       22   A. Eastern District of Michigan, 6th Circuit and the U.S.       22      product liability defense and some plaintiff work.
       23      Supreme Court.                                               23      They did some medical malpractice, they did divorce,
       24   Q. Any other similar associations, like any other -- not        24      they did probate. I clerked there earlier so I had
       25      State Bar associations, but associations like the            25      done a lot of -- a lot of little different things here




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        1      and there, nothing specific, no -- nothing in              1      both your roles as executive director and general
        2      particular, just general first year, here, your turn       2      counsel, correct?
        3      to do this.                                                3   A. Yeah, I don't think -- as the general counsel I
        4   Q. So a broad general practice kind of firm?                  4      don't -- I would not be arguing a case in front of the
        5   A. Yes.                                                       5      court -- in front of the commission or in front of the
        6   Q. Your other work in private practice was with Hyman         6      court. There's a -- the commission has a dual
        7      Lippitt, correct?                                          7      function as an investigative unit and as a judicial
        8   A. Yes.                                                       8      unit, an adjudicative unit.
        9   Q. And did you focus on any particular area of law at         9              As those roles changed, my role would
       10      Hyman Lippitt?                                            10      change as well, it would become less of the executive
       11   A. So it was mostly complex commercial litigation,           11      director and more of what I call the examiner, a
       12      domestic law, family law and appeals from both of         12      prosecutorial role, and there would be no counsel from
       13      those areas and some judicial defense and attorney        13      me to the commission when acting as the examiner
       14      defense in the Attorney Grievance Commission, Attorney    14      because they're in their adjudicative role and I could
       15      Discipline Board and in front of the Judicial Tenure      15      not be giving them advice on a matter that I'm also an
       16      Commission.                                               16      advocate on.
       17   Q. Focusing on your time as executive director of the        17   Q. And that shift from your role as counsel maybe to the
       18      Judicial Tenure Commission starting in January of         18      JTC to your role as examiner occurs upon the filing of
       19      2001, what were your duties as executive director?        19      a formal complaint; is that correct?
       20   A. There are many of them. The executive director -- I       20   A. Right, the issuance of a formal complaint, then we
       21      would frequently refer to this, to the commission, as     21      file it, yes.
       22      they were the store owners and the executive director     22   Q. The issuance, correct?
       23      is like the store manager, making sure everything runs    23   A. The issuance -- the commission itself issues the
       24      while the owners aren't there.                            24      complaint and then at that point I no longer am their
       25             So you're the spokesperson to the                  25      counsel, I become the examiner and they become the


                                                               Page 14                                                          Page 16
        1      commission, for the commission, to the public,             1      adjudicative body.
        2      receiving grievances, complaints from the public and       2   Q. In your role as executive director would you also
        3      anybody else who may file one, conducting                  3      speak at seminars sometimes?
        4      investigations at the commission's direction and then      4   A. Yes.
        5      if a matter goes to a formal complaint, being in           5   Q. Judicial meetings?
        6      charge of the trial of that matter.                        6   A. Yes.
        7   Q. And --                                                     7   Q. Which ones, do you recall?
        8   A. And I guess I should further up, arguing in front of       8   A. There are so many of them, I mean, I would do
        9      the commission if there is a decision in a formal          9      presentations for MJI, the Michigan Judicial
       10      complaint and in front of the Michigan Supreme Court      10      Institute; very often SCAO, the State Court
       11      as well.                                                  11      Administrative Office, would ask me to speak when they
       12   Q. You also -- your title was also general counsel for       12      would have meetings; the Supreme Court had me speak
       13      the JTC --                                                13      many times at their annual conferences; I spoke at
       14   A. Yes.                                                      14      ICLE, Institute of Continuing Legal Education,
       15   Q. -- during that time period; is that correct?              15      seminars.
       16   A. Sorry, yes.                                               16   Q. Would you also sometimes speak at various judges'
       17   Q. Are there any different duties you had as general         17      associations?
       18      counsel?                                                  18   A. Yes.
       19   A. It's hard to say that at any one time I was acting as     19   Q. Do you recall any of the specific ones you may have
       20      executive director or as general counsel, it's more of    20      spoken at?
       21      a combined function. I would think that whenever the      21   A. No, I mean, I know I've -- I know I've been to
       22      commission asked me a question that one would ask a       22      Mackinac Island to speak to the MJA, the Michigan
       23      lawyer, I was functioning more as their general           23      Judges Association, and I know I've been to some other
       24      counsel.                                                  24      resorts and -- I think the Probate Judges Association
       25   Q. So the duties you just described to me would cover        25      and some of the referees, the magistrates, went to the




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                                                                 Page 17                                                            Page 19
        1      different organizations.                                     1   A. Yes.
        2   Q. So fair to say a lot of speeches over the course of          2   Q. Okay. Sometimes as part of your introduction at these
        3      your long tenure as executive director, correct?             3      meetings you would say I am the boogeyman you tell
        4   A. Yes.                                                         4      your kids ghost stories about at bedtime, correct?
        5   Q. What was the purpose of those speeches?                      5   A. Yes.
        6   A. So I'll say I wouldn't call them speeches, I would           6   Q. And you were joking when you made that statement,
        7      call them presentations. I would frequently do a --          7      correct?
        8      generally do a PowerPoint presentation, giving               8   A. Yes, and I usually get a laugh too.
        9      examples on specific topics that the organization had        9   Q. But there is a fear of the JTC among judges, correct?
       10      asked me to speak on or if they wanted just a general       10              MR. NELSON: Objection, calls for
       11      update on matters that had been going on with the           11      speculation.
       12      commission, to just advise and allow other people to        12   BY MR. HIRSCH:
       13      know the kinds of things that the commission is doing       13   Q. Do you know if there is a fear of the JTC among judges
       14      and the types of things that judges have gotten in          14      in Michigan?
       15      trouble for or not gotten in trouble for.                   15   A. I don't know.
       16   Q. So would it be fair to say that it was educational to       16   Q. That wasn't how you came up with the joke that you are
       17      convey what the commission was doing and to assist          17      the boogeyman?
       18      judges in complying with the Michigan Code of Judicial      18   A. I thought it was -- of it as an icebreaker. I know
       19      Conduct?                                                    19      that I would frequently say that the Tenure Commission
       20   A. Yeah, that's what I understood I was doing.                 20      was like the IAB division of -- the internal affairs
       21   Q. Okay. And you would sometimes meet particular judges        21      division for the police, so I was trying to be -- make
       22      at these events, correct?                                   22      a little bit of a light moment and an icebreaker. As
       23   A. I'm not sure I know what you mean.                          23      I said, I usually got a laugh.
       24   Q. Well, would you -- well, strike that.                       24   Q. It is true though that the JTC has significant power
       25                 Judges would attend some of these events,        25      over judges in the state of Michigan, correct?



                                                                 Page 18                                                            Page 20
        1      correct?                                                     1   A. I don't think the commission has any power over
        2   A. Yes.                                                         2       judges, the Supreme Court does.
        3   Q. Okay. Would you sometimes actually meet the judges           3   Q. The Supreme Court generally exercises its power over
        4      before or after, mingling, during these events?              4       judges in the state of Michigan through the commission
        5   A. So if you mean -- I hear meet, you know, like sit --         5       though, correct?
        6      like we're meeting now, like sitting down. I mean,           6   A. No.
        7      did I encounter somebody, did I say hello to somebody,       7   Q. Okay. The JTC can certainly recommend that a judge be
        8      yes, sure.                                                   8       removed from office, correct?
        9   Q. I mean, would you -- so it sounds like you're drawing        9   A. Yes.
       10      a distinction between maybe saying hello to somebody        10   Q. The JTC can authorize the filing of a public formal
       11      and doing sort of a greeting and actually sitting down      11       complaint against --
       12      and having conversation, correct?                           12   A. Yes.
       13   A. Yes, a one-on-one sit-down, right.                          13   Q. -- a judge, correct?
       14   Q. Would you deliberately not have the sort of one-on-one      14   A. Yes.
       15      sit-downs?                                                  15   Q. And judges in Michigan have to run for election,
       16   A. No, no, I mean, at the end of presentations frequently      16       correct?
       17      judges would come up and ask questions. I would refer       17   A. Yes.
       18      to the type of thing where I would say I know, you          18   Q. Okay. And the JTC also has jurisdiction over some
       19      want to come up and ask a question: I have a friend         19       appointed positions too, correct, magistrates and --
       20      who -- you know, that's fine. You want to ask a             20   A. Yes.
       21      question about an ethical matter, I'll be happy to try      21   Q. Okay. But circuit court and district court judges
       22      and talk it through with you.                               22       have to run for election, correct?
       23   Q. So in the course of those sorts of meetings you would       23   A. Yes.
       24      come to know many judges in the state of Michigan,          24   Q. As do appellate court judges, in fact, in Michigan,
       25      correct?                                                    25       correct?




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        1   A. Yes, yes.                                                   1      G-L-E-N-N, P-A-G-E. Then maybe a year or two or three
        2   Q. In your role as executive director were you also            2      later Anna retired and the commission hired Margaret,
        3      responsible for the hiring of the JTC's professional        3      M-A-R-G-A-R-E-T, Rynier, R-Y-N-I-E-R. And that was
        4      staff?                                                      4      the composition of the commission until I was no
        5   A. Yes, but there was a staff already in place when I got      5      longer there, of the legal staff.
        6      there, so yes and no.                                       6   Q. Correct, when I said professional staff, that's what I
        7   Q. Okay. So at the time you got there as executive             7      meant. So you've already told me, of course, that you
        8      director in January 2001, of course it was staffed up,      8      didn't hire Mr. Prowse and Ms. Noeske, they were there
        9      correct?                                                    9      when you got there?
       10   A. Yes.                                                       10   A. Noeske.
       11   Q. So you weren't responsible for those hirings?              11   Q. Noeske, I'm sorry.
       12   A. Right, yes, correct.                                       12   A. If you don't mind, I'll say they were also there when
       13   Q. You would have had the power to terminate some of the      13      I was there as a staff attorney from '90 until '92.
       14      professional staff if you were dissatisfied; would         14   Q. Okay. Now, you in your answer said that the
       15      that be correct?                                           15      commission hired the folks who came after, correct?
       16   A. I don't know.                                              16   A. Yes.
       17   Q. Okay. What was the composition of the professional         17   Q. Would you make a recommendation to the commission as
       18      staff during your time as executive director, and if       18      to some applicants who you favored who you thought
       19      it changed over time you can certainly give me the         19      should be hired?
       20      time frames?                                               20   A. So with the -- I hired -- or the commission hired two
       21               MR. NELSON: Objection, vague.                     21      attorneys while I was there. In both cases we did,
       22   A. I don't understand the question.                           22      you know, a search and I presented three names to the
       23   BY MR. HIRSCH:                                                23      commission and the commission ultimately picked which
       24   Q. Okay. Let me ask more specific questions. Were there       24      one it was.
       25      two staff attorneys during your entire tenure?             25             There were also a couple other times we



                                                                Page 22                                                            Page 24
        1   A. There were more than two, yes.                              1      hired attorneys, not as -- I should mention this
        2   Q. More than two, okay. How many were there at various         2      separately, I suppose. Not as part of the legal
        3      times?                                                      3      staff, but, as I mentioned, the commission shifts
        4   A. Three.                                                      4      roles into its adjudicative role and then I am, as the
        5   Q. Okay. Was that the entire time you were there or did        5      executive director, the examiner and no longer provide
        6      that change at some point?                                  6      counsel to the commission. The commission will want
        7   A. Well, somebody retired and then sometimes we'd have         7      to get advice and have somebody help them write their
        8      two until I then hired a third -- or the commission         8      opinion and for the last 10, 12 years they have hired
        9      hired a third.                                              9      what they call an adjunct counsel.
       10   Q. So generally during your time there there would be         10             I helped the commission find those adjunct
       11      three staff attorneys unless you were sort of between      11      counsels by, same thing, runs ads, et cetera, doing
       12      filling a position; is that correct then?                  12      some preliminary interviews, and then giving them, you
       13   A. Yes.                                                       13      know, three, four names, whatever it was, and they
       14   Q. Okay. Was there a deputy executive director during         14      would then interview the people themselves and decide
       15      the time you served as executive director?                 15      which one they were going to hire.
       16   A. No.                                                        16   Q. So were the adjunct counsel actually hired as
       17   Q. Okay. Can you identify for me the staff attorneys who      17      employees or were they just used on a case-by-case,
       18      worked at the JTC while you were executive director?       18      you know, sort of task basis?
       19   A. Yes.                                                       19   A. Case by case, independent contractor type.
       20   Q. Can you give me the names, please?                         20   Q. Okay. Now, you said that for the two hirings you were
       21   A. Yes. So starting when I came January of 2001 the           21      involved in, which ultimately would end up being
       22      senior staff attorney was Tom Prowse, P-R-O-W-S-E.         22      Mr. Page and Ms. Rynier, you would present two or
       23      There was Anna Marie Noeske, N-O-E-S-K-E. And there        23      three names, I think you said, to the commission?
       24      was Cas, C-A-S, Swastek, S-W-A-S-T-E-K. And at some        24   A. Yes.
       25      point Tom retired and the commission hired Glenn Page,     25   Q. You'd give them some options, correct?




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         1   A. Yes.                                                         1       supervisor for a time?
         2   Q. Did you recommend one or the other or did you just           2   A. Yes.
         3       present straight options, that these are the two or         3   Q. Okay. And I presume during your time as executive
         4       three best candidates?                                      4       director none of the staff attorneys were ever
         5   A. I don't recall.                                              5       professionally disciplined, correct, in other words,
         6   Q. Okay. Did you know Mr. Page before he was hired?             6       by the State Bar?
         7   A. No.                                                          7   A. That's correct.
         8   Q. Did you know Ms. Rynier before she was hired?                8   Q. Or by any state bar, I don't know where they were
         9   A. No.                                                          9       members of?
        10   Q. Mr. Swastek was there at the time that you arrived,         10   A. Yes, that's correct. There was no professional
        11       correct?                                                   11      discipline whatsoever on anybody.
        12   A. As executive director in 2001, yes.                         12   Q. And I take it you have never been the subject of any
        13   Q. Correct, as executive director?                             13       professional discipline, correct?
        14   A. Yes.                                                        14   A. When you say subject of, do you -- do you also mean
        15   Q. He had not been there at the time you served as staff       15      investigations and -- that is subject of to me? I
        16       attorney, correct?                                         16      don't want to mislead you.
        17   A. Correct, yes, correct.                                      17   Q. Well, let me ask you a different question. Have you
        18   Q. Did you know Mr. Swastek before the time you arrived        18       ever been disciplined by the State Bar of Michigan?
        19       as executive director?                                     19   A. No.
        20   A. No.                                                         20   Q. Have you ever been investigated by the State Bar of
        21   Q. Do you know what his background is?                         21       Michigan?
        22   A. I don't understand the question.                            22   A. Yes.
        23   Q. Do you know if he was a former prosecutor?                  23   Q. How many times?
        24   A. I know that he was not.                                     24   A. I'm aware of three grievances that were filed against
        25   Q. Was Mr. Swastek ever disciplined by you in your role        25      me; two of which were dismissed, I'll just say



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        1       as executive director?                                       1      summarily, I didn't even have to reply; and one which
        2    A. I don't understand the question.                             2      resulted in a dismissal by the attorney grievance
        3    Q. Would it be fair to say that you were the superior for       3      commission itself after their investigation. I
        4       each of the staff attorneys during your time as              4      remember giving a sworn statement and all and then the
        5       executive director?                                          5      grievant in the matter appealed to the Michigan
        6    A. Yes, I would be their manager, so to speak, yes.             6      Supreme Court, as they're allowed to do under the
        7    Q. Okay. Would you, for example, conduct performance            7      Court Rule, and the Supreme Court dismissed it -- or
        8       reviews?                                                     8      affirmed the dismissal.
        9    A. For a time we did. We didn't always, but, yes.               9   Q. Can you give me the time period for each of those?
       10    Q. As his manager did Mr. Swastek ever do anything that        10   A. I don't remember the two that were summarily
       11       you didn't approve of?                                      11      dismissed, I mean, at all. I'll say that the only
       12    A. That's also pretty general, I don't know that I could       12      times I ever had a grievance filed against me was when
       13       answer. Were there times over the 16 years that I was       13      I was with the Tenure Commission, never in any of the
       14       there that I had to tell him I would like him to do X       14      other places that I had worked. So I can't remember
       15       this way and not this way, I'm sure there were.             15      the other two, but the one that had gone up to the
       16    Q. And just so we're clear for the record, I presume your      16      Supreme Court would have been in 2008, '9, something
       17       answer would be the same then for Mr. Page when you         17      like that.
       18       served as his supervisor, correct?                          18   Q. Do you recall -- well, strike that.
       19    A. Yes.                                                        19              You said you can't recall the exact time of
       20    Q. And the same for Ms. Rynier?                                20      any of these three, but they did occur during your
       21    A. Yes.                                                        21      tenure as executive director, correct?
       22    Q. Okay.                                                       22   A. No, no, I said I don't recall the two. The one that
       23    A. And for the other two as well.                              23      went up to the Supreme Court, I'm saying, was 2008 or
       24    Q. And -- correct, and for the other two who you didn't        24      2009.
       25       hire, but who were already there and you were their         25   Q. Were the other two also during the time you served as




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        1      executive director?                                           1   Q. I'm sorry, I missed the first word?
        2   A. Yes.                                                          2   A. Procon divorce. I got divorced.
        3   Q. Okay. Do you recall what the nature of the grievances         3   Q. I'm sorry, okay.
        4      were for each of them?                                        4   A. That was in the '80s. I'm sure they took testimony.
        5   A. The two that were dismissed, as I recall, had                 5   Q. Okay.
        6      something to do with the grievant being unhappy that          6   A. I don't recall anything else.
        7      the commission, and they used my name, that I didn't          7   Q. You currently have two pending cases that we
        8      pursue their grievance that would get the judge               8      mentioned, correct, where you're a party?
        9      removed or whatever it may have been. The third one,          9   A. Yes.
       10      the one at the Supreme Court had to do with a case           10   Q. Okay. Other than those two cases and other than the
       11      that had been prosecuted as a formal complaint and           11      divorce are there any other cases where you've been a
       12      there were some supporters of that judge who filed the       12      party?
       13      grievance against me.                                        13   A. Besides the one we're sitting here in right now?
       14   Q. Do you recall which judge that was who was the subject       14   Q. And besides this one, fair enough.
       15      of formal complaint that formed the basis of the             15   A. Yes, I've been sued a couple of times, all stemming
       16      grievance against you?                                       16      from work with the Tenure Commission. I don't believe
       17   A. Yes.                                                         17      there's been anything else.
       18   Q. Which judge was that?                                        18   Q. Did any of those cases where -- well, strike that.
       19   A. It would have been Judge Servaas, S-E-R-V-A-A-S.             19               In those cases you were sued, you were a
       20   Q. Sir, I know you're experienced at this, but have you         20      named defendant in some cases that involved your work
       21      ever been deposed before?                                    21      at the Tenure Commission, correct?
       22   A. Yes.                                                         22   A. Yes.
       23   Q. Okay. How many times?                                        23   Q. Was there ever any judgment rendered in any of those
       24   A. That's a good one. I was deposed a few weeks ago and         24      cases?
       25      that was the first time in a long time. I don't              25   A. No, so other than an order of dismissal.



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        1      remember much before that. I know I was deposed --            1   Q. Fair enough. But there was no order of any liability
        2      that might have been the only time. I mean, I                 2      as to you, correct?
        3      testified as an expert witness in a criminal case, but        3   A. Correct.
        4      I can't remember if it was by deposition or I was             4   Q. Okay. We sort of talked about your role as executive
        5      actually in court.                                            5      director, but can you tell me what the role of the
        6   Q. Going to the one, the deposition you said you had a           6      commission itself is?
        7      few weeks ago, what was the nature of that matter?            7   A. The commission receives the grievances that are filed,
        8   A. The nature of the litigation, is that what you're             8      they receive and review every single one. They
        9      asking?                                                       9      receive a report from the staff and the executive
       10   Q. Yes.                                                         10      director -- if I say me, I don't mean me now, I'm
       11   A. I have filed a civil complaint against the Judicial          11      talking about me from then -- and from me, with a
       12      Tenure Commission and it was -- they're taking the           12      recommendation as to each one, whether it should be
       13      deposition of me in that matter.                             13      summarily dismissed or whether further investigation
       14   Q. Was that in the federal case or in the state court           14      is warranted.
       15      case?                                                        15               The commission meets once a month
       16   A. I think the attorneys agreed they would combine them         16      basically, basically just 11 times a year for the most
       17      and it was for both.                                         17      part, so once a month, and they review all the cases
       18   Q. Okay. You mentioned, I think, that you gave a                18      that are presented to them and then they decide and
       19      deposition as an expert in a criminal matter -- or you       19      give direction to the executive director what they
       20      weren't sure if it was testimony in court or                 20      want done in each case; dismiss this group of 30,
       21      deposition, correct?                                         21      let's continue investigation on A, B and C, et cetera.
       22   A. Correct.                                                     22   Q. And the -- if we call it the JTC you'll know we're
       23   Q. Were there any other times you've given testimony in         23      talking about the Judicial Tenure Commission --
       24      court?                                                       24   A. Yes.
       25   A. Pro/con divorce, but that would be about it.                 25   Q. -- that's a common acronym for it?




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        1   A. Yes.                                                         1   Q. Same answer?
        2   Q. The JTC was established by the Michigan constitution,        2   A. Yes.
        3       correct?                                                    3   Q. Okay. And as to paragraph C on the same page titled
        4   A. Yes, by amendment to the constitution in 1968.               4      judicial misconduct?
        5   Q. Okay.                                                        5   A. Yes.
        6                 MARKED FOR IDENTIFICATION:                        6   Q. This particular report is for 2014, correct?
        7                 DEPOSITION EXHIBIT 1                              7   A. Yes.
        8                 9:37 a.m.                                         8   Q. Okay. Did you have any involvement in preparing this
        9   BY MR. HIRSCH:                                                  9      report?
       10   Q. Sir, our court reporter has just handed you what we've      10   A. Yes.
       11       marked as Exhibit Number 1. The cover page says State      11   Q. What was your involvement?
       12       of Michigan Judicial Tenure Commission, annual report      12   A. I'll step back just a little bit and say that the
       13       2014. Do you have that in front of you, sir?               13      commission had always issued annual reports. When I
       14   A. Yes.                                                        14      came as the executive director or shortly thereafter,
       15   Q. Okay. And you were executive director during 2014 --        15      another year or so, I revamped the report to make it
       16   A. Yes.                                                        16      what I thought would be more user-friendly, would
       17   Q. -- correct?                                                 17      explain things to the public and to judges and to
       18   A. Yes.                                                        18      attorneys on what goes on.
       19   Q. Sir, if you could look at page 1, not the Roman             19                For example, the page that you were talking
       20       numeral, but the actual number 1? So it's a few pages      20      about, this page that's Arabic numeral one, Roman
       21       in. It starts with a Roman numeral one at the top,         21      numeral one, A, B and C, this type of a text was
       22       commission jurisdiction and legal authority, I just        22      prepared by me at some point when I started and
       23       want to orient you to that page?                           23      approved by the commission. Every single year they
       24   A. Yes.                                                        24      have to approve the report before it gets issued.
       25   Q. And you see there's a paragraph -- well, let's start        25                So this page here became more like


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        1      with paragraph -- or heading A, okay, and that's             1      boilerplate language and then each year you would get
        2      titled the authority of the Judicial Tenure                  2      to page -- for example -- like for example, page 2,
        3      Commission. Do you see that, sir?                            3      recent -- 2, section E, recent and anticipated changes
        4   A. Yes.                                                         4      at the commission. If there were going to be
        5   Q. And as with anything I show you, you can certainly           5      something new, I would add things there, but mostly
        6      take your time to read it at any time if you need to,        6      was starting with Section 3, which in this exhibit is
        7      but I'll ask the question and if you need time to look       7      on page 6, I would put together the statistics to show
        8      at it, feel free. Is that accurate in terms of               8      that -- the kinds of -- you know, the work that had
        9      describing the authority of the Judicial Tenure              9      been done over the course of the year.
       10      Commission?                                                 10             Going on to page 4 -- excuse me, page 14,
       11   A. I've read it. What was your question, please?               11      Roman numeral four, the case summaries, the staff
       12   Q. My question just is is that accurate in terms of            12      attorneys would prepare summaries of the various cases
       13      describing the authority of the Judicial Tenure             13      that -- you know, public ones, the nonpublic ones,
       14      Commission?                                                 14      and -- to try and give, again, the public judges and
       15   A. I think I would have to answer your question that the       15      judges some idea of the types of things that were
       16      constitutional provision sets forth the authority of        16      going on, maybe perhaps give example of the type of
       17      the commission as well as the Court Rules.                  17      behavior they shouldn't engage in. This would all
       18   Q. So to the extent this differs in any way from that,         18      then be put together, presented to the commission for
       19      the constitution and the Court Rules would govern,          19      the commission's consideration and approval or
       20      correct?                                                    20      modification.
       21   A. Yes.                                                        21   Q. And so would it be fair to say that during your term
       22   Q. Okay. Same question I guess as to section B, what the       22      as executive director a report like this would be
       23      commission -- it's titled what the commission cannot        23      submitted for the commission's approval each year?
       24      do?                                                         24   A. Yes.
       25   A. Right, yes.                                                 25   Q. And you and your staff would prepare the sections that




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        1      you just delineated?                                       1   Q. Would that be an accurate -- and it continues on, by
        2   A. Yes. And perhaps more, I was just looking at ones to       2       the way, but would that be an accurate overview of the
        3      give you an idea.                                          3       complaint process for the time you served as executive
        4   Q. This is an example for one year and the format, you        4       director?
        5      would agree, was probably similar from year to year        5   A. Just look at the section A?
        6      but --                                                     6   Q. Well, no, I think everything under heading Roman
        7   A. Yes.                                                       7       numeral two, right, that discusses the entire
        8   Q. -- there would be specific things depending on a given     8       complaint process, correct, I mean, that's the title
        9      year, correct?                                             9       for Roman numeral two, right?
       10   A. Yes.                                                      10   A. That is the title, yes.
       11   Q. Okay. The commission itself is comprised of nine          11   Q. Okay.
       12      members?                                                  12   A. Your question is whether the description, Roman
       13   A. Yes.                                                      13       numeral two, which is from pages 2 through 6, is a
       14   Q. How are those members selected?                           14       more or less accurate description?
       15   A. There are five judges. Four judges are selected by        15   Q. Correct.
       16      the organization's -- their judicial organizations, so    16   A. More or less accurate, yes.
       17      the Court of Appeals has a judge, the 28 or whatever      17   Q. And you in fact were involved in the preparation,
       18      number they are today, just vote and they select one      18       correct?
       19      as a vote. I think their vote is run through SCAO as      19   A. Yes.
       20      well, but I'm not sure considering how small they are.    20   Q. Now, the JTC's objective is to enforce high standards
       21               The circuit court judges elect one through       21       of ethical conduct for judges, correct?
       22      an election conducted by MJA -- may make the Court of     22   A. Yes.
       23      Appeals judges through MJA too as well, I just don't      23   Q. And judges must be held accountable by an independent
       24      know. District Court judges have an association the       24       disciplinary system when they commit misconduct,
       25      election is run through -- is conducted through them      25       correct?


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        1      through SCAO and the probate judges as well. One           1   A. I don't know, I mean, I'm not sure what you're quoting
        2      judge is elected by the members of the State Bar, so       2      from the constitution. It's not in the constitution,
        3      all lawyers have the right to vote for one, and that       3      so I don't know.
        4      can be any of the different kind of judges; probate,       4   Q. Well, let me refer you then -- going back to
        5      circuit, district, whatever.                               5      paragraph -- I'm sorry, page 1 of Exhibit 1, Arabic
        6               No supreme justice can be elected to the          6      numeral one, section 1A. And it's about -- a little
        7      commission. And the State Bar members also elect two       7      more than halfway down and there's a sentence that
        8      lawyers to the commission and the governor appoints        8      reads however, they must also be held accountable by
        9      two laypeople who are neither lawyers nor judges.          9      an independent disciplinary system should they commit
       10   Q. Looking again at the 2014 report, the page we were on     10      misconduct. Do you see that sentence?
       11      before, Arabic numeral one, paragraph C, do you see       11   A. Yes.
       12      about halfway through that paragraph it gives some        12   Q. Okay. And the they in that sentence is referring to
       13      examples of judicial misconduct that the commission       13      judges, correct?
       14      may investigate, correct?                                 14   A. Yes.
       15   A. Yes.                                                      15   Q. Okay. And so do you agree with that statement?
       16   Q. Do you agree with those examples?                         16   A. Do I personally agree with that?
       17   A. Yes.                                                      17   Q. Yes.
       18   Q. Can you think of any other types of conduct the           18   A. Yes, I do.
       19      commission may investigate?                               19   Q. And you agreed with it professionally in your capacity
       20   A. Anything that violates the code of conduct.               20      as executive director, correct?
       21   Q. If we could flip now to page -- to the next page,         21   A. Yes, I do.
       22      page 2? Do you see about two-thirds of the way down,      22   Q. You may have written that statement, right?
       23      Roman numeral -- heading titled overview of the           23   A. I may have. I may have written it for the commission,
       24      complaint to process? Do you see that?                    24      it's the commission's statement.
       25   A. Yes.                                                      25   Q. Correct. You may have been the drafter who submitted




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        1       it to the commission for approval, right?                   1      misconduct, in every such case that I can recall I
        2   A. Correct, yes.                                                2      would recommend the commission do something, open a
        3   Q. So the commission certainly agrees with that                 3      file and do some investigation.
        4       statement, correct?                                         4   Q. Okay.
        5   A. I know that they approve it. I can't tell you if they        5   A. Is that what you were trying to ask?
        6       agree with it or not.                                       6   Q. Yes, I think you got it right. And the commission you
        7   Q. Unlikely they would approve something they didn't            7      said may have on some occasions not granted your
        8       agree with, correct?                                        8      request to investigate, correct?
        9   A. I don't know.                                                9   A. Yes.
       10   Q. So we're not sure if the commission may be approving        10   Q. You couldn't remember any particular ones now,
       11       things that they don't agree with; is that right?          11      correct?
       12   A. I don't know.                                               12   A. Correct.
       13   Q. Okay. During your time as executive director did you        13   Q. There are a number of ways that an investigation can
       14       ever come across a situation where a judge engaged in      14      commence in the JTC, correct?
       15       conduct that appeared to violate the Code of Judicial      15   A. Yes.
       16       Conduct but the commission chose not to investigate?       16   Q. Okay. The executive director can choose to open and
       17                 MR. NELSON: I'm sorry, could you repeat          17      investigative a file in his discretion; is that
       18       the question, I'm not sure I caught it all?                18      correct?
       19   BY MR. HIRSCH:                                                 19   A. That's what the internal operating procedures allow,
       20   Q. Okay. During your time as executive director -- well,       20      but when I was executive director I never did that.
       21       let me ask a slightly -- I'll rephrase it slightly.        21      So the answer to your question is yes.
       22                 So during your time as executive director        22   Q. But during your time as executive director you did not
       23       were you ever aware of a situation where a judge           23      ever open an investigative file in your own
       24       appeared to engage in conduct that violated the Code       24      discretion?
       25       of Judicial Conduct, but the JTC chose not to              25   A. Correct.



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        1      investigate further?                                         1   Q. You would always ask the commission, correct?
        2   A. I'm sure there were, I can't specifically recall.            2   A. Yes, always.
        3   Q. So you couldn't recall any particular matters,               3   Q. And only if they approved the request would you
        4      correct?                                                     4      continue the investigation during your time, correct?
        5   A. I can recall certain cases that the commission chose         5   A. Correct.
        6      not to pursue things after an investigation, but             6   Q. The commission itself can open an investigation on its
        7      that's their right. I'm not aware of the commission          7      own initiative; is that correct?
        8      ever saying no, do not investigate a matter.                 8   A. Yes.
        9   Q. Well, let me ask a slightly different question based         9   Q. And if the commission did that would they communicate
       10      on your answer --                                           10      that to the executive director?
       11   A. I should say they may say we're not opening a file,         11   A. Yes.
       12      but they've never said we're not going to investigate       12   Q. Okay. And how would that get communicated to the
       13      a matter.                                                   13      executive director?
       14   Q. Let me ask a slightly different question to make sure       14   A. Generally would be at one of the monthly meetings. It
       15      I understand. In your capacity as executive director        15      could also be by -- you know, sometimes things are
       16      have you ever become aware of behavior that might on        16      done by e-mail.
       17      its face appear to violate the Code of Judicial             17   Q. Was there ever a time during your tenure as executive
       18      Conduct and you did not request authority from the          18      director that the commission told you they wanted or
       19      commission to investigate?                                  19      they were going to open an investigation that you had
       20   A. Did I ever become aware and I -- and then in that case      20      not previously brought to their attention?
       21      I did not request authority?                                21   A. It's possible, I don't specifically recall, but what
       22   Q. You let --                                                  22      you just said doesn't seem so far-fetched that it
       23   A. Can I say it my way?                                        23      never happened, so if it did it would have been one or
       24   Q. Yeah, go ahead.                                             24      two times. I don't specifically recall any instances
       25   A. If I became aware of what seemed to be judicial             25      though.




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        1   Q. The Michigan Supreme Court can also make a request for          1   A. I can only remember one, yes.
        2       investigation; is that correct?                                2   Q. Okay.
        3   A. I'm not sure if it's the court or if it's the chief             3   A. It was not your client, by the way.
        4      justice, but, yes.                                              4   Q. Well, it couldn't be, right, because hers resulted in
        5   Q. Okay. If the Supreme Court or the chief justice makes           5      a formal complaint, right, and you would have named
        6       a request does the commission also have to approve             6      that one?
        7       going forward with the investigation?                          7                With respect to the one you can recall,
        8   A. Yes.                                                            8      without mentioning the name, did the commission then
        9   Q. Do you recall if it ever happened during your tenure            9      approve the investigation?
       10       that the Supreme Court or the chief justice made a            10   A. I don't recall.
       11       request for investigation?                                    11   Q. Okay. With respect to matters that begin on the
       12   A. Yes.                                                           12      commission's own initiative, do you know how those
       13   Q. Okay. Do you recall what cases that occurred in, case          13      matters would come to the commission's attention?
       14       or cases?                                                     14   A. Yes.
       15               MR. NELSON: Just a second here.                       15   Q. How?
       16               MS. MILLER: I'm going to place an                     16   A. There would be a number of ways. One, I would suggest
       17       objection as to any specific cases that did not result        17      it to them by presenting them with a recommendation
       18       in formal complaints, in that that would not be               18      that they open a file and do X, Y or Z as part of a
       19       covered by the list that was already provided.                19      preliminary investigation. Sometimes the
       20   BY MR. HIRSCH:                                                    20      commissioners themselves would see a story on the news
       21   Q. Okay. Well, based on that objection then let me first          21      or in the paper or the like.
       22       limit that particular question to cases that then             22                We would sometimes get anonymous letters
       23       resulted in formal complaints, if you know?                   23      complaining about a particular judge. And if I -- I
       24   A. So can you give me the whole question again now?               24      mean, I don't mean to go back to what you were saying
       25   Q. So let's limit it -- we'll start by limiting it to             25      before where the commission didn't open up a case, but



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        1        cases that resulted in formal complaints because --           1      that would be the most frequent time where they would
        2   A. Give me it again.                                               2      not open up a case, an anonymous letter alleging some
        3   Q. Okay. The it is do you recall a situation -- I think            3      type of misconduct. So that's what I can -- all I can
        4        I may have forgotten the it.                                  4      recall.
        5   A. See.                                                            5   Q. So those are some examples --
        6   Q. There you go.                                                   6   A. Yes.
        7                 Actually, can you read back the question?            7   Q. -- anonymous letters, the media, suggestion from you
        8                 (The following requested portion of the              8      as executive director, correct?
        9                 record was read by the reporter at                   9   A. Correct, right, yes. My suggestions, it would also
       10                 9:59 a.m.:                                          10      come from these anonymous letters or from the media or
       11                 Q. Do you recall if it ever happened during         11      something like that.
       12                 your tenure that the Supreme Court or the           12   Q. Because you would read letters that would come into
       13                 chief justice made a request for                    13      the commission, correct?
       14                 investigation?                                      14   A. Yes.
       15                A. Yes.                                              15   Q. Including anonymous letters?
       16                 Q. Okay. Do you recall what cases that              16   A. Yes, yes.
       17                 occurred in, case or cases?)                        17   Q. You might hear reports in the media, correct?
       18   BY MR. HIRSCH:                                                    18   A. Yes.
       19   Q. So can we limit it to cases that resulted in formal            19   Q. Or someone may bring those reports to your attention,
       20        complaints, do you recall the ones that were initiated       20      correct?
       21        by the Supreme Court or the chief justice making the         21   A. Yes.
       22        request?                                                     22   Q. Okay. Now, in those cases there would not be a
       23   A. There were none.                                               23      request for investigation, correct?
       24   Q. Okay. But that did occur in some cases, without                24   A. Ones that -- where I had suggested to the commission
       25        identifying which cases those were, correct?                 25      or the commission itself had come up with the notion




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        1      to open a file?                                              1        correct, at the investigation stage; is that fair?
        2   Q. Correct.                                                     2    A. Yes.
        3   A. Correct, there would not be a request for an                 3    Q. Okay. The commissioners wouldn't personally conduct
        4      investigation form.                                          4        the investigation, right?
        5   Q. Okay. So if we were reviewing the files, the way we          5    A. Not to the best of my knowledge.
        6      could determine which requests began sort of                 6    Q. Okay. And so at that point before a formal complaint,
        7      internally at the JTC, we could identify those because       7        that's when you were acting in a capacity as
        8      there would not be a request for investigation; is           8        performing investigation for the commission, correct?
        9      that correct?                                                9    A. Yes.
       10   A. That would probably work. Cases are also coded, who         10    Q. And that's what we talked about earlier where the
       11      the grievant is, the status of the grievant, whether        11        duties changed at some point?
       12      it's, you know, a litigant, a non-litigant, a               12    A. Yes.
       13      prisoner, a prisoner is a subset of litigant, litigant      13    Q. And the point was the filing of a formal complaint?
       14      on the underlying cases, and the JTC itself had a code      14    A. Yes.
       15      so that would show up as the grievant status code.          15    Q. Okay. So barring the commission doing --
       16      Those are the types of things that are reported in the      16        commissioners personally doing anything you didn't
       17      annual report.                                              17        know about, would you, directly or through your staff,
       18   Q. Okay. So the example -- when you say that those are         18        ever investigate court files without receiving a
       19      cited in the annual report, if you look at Exhibit 1,       19        request for investigation?
       20      page 9, section G, that's -- that would be the -- an        20    A. No, not that I can recall.
       21      example of the section you're talking about, correct?       21    Q. Now, the State Court Administrator's Office can file a
       22   A. Yes.                                                        22        request for investigation, correct?
       23   Q. Okay. And so in this particular example it was .78          23    A. Yes.
       24      percent were initiated by the JTC in this particular        24    Q. Okay. Those don't need to be under oath from the
       25      year. Am I reading that correctly?                          25        State Court Administrator's Office, correct?


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        1   A. Yes.                                                         1   A. Yes.
        2   Q. What's the section then that's labeled other, if you         2   Q. Could the State Court Administrator's Office ever just
        3      see towards the right and it says .47 percent, what          3      provide some information to the JTC about some judge?
        4      would fall into that category?                               4   A. Could they? I suppose they could.
        5   A. I don't recall.                                              5   Q. Okay. Did they during your tenure?
        6   Q. Okay. And the section -- I'm sorry, still looking at         6   A. Not -- so I'll have to answer the question I think
        7      that pie chart, page 9, the section labeled state            7      this way, is that occasionally -- frequently I'm --
        8      court administrator?                                         8      from time to time I would encounter members of the
        9   A. Yes.                                                         9      State Court Administration, different regional
       10   Q. Would that also include the Supreme Court?                  10      administrators at different meetings we would have and
       11   A. No.                                                         11      sometimes they would talk about judges. So is that
       12   Q. Okay. What would any request from the Supreme Court         12      providing information? I don't know if I can answer
       13      fall under?                                                 13      that. The topic of judges and specific judges would
       14   A. That might fall under other because I don't think we        14      come up during these encounters.
       15      had a specific category for Supreme Court justices, as      15   Q. Did any of those encounters ever lead to an
       16      I say, I only remember the one time. It might fall          16      investigation during your tenure as executive
       17      under other judges, I don't know.                           17      director?
       18   Q. Okay. Would the commission ever independently review        18   A. Not without a written request from the State Court
       19      court records without receiving a request for               19      Administrator or the Regional.
       20      investigation?                                              20   Q. And, sir, just for some clarity on language, I think
       21   A. When you say the commission, do you mean the                21      I've generally been calling them request for
       22      commissioners themselves or the staff of the                22      investigation. I've also heard it called a grievance,
       23      commission?                                                 23      correct?
       24   Q. Well, when we talk about investigation, right, the          24   A. Correct.
       25      commission would act through you and your staff,            25   Q. Are those terms synonymous?




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        1   A. Interchangeable, yes.                                       1      summary dismissal, please review, or I think this
        2   Q. Okay. Anyone may file a request for investigation,          2      needs to get investigated, we need to do -- you know,
        3      correct?                                                    3      talk to X, Y or Z, let's talk.
        4   A. Yes.                                                        4   Q. So, first of all, we talked a little bit about codes a
        5   Q. Those have to be under oath, other than from the State      5      second ago, right, in your answer?
        6      Court Administrator's Office or the Supreme Court,          6   A. Yes.
        7      correct?                                                    7   Q. Let's make sure we're on the same page on those.
        8   A. Yes. Again, I think it's the chief justice, but, yes.       8              MARKED FOR IDENTIFICATION:
        9   Q. Okay. You may be right, I'm not sure, but fair              9              DEPOSITION EXHIBIT 2
       10      enough. In those cases where there is a request for        10              10:12 a.m.
       11      investigation submitted, who first reviews it when it      11   BY MR. HIRSCH:
       12      arrives at the JTC?                                        12   Q. Sir, our court reporter has just handed you what we've
       13   A. So the first person would be one of the administrative     13      marked as Exhibit Number 2, a document. At the top it
       14      staff who is opening up the mail and puts them -- all      14      says grievance codes. Do you have that in front of
       15      the request for investigations that have come in for       15      you, sir?
       16      that day or that week in a pile.                           16   A. Yes.
       17   Q. That's just a sort functioning, they're not doing any      17   Q. Okay. And that's a list of the codes you were
       18      analysis, correct?                                         18      referring to in your answer; is that correct?
       19   A. There's some. They'll take a look at the name of the       19   A. Yes.
       20      judge and run a report on the database to see how many     20   Q. And the review you spoke of, that would be the initial
       21      other grievances have been filed against that              21      review that you'd perform under the internal operating
       22      particular judge and do the same type of thing for the     22      procedures, correct?
       23      grievant, to see how many judges that particular           23   A. Yes.
       24      grievant has filed against.                                24   Q. Okay. And when you said -- I think you said you wrote
       25   Q. Okay. And would they print out that information or         25      down the code; is that correct?



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        1       make a note of it then along with the grievance that       1   A. I used to write it down on a little pad. Now it would
        2       came in?                                                   2      get entered into the computer on the database.
        3   A. It would be printed out, yes.                               3   Q. Okay. So now they're coded electronically in a
        4   Q. And so then those got put in a stack of grievances to       4      computer system?
        5       be reviewed, correct?                                      5   A. Yes.
        6   A. Yes.                                                        6   Q. Okay. Before that would you write it on the grievance
        7   Q. Okay. Then what was the next step in the process?           7      itself or you had some other --
        8   A. They would come to me.                                      8   A. A notepad.
        9   Q. Okay. And then what would you do when you would go          9   Q. Okay. And so -- just so I understand what was written
       10       through each grievance on that stack?                     10      on the notepad, how would you know that the code was
       11   A. I would review the grievance. I would read through         11      associated with a particular grievance, it would be by
       12      what was there, see what the nature of the grievance       12      the name of the grievant, the name of the judge, what
       13      was so that I could give it the nature of grievance        13      would be the connection --
       14      code, the numbers that we had provided you certain         14   A. So --
       15      grievances with under the discovery request.               15   Q. -- if you recall?
       16              So for example, and I don't remember the           16   A. -- in the notepad days, is that what you're asking,
       17      specific numbers anymore, but, you know, like put a        17      how was --
       18      one on it or a six and -- I think six was -- or no,        18   Q. I guess in -- well, strike that. Let me maybe ask a
       19      ten. Ten is the one that's a review -- or appellate        19      simpler question.
       20      review, if I remember right. So you could see that it      20               Do you remember when the notepad days ended
       21      was just asking to have the matter reviewed, they          21      and the computer days began?
       22      weren't happy with the decision, get a ten.                22   A. Not really. It's shortly after I came because I tried
       23              I would assign it to an attorney, one of           23      to computerize the system. It was difficult to find
       24      the staff attorneys, and then I would make a               24      older cases and generate the list for a judge, what
       25      recommendation of some kind; I think this is just a        25      that judge -- previous contacts with the commission




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        1      had been. Computerizing it made it easier and it was         1       the litigation or the nature of the grievance. I know
        2      sometime shortly after I came, but I can't say exactly       2       that we did change things very rarely, I mean, I
        3      when.                                                        3       couldn't tell you how many times, but it was a rare
        4   Q. Okay. So there was a period of time when you were            4       thing. You know, perhaps I wrote the wrong number
        5      notating these codes without the use of the computer         5       down or they thought it should have been something
        6      system, correct?                                             6       else, but rare.
        7   A. Yes.                                                         7   Q. I just want to make sure I'm clear then on some of
        8   Q. Okay. So just do you recall then how you linked up           8       these codes. So I'm looking at Exhibit 2?
        9      the code to a particular grievance precomputer?              9   A. Yes.
       10   A. Yes. So there were computerized records just kept,          10   Q. Code one is courtroom demeanor, correct?
       11      they just weren't in a database where they could be         11   A. Yes.
       12      easily accessed. And when I would write, like let's         12   Q. And you recall in this case we had some discussion
       13      just say a ten, you know, a review of the ruling, on        13       about producing files based on these codes, correct?
       14      the sheet, it would go into the file with that judge's      14   A. Yes.
       15      case. It would go to one of the other executive             15   Q. Do you remember that discussion?
       16      assistants, who would then type it into the computer.       16   A. Yes.
       17              So it was -- you know, I don't want to call         17   Q. And courtroom demeanor was a code that was not going
       18      it an Excel spreadsheet, but maybe it was something         18       to be included in the production because there were
       19      like that that was -- maybe things were kept track of.      19       too many of those. Do you recall that?
       20      And then, because we had this -- maybe 10 or 15 years       20   A. I don't recall, no.
       21      worth of data in this non-searchable kind of database,      21   Q. Okay. Would you agree with me that there were a lot
       22      when they tried to make a computer system, a database       22       of files that got coded one?
       23      system for us, it had to incorporate those. It became       23   A. Yes.
       24      a little bit difficult, which was why we couldn't           24   Q. Okay.
       25      change or modify some of these categories. So we            25   A. One, six and ten were the biggies.



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        1      would be able to search into the older recorded system       1   Q. Okay. Would it also be fair to say, and I want to
        2      and still continue making a database that would be           2      focus on just number one now --
        3      searchable, if that makes sense.                             3   A. Yes.
        4   Q. Okay. In any event, you as executive director would          4   Q. -- that those generally would not result in a formal
        5      be the one who assigned the code, correct?                   5      complaint, correct?
        6   A. Yes.                                                         6   A. There were formal complaints that came from grievances
        7   Q. A particular grievance could have more than one code;        7      that had -- that were coded 01.
        8      is that correct?                                             8   Q. But not during the time period we've been discussing
        9   A. Yes.                                                         9      in this case, correct?
       10   Q. And you would use your judgment to put a particular         10   A. What time period is that?
       11      grievance into one of these code categories that we         11   Q. From 2001 through 2011 roughly?
       12      have in Exhibit 2, correct?                                 12   A. No, that's not true, there was definitely one.
       13   A. One or more, yes.                                           13   Q. Do you recall which one that was?
       14   Q. One or more. Could the codes change then over the           14   A. Warfield Moore.
       15      course of the, I guess, investigation until there was       15   Q. Was that the -- well, strike that.
       16      a resolution?                                               16                Do you recall if that was the only code
       17   A. I guess it could. I'm not aware that it ever did.           17      assigned to the Warfield Moore matter?
       18   Q. Were you the only person who was allowed to assign          18   A. No, I don't, I don't recall.
       19      codes?                                                      19   Q. If we could look over at Exhibit 1 now, on page 10,
       20   A. I don't know that I was the only one allowed to, I was      20      that's the page following the pie chart we looked at
       21      the only one who did.                                       21      before?
       22   Q. Okay. I mean, did you have any policy as to whether a       22   A. Okay.
       23      staff attorney could modify a code you would assign?        23   Q. And this seems to have a pie chart labeled type of
       24   A. I know that there were times when we did change             24      grievances. Do you see that?
       25      something, but I don't know if it was the nature of         25   A. Yes.




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        1   Q. One thing it says here, for example, is demeanor. Do          1   Q. So something of -- a more antiquated --
        2      you see that?                                                 2   A. Yes.
        3   A. Yes.                                                          3   Q. -- definition of the word intemperance, correct?
        4   Q. Okay. And it says -- I think it says 1 percent, it is         4   A. Yes.
        5      a little hard to read?                                        5   Q. Okay. So to the extent you applied the codes at
        6   A. Yes.                                                          6      least, that's how you would have applied them,
        7   Q. Okay. And that 1 percent on this chart is referring           7      right --
        8      to 1 percent of the total grievances received by the          8   A. Yes.
        9      commission in this particular year, 2014, 1 percent of        9   Q. -- intemperance to mean drunk, let's say?
       10      those were categorized as courtroom demeanor; is that        10   A. I mean, I think there was a Supreme Court case that
       11      correct?                                                     11      talked about it, you know, it was a judicial
       12   A. Yeah. Again, I don't know how entirely accurate these        12      discipline decision. I think they specifically talked
       13      are, given that some of them could have more than one        13      about intemperance meaning being drunk in court.
       14      and it was, again, part of the problem that it was           14   Q. Okay.
       15      kind of a jerry-rigged system so we could keep track         15   A. I don't think I ever used that code.
       16      of things. The subject matter grievance, the code,           16   Q. Okay. Good, glad that didn't come up, I guess.
       17      was less important than getting the file open, but we        17   A. I didn't say that.
       18      needed something just because as bureaucrats we like         18   Q. Okay. Code three, practicing law. Just to make sure
       19      to keep track of things. So I don't know that it's --        19      I'm clear, I assume that means a judge engaging in
       20      that that's what it was, 1 percent, or it would be           20      some kind of private practice of law outside his or
       21      something other than that.                                   21      her judicial duties; is that correct?
       22   Q. Well, let me ask you this then about the chart --            22   A. Yes.
       23   A. Yeah.                                                        23   Q. Okay. Code six talks about prejudice or partiality.
       24   Q. -- to the extent a grievance had only one code, purely       24      What sort of grievances would fall into that category?
       25      hypothetically, let's say it was only coded one for          25   A. If it seemed that the judge was more favorable towards



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        1      courtroom demeanor, that would be put in the category         1       or anti one of the parties or the lawyers for whatever
        2      labeled demeanor on this chart; is that correct?              2       reason, it may be friends, anything.
        3   A. That's what I would understand.                               3   Q. And we talked a little bit earlier, that was one of
        4   Q. And if it had -- if a particular grievance had more           4       the codes that was not produced in this case, correct?
        5      than one code you would choose a category from the            5   A. I don't know.
        6      categories that had been assigned to the grievance, it        6   Q. Okay. Well, I think you said earlier codes one, six
        7      would go in only one of those, right?                         7       and ten were the big number -- together were the big
        8   A. Yeah, I don't know.                                           8       number of grievances --
        9   Q. Okay. Well, if it went in more than one you might             9   A. Yes.
       10      have a problem because you might get more than 100           10   Q. -- correct?
       11      percent, right?                                              11   A. Yes.
       12   A. But that's what would happen. I think there's notes          12   Q. Okay. But if you look again over at Exhibit 1 on the
       13      in there somewhere that they don't necessarily always        13       same chart, page 10, it looks to me like prejudice,
       14      add up because of that.                                      14       partiality -- and again, it's slightly hard to read,
       15   Q. Okay. Looking at code number two, which the                  15       but I think it is saying 1 percent; am I reading that
       16      description says intemperance. Do you see that? And,         16       correctly?
       17      I'm sorry, I'm looking on, again, at Exhibit Number 2.       17   A. Yes, that's what it looks like to me.
       18   A. Yes.                                                         18   Q. Okay. Skipping down to code eight, that says -- the
       19   Q. Do you have that in front of you?                            19       description is physical or mental. Do you see that?
       20   A. Yes.                                                         20   A. Yes.
       21   Q. What's the difference between, if there is any,              21   Q. And just so I'm clear, that would be referring to
       22      between intemperance and courtroom demeanor?                 22       either a physical or a mental disability of some kind;
       23   A. Well, I didn't make these codes, they were there when        23       is that correct?
       24      I came and I think that that intemperance was meant          24   A. Yes.
       25      more for being drunk, that kind of intemperance.             25   Q. Okay. And going down to code number ten, the




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        1       description is review rulings. Do you see that?              1      a large volume of alleged docket delays with respect
        2   A. Yes.                                                          2      to postjudgment relief, right?
        3   Q. And again, I think we said that together code one, six        3   A. Yes.
        4       and ten made up a big portion, correct?                      4   Q. Okay. Now, when you would complete your initial
        5   A. Yes.                                                          5      review and assign a code, you would then assign it to
        6   Q. Now, if we look at the chart again on Exhibit 1, page         6      a staff attorney, correct?
        7       10, review legal ruling. At first I assume that's the        7   A. Yes.
        8       same as review ruling, correct?                              8   Q. How did you decide which staff attorney would be
        9   A. Yes.                                                          9      assigned a particular grievance?
       10   Q. That's code ten. So that is a big percentage, right,         10   A. That's where the past -- you know, the judge's past
       11       it looks like 91 percent for 2014?                          11      history with the commission would come in. I tried to
       12   A. But that seems really outside the --                         12      keep one staff attorney with the same judge so that
       13   Q. Is it by far the biggest, right?                             13      they would have, you know, some standard by which to
       14   A. Yeah.                                                        14      review matters.
       15   Q. Okay. And that would be something that the JTC in            15             I mean, if it was a demeanor thing, for
       16       fact does not review, right, that's outside its             16      example, which was a typical type of thing, they could
       17       authority, right?                                           17      say no, no, that judge frequently says that kind of
       18   A. Right. So it reviews it in the sense that they decide        18      thing and that's just par for the course of that judge
       19      that they're not going to review it. They review             19      and it's not -- not beyond the pale or whatever it may
       20      every single case, as I said.                                20      be. Or look, the judge did the same thing three
       21   Q. Correct. But addressing the substance of a legal             21      times, it's time -- instead of it getting dismissed,
       22       ruling is not something the JTC does, correct?              22      the commission should take a more serious look at it.
       23   A. Correct.                                                     23             So I tried to keep it with the same
       24   Q. That's the job of a higher court, if there is one,           24      attorney or if I could see that it was more likely
       25       right?                                                      25      than not that the particular grievance was going to



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        1   A. Correct.                                                      1      end up as a formal complaint, then I would try to
        2   Q. Okay.                                                         2      direct it towards somebody who would be a trial
        3   A. Yes.                                                          3      attorney.
        4   Q. Code 14, the description is miscellaneous and, you            4   Q. So one thing you would do is if there was a prior
        5      know, I assume that's something of a catchall,                5      grievance against the particular judge, you would know
        6      correct?                                                      6      that because your administrative staff would look that
        7   A. Yes.                                                          7      up, I think you told me, on intake --
        8   Q. But I guess my question is can you recall anything            8   A. Right.
        9      that -- any category of things that might get                 9   Q. -- right, they would check if there had been a prior
       10      categorized as miscellaneous?                                10      grievance?
       11   A. I don't recall.                                              11   A. Yes.
       12   Q. Okay. Going to code 17A, the description is 6.500            12   Q. Would they also give you the name or names of the
       13      motions. Do you see that?                                    13      staff attorneys who had worked on any prior grievance?
       14   A. Yes.                                                         14   A. No, I looked that up.
       15   Q. Okay. Is that referring to MCR 6.500?                        15   Q. Okay. And so if that were true, you would try --
       16   A. Right. There was a time when there seemed to be an           16   A. Let me take that back. It was probably listed on
       17      influx of prisoners complaining about the delay in           17      the -- with the judges form because the judge would --
       18      their 6.500 motions being heard and so we gave it a          18      on the sheet that would have the judge's name that was
       19      separate category because we didn't want it in all the       19      to be generated by the intake, it would have the list
       20      delay cases, so we broke that one out. That was while        20      of grievances and it would have the disposition. So,
       21      I was there that we came out with 17A.                       21      I mean, it saying it was dismissed, dismissed,
       22   Q. Okay. So it is -- so 17 is sort of complaints about          22      dismissed or admonishment or whatever it may have
       23      docket delay generally, correct?                             23      been, and the attorney's code would have been there,
       24   A. Yes.                                                         24      their initials.
       25   Q. But you specifically broke out a 17A because there was       25   Q. Okay. And so to the extent that attorney was still on




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        1      staff, because this may have changed over time, right?          1                 MR. NELSON: Is this probably a good time
        2   A. Right.                                                          2      right now to take a short break?
        3   Q. You would assign it to that particular staff attorney?          3                 MR. HIRSCH: Yeah, I think you're right.
        4   A. Yes, except for an occasional adjustment just for               4                 MR. NELSON: We've been going for about 90
        5      docket management, to make sure that one person wasn't          5      minutes so --
        6      getting too many. I tried to keep it even. So, you              6                 MR. HIRSCH: Sure, okay. Let's take a
        7      know, it may have been one attorney for 50 cases and            7      break.
        8      then it might go to another one for one case just to            8                 (Recess taken at 10:32 a.m.)
        9      make sure that things balanced that particular month            9                 (Back on the record at 10:43 a.m.)
       10      or over two months and then it would go back to the            10   BY MR. HIRSCH:
       11      original attorney again.                                       11   Q. Okay. Mr. Fischer --
       12   Q. So part of your job as executive director was to make          12                 MR. NELSON: Hold on a minute. I believe
       13      sure that workloads were balanced, correct --                  13      Mr. Fischer may have a previous clarification from a
       14   A. Yes.                                                           14      previous answer.
       15   Q. -- that would be fair?                                         15   A. Regarding the chart that's on page 10 that shows
       16   A. Yes.                                                           16      review legal ruling, 91 percent?
       17   Q. Okay.                                                          17   BY MR. HIRSCH:
       18   A. That's how I saw it.                                           18   Q. Right.
       19   Q. Well, that's what you did?                                     19                 MR. NELSON: Page 10 of Exhibit 1, correct?
       20   A. That's what I did.                                             20                 THE WITNESS: Right, yes.
       21   Q. Okay. And if a grievance came in that was new, there           21   BY MR. HIRSCH:
       22      had not been any prior grievance against that judge,           22   Q. Okay.
       23      what factors would you consider in deciding who to             23   A. So as I recall, when a case is closed it gets closed
       24      assign it to?                                                  24      with just one code and the code is then based on the
       25   A. If it were the type of case that I could see it was            25      form letters that we have for sending out to both the



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        1      going to be a formal complaint type of case or would            1      grievant and to the judge and those are based on
        2      otherwise be more involved, I would give it to one of           2      how -- for example, it will say something like, you
        3      the more -- to the trial attorneys and if it was just           3      know, the commission determined that this was an
        4      anybody, like a newbie judge who just came on, then             4      appellate matter and without merit or an appellate
        5      whoever had the least number of cases that month would          5      merit or without merit.
        6      get it.                                                         6              If it was an appellate matter it was
        7   Q. So, first of all, when you say trial attorneys, is              7      getting a ten and if it was -- something that was just
        8      that any different than the staff attorneys, I'm not            8      taking the one code rather than anything else that may
        9      sure I understand? Are you just saying more                     9      have been there. So it gets based on the closing code
       10      experienced staff attorneys?                                   10      rather than the opening code and just one closing
       11   A. Yeah, so the two attorneys who started while I was             11      code.
       12      there, that would be Glenn and Margaret, Maggie, were          12   Q. So there would always be exactly one closing code,
       13      the two attorneys who would try cases. Cas didn't try          13      correct?
       14      cases.                                                         14   A. As I understand that. I wasn't involved with how that
       15   Q. So then Cas would be more likely to get cases that             15      would come out, but I know that there were only a
       16      upon your initial review you did not think were likely         16      certain number of form letters that could go and there
       17      to go to a formal complaint?                                   17      isn't one that would say it was determined that yours
       18   A. No, because he would do the investigations as well and         18      is based on courtroom demeanor so it was dismissed, it
       19      then if it was -- if it were a case of his that were           19      would have been without merit.
       20      going to go to a formal complaint, then one of the             20   Q. When you say you weren't involved with that, does that
       21      trial attorneys would come in and they would sort of           21      mean that you were not the person who picked the
       22      tag team it for a while.                                       22      closing code?
       23   Q. Was there a reason that Cas was not a trial attorney?          23   A. I wasn't the person who picked the letter that would
       24   A. He didn't want to be.                                          24      go out to the grievant. There were only, like I say,
       25   Q. Okay.                                                          25      going to be three, four, five letters and the letters




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        1      would say basically without merit, which covered                    1   A. No, he would -- I don't know that it ever came to be.
        2      everything else other than this was determined to be                2      I know we came close, but he would have been second
        3      an appellate matter, so that's why the closing one,                 3      chair or third chair. He would have been there, he
        4      delete, review legal ruling one, is so high.                        4      just would not have been trying the case.
        5   Q. Okay. I think we were talking a little bit before the               5   Q. Okay. So then how would you pick then from the other
        6       break about your assignment of grievances to staff                 6      two staff attorneys who would be then -- I guess you
        7       attorneys. Do you recall that?                                     7      would be -- well, strike that.
        8   A. Yes.                                                                8               Would you always be the lead examiner at a
        9   Q. And we talked a little bit about Mr. Swastek, Cas,                  9      hearing on a formal complaint?
       10       right?                                                            10   A. No, I was until we started -- until the two trial
       11   A. Yes.                                                               11      attorneys, so Glenn and Maggie came. When they came,
       12   Q. He wasn't one of the trial attorneys because he didn't             12      they took the cases and I would second chair.
       13       want to do that particular work, correct?                         13   Q. Okay. So if it did get to the point where a case that
       14   A. As I understood it, yes.                                           14      Cas was the staff attorney on and it was going to go
       15   Q. Well, I mean, did he ever convey that to you?                      15      to a hearing, you would pick then whether Glenn or
       16   A. Probably in the very beginning. It's not the kind of               16      Maggie, if it was in that time frame, would be the
       17      thing that we talked about, it was just a given that               17      first chair?
       18      he wasn't going to try any cases.                                  18   A. Yes.
       19   Q. So given that the other two staff attorneys at a given             19   Q. Okay. Now, when you would give -- well, strike that.
       20       time, barring any position from being filled, would be            20               When you assigned the staff attorney, what
       21       what you've been calling trial attorneys, would Cas               21      material would you give to them when you said you're
       22       then be responsible for a greater percentage during               22      going to handle this matter?
       23       the investigation phase to balance the workload?                  23   A. When the grievance comes in it's opened, put into a
       24   A. No.                                                                24      file, those couple of pages that I described with the
       25   Q. Okay. You would try to distribute those evenly among               25      judge's history and the grievance history are in the



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        1      your staff attorneys?                                               1      file, and then my note, whether it was that pad or a
        2   A. Yes.                                                                2      printed version of it off of my computer with my
        3   Q. Within the criteria we talked about before?                         3      recommendation, all go in the file. That's what the
        4   A. Yes. I would sometimes slow things down when one of                 4      staff attorney would get.
        5      them was in trial and then just pick it up more after               5   Q. I'm sorry, now, what was your recommendation?
        6      the trial was over, so that by the end of the year                  6   A. So there would be a page that would have -- it would
        7      they were more or less on par.                                      7      have the grievant's name, it would have the coding --
        8   Q. On par in terms of grievances that they had been the                8      the code that was --
        9      staff attorney investigating?                                       9   Q. Right.
       10   A. Right, so at the end of the year, the number of                    10   A. 01, whatever it would be, would be on there. And it
       11      grievances divided by three, each one would have                   11      would be -- you know, have the attorney's name, please
       12      gotten --                                                          12      review this or whatever I said to do. I think this is
       13   Q. Roughly --                                                         13      a summary dismissal, please review. I think we should
       14   A. -- roughly the same number, right.                                 14      do whatever, what do you think. It would be like
       15   Q. Now, would the staff attorney who was assigned to the              15      that. That one sheet would go in there as well.
       16      investigation be the trial attorney so long as it                  16   Q. So when you said your recommendation, that would be
       17      wasn't Cas; in other words, would they follow -- would             17      what you, I think, described earlier as your sort of
       18      that particular attorney follow it all the way through             18      initial take on the case --
       19      if it came to that?                                                19   A. Yes.
       20   A. Yes.                                                               20   Q. -- correct?
       21   Q. Okay. And if Cas was assigned to it and it got to the              21               Okay. Now, the staff attorney can then
       22      point of a formal complaint and a hearing, right, a                22      request certain additional information, correct?
       23      trial -- like hearing, let's call it, then Cas, as you             23   A. From whom?
       24      said, would not be on it because he didn't want to do              24   Q. Well, when I say certain, under the IOPs they can
       25      that sort of work, right?                                          25      request additional information from the grievant; is




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        1      that correct?                                                   1      writing a memo, it will come out next month or this
        2   A. Yes, yes.                                                       2      month or whatever.
        3   Q. Okay. And they can review the court file, is that               3   Q. Now, are -- you said that if an attorney -- if a staff
        4      correct, in applicable cases I guess?                           4      attorney agreed -- disagrees with your initial take,
        5   A. Yes. They have to ask me to see the court file and              5      then you definitely have a discussion, correct?
        6      I'd have to approve that, but they could call the               6   A. Yes.
        7      grievant or the grievant's attorney without any                 7   Q. Okay. Did that occur frequently?
        8      authorization -- further authorization from the                 8   A. It would occur, I mean, I can't put a number on it,
        9      commission, that was a standing authorization.                  9      but it would definitely occur.
       10   Q. Okay. Now, when the IOPs refer to the court file, is           10   Q. And what would happen in that situation?
       11      that the public court file or is it using the term to          11   A. I would usually defer to them. They, well, in all
       12      mean other files that might be in a courthouse?                12      likelihood, reviewed the file more carefully than I
       13   A. I only understood it to mean the court file that would         13      have, I give it a more cursory review, and they would
       14      be at the clerk's office or the things that are                14      go into more detail. Perhaps they've spoken to the
       15      available. So many courts now have docket sheets and           15      grievant then and realized that no, there wasn't
       16      even you can see documents online and that type of             16      anything there.
       17      thing.                                                         17   Q. Or conversely, they may determine there was something
       18   Q. Okay. But that would be the public file, right?                18      there when you had thought maybe initially it was
       19   A. Yes.                                                           19      summary?
       20   Q. Anybody could look at the public docket, right?                20   A. Yes --
       21   A. That's correct.                                                21   Q. Okay.
       22   Q. Okay. It wouldn't mean going in to look at any                 22   A. -- exactly.
       23      internal records, you know, of the court that the              23   Q. And they would also do a memo in that situation as
       24      public couldn't come see, right, at that point in the          24      well?
       25      investigation?                                                 25   A. So it was always a memo, but it wasn't so much a memo



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        1   A. Right, not without further authority from the                   1      to me, it would be a memo or a report to the
        2      commission, right.                                              2      commission. Every file, if it was going to be
        3   Q. Okay. Beyond that, the JTC staff can't pursue any               3      summarily dismissed by the commission, had to -- what
        4      further investigation without authorization from the            4      we called the summary dismissal letter. So they would
        5      commission, correct?                                            5      prepare a one-page memo explaining why no further
        6   A. Correct.                                                        6      investigation would really get us anywhere and the
        7   Q. Okay. The staff member who is assigned the grievance            7      matter should be dismissed and then those would all be
        8      then makes some assessment; is that right?                      8      included into one letter that would then go to the
        9   A. Yes.                                                            9      commissioners ahead of the meeting.
       10   Q. And do they convey that to you first?                          10               If it was the other way around and they
       11   A. Almost always. If they agree that it's a summary               11      thought we should be doing something or that's what I
       12      dismissal we may not discuss it again, I may just see          12      had recommended, then the staff attorney would draft a
       13      the summary dismissal memo. If they disagree with me,          13      grievance report to the commission saying here's what
       14      then for sure they come and we talk about it.                  14      it's about, here's a copy of the grievance and here's
       15   Q. So one thing that a staff member might do is agree             15      what we recommend doing.
       16      with your initial take that it should be summarily             16   Q. So is it fair to say then that there were --
       17      dismissed, correct?                                            17      essentially at this stage of the proceedings there was
       18   A. Yes.                                                           18      either going to be a recommendation for summary
       19   Q. And they would then indicate that to you by giving you         19      dismissal or a request for further investigation from
       20      the file back. How would that happen?                          20      the commission?
       21   A. I would meet with the attorneys on a weekly basis.             21   A. Yes.
       22      I'd go to each office and discuss with each attorney           22   Q. Those were the two options, right?
       23      the docket that that attorney had and we'd go through          23   A. Yes.
       24      that attorney's cases and -- here, I recommend summary         24   Q. Okay. And the staff attorney would make a
       25      dismissal and they'll say yes, yes, I agree, I'll be           25      recommendation maybe based on your initial intake,




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        1      maybe they differed from that, right, but you would          1      treat that not as -- so much as a hold, just as not
        2      ultimately present that to the commission, I mean, you       2      everybody agreed to it, so hold like, we would
        3      would make the final call on what we're going to             3      continue with the investigation. Or the commission
        4      request the commission to do; is that correct?               4      could right there approve everything and they wouldn't
        5   A. Yes.                                                         5      necessarily give other instructions what to do, just
        6   Q. Okay. Would you have input into the reports that were        6      whatever we had recommended is what would be done.
        7      prepared by the staff attorney before they were              7   Q. So when you were talking about the A, B and C, those
        8      provided to the commission?                                  8      are descriptions of the kind of investigation that
        9   A. Yes.                                                         9      would be pursued, is that what you meant?
       10   Q. And what sort of input would you provide?                   10   A. Right. So they would say, you know, we want to get --
       11   A. I would read each one and if I wanted to change or add      11      let's say it wasn't one of the big counties. We
       12      or delete things I would.                                   12      wanted to go see the court file in Shiawassee County,
       13   Q. You could also change the conclusion, correct?              13      you know, that would -- we would ask the commission
       14   A. Yes.                                                        14      for that. We wouldn't go up there because there
       15   Q. Do you recall if you ever did that?                         15      aren't a lot of people, we would stick out.
       16   A. Usually at that point we had already discussed it so        16             In Oakland County, Wayne County, whatever
       17      we were on the same page, as you like to say.               17      it may be, you can walk in, you get a file, nobody
       18   Q. Okay. Now, as to each one of those then the                 18      cares who you are, it's not an issue. But we wouldn't
       19      commission would hold a vote; is that correct?              19      want to tip anybody off or cause any problems with the
       20   A. Yes, they -- they used to go out with what we called a      20      investigated judge, if the judge was being looked at,
       21      mail, M-A-I-L, ballot and they would mail the ballots       21      so we would do things anonymously.
       22      back. With the advent of e-mail and all, they would         22             So anything -- we want to get the file, we
       23      just put the file number in the RE section and then         23      want to talk to somebody other than the grievant or
       24      say yes or no or some type of comment what they would       24      the grievant's attorney. Perhaps we want to speak to
       25      want to do and then when -- the voting period was two       25      the other attorney and get the other attorney's take



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        1      weeks. It would pass -- if it had enough votes to            1      on things, any of those types of things would require
        2      pass it was adopted, if it didn't it would go -- it          2      commission approval.
        3      would -- you know, try to get some of the other ones         3   Q. Now, in terms of the investigation that was then
        4      to vote or if it had a hold then it would get put on         4      performed, who would actually perform it, was it the
        5      the agenda for the commissioners to discuss in person        5      staff attorneys?
        6      at the next meeting.                                         6   A. Yes.
        7   Q. And the vote required a simple majority, correct?            7   Q. Did the JTC have any separate investigators it would
        8   A. Yes.                                                         8      ever hire?
        9   Q. Okay. And if any commissioner wanted a hold,                 9   A. They did once, they -- due to financial cutbacks they
       10      regardless of the other votes, that would be a hold,        10      didn't when I -- from the time I was their staff -- as
       11      correct?                                                    11      executive director they did not.
       12   A. Right, it goes on the agenda.                               12   Q. Okay.
       13   Q. Anyone?                                                     13   A. On occasion we would hire a private investigator.
       14   A. Anyone.                                                     14   Q. And you would get the approval of the commission to do
       15   Q. Okay. Now, if the commission then determined that a         15      that, correct?
       16      particular grievance warrants investigation, the            16   A. Yes.
       17      commission would direct the staff to investigate; is        17   Q. Could you use the resources of the Michigan State
       18      that correct?                                               18      Police?
       19   A. So they would have received that report with the            19   A. Could we? I suppose so, but it would require
       20      recommendations that we do A, B or C -- or and C and        20      commission approval, but I don't know that we ever
       21      the commission in the comments could say -- a               21      did. I don't recall ever using them -- for
       22      commissioner could say I approve A and B, but not C.        22      investigation, you mean?
       23              And if everybody else approved everything,          23   Q. Correct.
       24      then we would just treat it as A and B has been             24   A. Right, yeah, I don't recall ever using them.
       25      approved and we would do that, but not C. We would          25   Q. Okay. Your answer -- well, strike that.




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        1                Would your answer be the same as to any            1      approved in a given case would be to observe courtroom
        2      other law enforcement agency?                                2      proceedings; is that correct?
        3   A. We had contact on occasion from the FBI, but they may        3   A. Yes.
        4      have had an investigation on a particular judge going        4   Q. And if a judge was being observed would the judge be
        5      on and they would want to know if -- you know, I             5      notified before that occurred?
        6      couldn't tell them what we had going on, but there           6   A. No.
        7      would sometimes be contact. It's not like they showed        7   Q. And for the same reasons you sort of described earlier
        8      us theirs and we would show them our reports, nothing        8      about going in to look at records in busy counties
        9      like that.                                                   9      versus not busy counties, you didn't want anybody to
       10   Q. They were not investigating for you, there may have         10      know the investigation was going on, correct?
       11      been some concurrent investigation going on and they        11   A. Well, that's more like the Heisenberg uncertainty
       12      might have made an inquiry, is that what you're             12      principle. When the judge knows they're being
       13      saying?                                                     13      observed, they behave differently so you don't want
       14   A. Yes.                                                        14      the judge to know. But, yes, we would -- if we were
       15   Q. Okay.                                                       15      to try to send somebody to a smaller county it would
       16   A. And they would also make inquiries when a judge is          16      be more difficult to get somebody, and I don't know
       17      under consideration for appointments to the federal         17      that we ever did. We certainly did send people into
       18      bench, there would be contacts from them, but, again,       18      courts in the Tri-County area and we would get --
       19      they weren't doing anything on our behalf, the              19      that's like the private investigator would do
       20      commission's behalf.                                        20      something like that, they could go in and play the
       21   Q. So some of the examples of investigation you gave is        21      part.
       22      that the staff attorneys might contact witnesses or         22   Q. Okay. The commission did not have subpoena power,
       23      potential witnesses, correct?                               23      correct?
       24   A. Only with commission approval.                              24   A. No, that's not correct.
       25   Q. With commission approval?                                   25   Q. Okay. It does have subpoena power?



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        1   A. Yes.                                                         1   A. Yes.
        2   Q. These are some examples --                                   2   Q. Okay. Did it ever exercise that power during the time
        3   A. Yes.                                                         3      you were executive director?
        4   Q. -- of things -- types of investigation that the              4   A. All the time.
        5      commission might approve you to pursue, correct?             5   Q. Do you know where the subpoena power is authorized,
        6   A. Yes.                                                         6      could you direct me to that?
        7   Q. I mean, that's what we will be talking about, okay?          7   A. It's in the Court Rules, MCR 9.200.
        8   A. Okay.                                                        8   Q. That chapter?
        9   Q. Witnesses didn't have to speak to you, right, no             9   A. Yeah.
       10      compulsion to speak, right?                                 10   Q. Notwithstanding subpoena or anything else under the
       11   A. That's correct. I mentioned the point -- with one           11      Court Rules, judge and court personnel are required to
       12      asterisk again. If a witness or somebody called the         12      comply with reasonable requests made by the commission
       13      commission and said they wanted to talk, we would           13      in its investigation, correct?
       14      certainly talk to them. We didn't have to say sorry,        14   A. That's what the Court Rules says, yes.
       15      can't talk to you.                                          15   Q. That's also in the Court Rules. Now, we talked about
       16   Q. Right, the commission could certainly talk to anyone        16      the situation where a grievance would get to the point
       17      it wanted to, but a witness was not required to answer      17      where there's a recommendation for summary dismissal
       18      a call for any discussion, right?                           18      essentially?
       19   A. I'm saying something differently. We did not have to        19   A. Yes.
       20      get commission approval if a witness -- if somebody         20   Q. Okay. And the commission would have to approve
       21      called us up, called up the commission and wanted to        21      summary dismissal?
       22      just talk about what had happened, you know, on their       22   A. Yes.
       23      own voluntary thing, the staff was allowed to talk to       23   Q. Okay. We talked earlier in this investigative phase
       24      that person.                                                24      that the judge could be asked to comment about the
       25   Q. Okay. Another example of investigations that might be       25      allegations in the grievance, correct?




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        1   A. Yes.                                                          1      already that it would be a dismissal with one of the
        2   Q. What would determine whether or not the judge was             2      three varieties of dismissal; an explanation, a
        3      asked to comment?                                             3      caution or an admonishment. Or if it was thought that
        4   A. Sometimes you need to get the judge's story to get the        4      it was going to go further than that, at that point it
        5      full picture, rather than you can tell already that           5      would be a recommendation for a 28-day letter, which
        6      this isn't going to go anywhere so you don't need the         6      is what the Court Rules require to be provided --
        7      judge's comment or the summary dismissal. If it's             7      notice of the charges to be provided to the judge and
        8      something that looks like it is more serious and may          8      then the judge has 28 days to answer, which is where
        9      progress, you start by getting the judge's side of the        9      the name comes from.
       10      story.                                                       10   Q. So at the point the investigation is concluded,
       11   Q. Okay. And would that be a step that the commission           11       whatever investigative steps were taken, one thing you
       12      would have to approve also, to say hey, the                  12       said was there might also be a decision that it should
       13      investigators can contact the judge?                         13       be dismissed?
       14   A. Yes, again, with an asterisk. If the judge happened          14   A. Yes.
       15      to call up and say I hear there's a grievance out            15   Q. Now, would that, again, have to go to the commission,
       16      against me, let me tell you what happened, we could          16       there would be a recommendation for dismissal and that
       17      listen to the judge's story.                                 17       would have to be approved by the commission?
       18   Q. The judge would not hear there's a grievance against         18   A. Yes.
       19      him or her from the commission at that point in the          19   Q. Okay. So any of those next steps would have to be
       20      process, correct?                                            20       approved by the commission, correct?
       21   A. That's correct.                                              21   A. Yes.
       22   Q. Okay. So if the judge heard that, it would have to be        22   Q. Okay. Any of the types of letters that could be sent
       23      from the grievant or somebody the grievant told,             23       out would have to be approved, correct?
       24      right?                                                       24   A. Yes.
       25   A. Correct.                                                     25   Q. And the issuance of a 28-day letter as a prelude to


                                                                  Page 90                                                                Page 92
        1   Q. Okay. And if the commission did approve contact with          1      the formal complaint would have to be approved by the
        2      the judge, you and your staff would take that response        2      commission, correct?
        3      into account when making your recommendation to the           3   A. Yes.
        4      commission, correct?                                          4   Q. Would the staff attorney then make a recommendation as
        5   A. Yes.                                                          5      to what they think the next step should be?
        6   Q. Are there any other types of internal memoranda               6   A. It was something that would have been done in
        7      prepared at that juncture of the review process other         7      conjunction. Again, I meet with them once a week so
        8      than the report from the staff that we just discussed?        8      I'm aware of where there are with each case and we
        9   A. Sometimes there would be a memorandum from the staff          9      would have been discussing what had been occurring,
       10      to me, sometimes -- that would be about it, that's all       10      how the investigation was going. So it would have
       11      I can think of. A memorandum to the file, I would get        11      been an ongoing process of deciding what we were going
       12      a copy, that kind of thing.                                  12      to do next.
       13   Q. Now, what would be the next step then after the              13   Q. So ultimately you, after discussion with the staff
       14      investigative steps had been completed?                      14      attorney -- I mean, you would have the final decision
       15   A. It depends how many investigative steps there were and       15      as to the recommendation to the JTC?
       16      there may be -- after you've gotten the first approval       16   A. Yes. Usually it would be the staff attorney would say
       17      for whatever the proposed investigation was from the         17      I think this is a dismissal and I'm sure I could have
       18      commission, you've done that, you may want to get            18      overruled it or disagreed, but I think for the most
       19      other matters investigated, you'll want to talk to           19      part I went with what the staff attorney thought.
       20      other people to explore it further, that would require       20   Q. And for the reason we discussed earlier, right, you
       21      another report to the commission with, you know,             21      would have been having ongoing discussions during
       22      further recommendation.                                      22      these weekly meetings and you were generally on the
       23               Once all of the investigative steps were            23      same page, correct?
       24      done, at that point it's either cut it loose, dismiss        24   A. Yes, yes, yes.
       25      the matter, or decide that based on what you have            25   Q. If we could, sir, looking at Exhibit 1 -- let me make




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        1      sure I get you to the right page. Page 3, Arabic               1      concrete terms, but the type of thing where it's not
        2      numeral page 3. Towards the bottom of the page                 2      the best thing to do and maybe you should not do that
        3      there's a squared-off box under subsection C titled --         3      again.
        4      it says action the committee can take. Do you see              4   Q. And these are sort of at increasing levels of
        5      that?                                                          5      severity, correct, the way we're looking at it, I
        6   A. Yes.                                                           6      mean, dismissal means either it's outside the
        7   Q. Okay. Would those be a list of the actions the                 7      jurisdiction or nothing was wrong, correct?
        8      commission could take, that's accurate, that's what we         8   A. Yes.
        9      were discussing, right?                                        9   Q. And then the next, again, increasing level of severity
       10   A. Yes. I think there could be others, but, yes, those           10      would be dismissal with explanation, right?
       11      would be the general ones.                                    11   A. Yes, but severity is maybe not the right term because
       12   Q. Okay. And the first one, which I think we already             12      they're still dismissals. So it's a dismissal no
       13      talked about, is dismissal, correct?                          13      matter what, it counts as a dismissal. It doesn't
       14   A. Yes.                                                          14      count as discipline, is what I'm saying.
       15   Q. And that would just be a recommendation to the                15   Q. Okay. Correct, pursuant to the IOPs, right?
       16      commission that the grievance was ultimately without          16   A. Pursuant to the IOPs and pursuant to the Supreme
       17      merit; is that correct?                                       17      Court, yes.
       18   A. Yes.                                                          18   Q. Okay. So would a fair description of dismissal with
       19   Q. And --                                                        19      explanation be that when the commission determines
       20   A. Or I shouldn't say without merit. It could be because         20      there was no judicial misconduct but that certain
       21      it's an appellate matter, it shouldn't be ours;               21      actions of the judge should preferably not be
       22      because it was against a federal judge, there's no            22      repeated?
       23      jurisdiction. So it could have been for any of those          23   A. Yes.
       24      reasons, but dismissal is the only recommendation.            24   Q. Okay.
       25   Q. And upon the closing of the case the judge would              25               MARKED FOR IDENTIFICATION:



                                                                   Page 94                                                               Page 96
        1      receive a copy of the grievance; is that correct?              1                  DEPOSITION EXHIBIT 3
        2   A. Almost always.                                                 2                  11:13 a.m.
        3   Q. The commission could decide not to give that to the            3   BY MR. HIRSCH:
        4      judge; is that correct?                                        4   Q. Sir, I'm going to show you what we've marked as
        5   A. Yes, very rarely, but, yes.                                    5       Exhibit 3 and I just want to show you a few of these
        6   Q. Okay. Would there be some criteria that -- or reason           6       to make sure we're on the same page so we understand
        7      that it would not be given to the judge?                       7       the nature of these form letters. So you have
        8   A. I don't think there's anything in writing criteria,            8       Exhibit 3 in front of you right now?
        9      but, as an example, if it was a court employee who had         9   A. Yes.
       10      been complaining about a judge or how they were being         10   Q. And this is as to -- a letter as to request for
       11      treated and then dismissing it would -- and giving a          11       investigation number 07-17138, correct?
       12      copy to the judge might only make matters worse for           12   A. Yes.
       13      the employee. Under those circumstances, perhaps not.         13   Q. Okay. And is this an example of sort of the form
       14   Q. Because it would reveal the name of the grievant and          14       letter we discussed earlier, the categories of form
       15      that might make it difficult if they were still               15       letters?
       16      employed, correct?                                            16   A. No.
       17   A. Yes.                                                          17   Q. Okay. This is not?
       18   Q. As one example?                                               18   A. No.
       19   A. Yes.                                                          19   Q. Okay. Is there something different about this
       20   Q. The next one is dismissal with explanation, correct?          20       particular one?
       21   A. Yes.                                                          21   A. Yes.
       22   Q. And under what circumstances would you have                   22   Q. What's the difference with this particular one?
       23      recommended a dismissal with explanation?                     23   A. This is a letter of dismissal with explanation. Each
       24   A. I can't think of any particular specific example I            24      one of those was specifically crafted for the case.
       25      could give you so I could make -- put it in more              25   Q. Okay. So earlier you were talking about only




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        1      dismissals that happened in the preinvestigative          1      during a time that person was a judge, correct?
        2      phase; is that correct?                                   2   A. Yes.
        3   A. No, just a straight dismissal that --                     3   Q. Okay. So there is another minor category that's not
        4   Q. Okay. You were talking about only the first bullet        4      listed in our box here that you called a special
        5      point on the chart we looked at in Exhibit 1, page 3,     5      dismissal, right?
        6      right?                                                    6   A. Yes.
        7   A. Yes, what we called straight dismissal.                   7   Q. And one example then, you said, would be retirement of
        8   Q. Okay. So these are crafted individually for each          8      a judge during --
        9      case, correct?                                            9   A. Yes.
       10   A. Yes.                                                     10   Q. -- during the process, correct?
       11   Q. Okay. But this is an example of that second bullet       11   A. Yes.
       12      point, dismissal with explanation, correct?              12   Q. After the act, but while the investigation is going
       13   A. I didn't read it, I just looked at the end because       13      on, right?
       14      that's where we would put the part in there so if you    14   A. Yes.
       15      give me a second to read --                              15   Q. Would resignation be another thing that might fall
       16   Q. Okay. Again, as with all of them, you can certainly      16      into the special dismissal category?
       17      take your time.                                          17   A. Yes.
       18   A. Okay. I've read it.                                      18   Q. Anything else you can think of?
       19   Q. Okay. So this is an example of a dismissal with          19   A. I know we did a number of cases that there was
       20      explanation?                                             20      something else involved, I mean, I can't remember the
       21   A. Yes, exactly.                                            21      specifics, but I can tell you, for example, where a
       22               MARKED FOR IDENTIFICATION:                      22      judge -- I can't, no, I don't.
       23               DEPOSITION EXHIBIT 4                            23   Q. Okay. But the special dismissal is also not
       24               11:15 a.m.                                      24      discipline, correct, it falls into that category
       25   BY MR. HIRSCH:                                              25      that's defined as not discipline, right?


                                                              Page 98                                                              Page 100
        1   Q. Sir, I apologize for doing these out of order, but I      1   A. Right.
        2      want to make sure that we're clear. So we just handed     2   Q. Okay. Okay. The next bullet point on page 3 of
        3      you what we've marked as Exhibit Number 4 to your         3      Exhibit 1 in that chart is called dismissal with
        4      deposition and it's request for investigation numbers     4      caution. Do you see that, sir?
        5      04-15223 and 04-15241. Do you have that in front of       5   A. Yes.
        6      you, sir?                                                 6   Q. Was that also called a cautionary letter?
        7   A. Yes.                                                      7   A. Yes.
        8   Q. Would this then be an example of what you termed a        8   Q. Those terms are interchangeable, right?
        9      straight dismissal?                                       9   A. Yes.
       10   A. No, this would be called -- what we would call a         10   Q. What would be the circumstances where the JTC would
       11      special dismissal, because it had a specially crafted    11      choose to pursue a dismissal with caution?
       12      letter. It counts as a dismissal. It's not a             12   A. I see what's written in the annual report, Exhibit 1,
       13      dismissal with explanation, but there's little twists    13      and that's more or less what it would be. The
       14      and turns to it. You can see the judge retired and       14      commission determines that improper or questionable
       15      that's the reason it was dismissed.                      15      conduct did occur, but was relatively minor.
       16   Q. Okay. If a judge retires does the JTC still have         16   Q. And you would agree that's accurate, correct?
       17      jurisdiction?                                            17   A. Yes.
       18   A. Yes.                                                     18               MARKED FOR IDENTIFICATION:
       19   Q. Okay. If a judge resigns does the JTC still have         19               DEPOSITION EXHIBIT 5
       20      jurisdiction?                                            20               11:18 a.m.
       21   A. Yes.                                                     21   BY MR. HIRSCH:
       22   Q. Okay.                                                    22   Q. Mr. Fischer, our court reporter just handed you what
       23   A. As long as the act of misconduct occurred during the     23      we've marked as Exhibit Number 5, a letter regarding
       24      judge's tenure as a judge.                               24      request for investigation number 03-14486. Do you
       25   Q. Right. Provided that the underlying act occurred         25      have that in front of you, sir?




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        1   A. Yes.                                                      1      dismissal, if I --
        2   Q. And would this be an example of a dismissal with          2   A. Yes.
        3       caution?                                                 3   Q. Now, the next bullet point in the chart on page 3 of
        4   A. Yes.                                                      4      Exhibit 1 says recommend private, slash, public
        5   Q. Okay.                                                     5      censure, comma, suspension or removal to Supreme
        6               MARKED FOR IDENTIFICATION:                       6      Court. Do you see that?
        7               DEPOSITION EXHIBIT 6                             7   A. Yes.
        8               11:19 a.m.                                       8   Q. Do each of those require that a formal complaint be
        9   BY MR. HIRSCH:                                               9      filed?
       10   Q. The next bullet point is labeled dismissal with          10   A. No. I would say removal, probably, I don't think
       11       admonition, correct?                                    11      anybody would agree to removal, but a judge could
       12   A. Yes.                                                     12      consent to any of the others, or in theory to removal.
       13   Q. And our court reporter has just handed you what we've    13   Q. Okay. So these are I guess -- would it be fair to say
       14       marked as Exhibit Number 6 to your deposition and it    14      that these are three different things in one bullet
       15       appears to be a letter regarding request for            15      point -- or maybe four actually?
       16       investigation number 02-14082 and 03-14430. Do you      16   A. Right, those are four different things.
       17       have that in the front of you, sir?                     17   Q. So one is private censure, correct?
       18   A. Yes.                                                     18   A. Yes, by the Supreme Court.
       19   Q. And would this be an example of a dismissal with         19   Q. Okay. Now, how would it get to the Supreme Court for
       20       admonition?                                             20      private censure, how would it be private in that case?
       21   A. Yes.                                                     21   A. So the commission would prepare a report, you know,
       22   Q. Okay. And a dismissal with admonition is given when      22      assuming that the judge had agreed to it because it
       23       somewhat more serious conduct is found; is that         23      wouldn't be a public hearing. So the judge would
       24       correct?                                                24      agree to a private censure by the court, the
       25   A. Yes.                                                     25      commission would prepare a report to the court saying


                                                            Page 102                                                          Page 104
        1   Q. And the purpose of private admonitions from the JTC       1      we recommend -- make a decision, recommend private
        2      are designed, in part, to bring problems to a judge's     2      censure to judge so-and-so and then the court could
        3      attention at an early stage in hope that the conduct      3      accept it and privately admonish the judge, you know,
        4      will not be repeated or escalate, correct?                4      issue an order of admonishment. So instead of it
        5   A. Yes.                                                      5      being a letter of admonishment from the commission,
        6   Q. Now, a judge does have the right to challenge an          6      it's an order of admonishment from the court, or the
        7      admonition in the Michigan Supreme Court, correct?        7      court could refuse.
        8   A. Right, that was a change of the Court Rules eight,        8   Q. So still focusing on private censure, the judge would
        9      nine years ago.                                           9      have to agree to that, correct?
       10   Q. Okay. There was no right to challenge the caution or     10   A. Yes.
       11      explanation, correct?                                    11   Q. Okay. And if an order is -- if the judge agrees to
       12   A. Right, correct.                                          12      it, does the commission then have to agree to it?
       13   Q. Okay. If a judge does choose to challenge a dismissal    13   A. Yes.
       14      with admonition, that becomes public, correct, the       14   Q. And then the commission would make that recommendation
       15      Supreme Court's resolution of that is public, correct?   15      to the Supreme Court, correct?
       16   A. Yes.                                                     16   A. Yes.
       17   Q. Okay. Other than that these categories of dismissal      17   Q. And the Supreme Court would agree or not agree,
       18      remain private, correct?                                 18      correct?
       19   A. Yes.                                                     19   A. Yes.
       20   Q. Okay.                                                    20   Q. Okay. If the Supreme Court agreed, you said they
       21   A. These categories of?                                     21      would issue an order, correct?
       22   Q. The ones we discussed, right?                            22   A. Yes.
       23   A. I just don't -- did you say the word discipline, these   23   Q. Would that be a public order without disclosing the
       24      categories are dismissal?                                24      name?
       25   Q. I said dismissal, I thought. I meant to say              25   A. I don't know.




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        1   Q. Okay. If the Supreme Court did not agree to the           1      hearing, correct?
        2      recommendation for private censure what would happen      2   A. Correct.
        3      then?                                                     3   Q. Okay. There would still be a recommendation and the
        4   A. The court would say so in an order sending it back to     4      commission would have to agree with that, right?
        5      the commission.                                           5   A. Yes, what it is is it's the judge and the examiner, or
        6   Q. Would the court identify the judge at that point that     6      the quasi examiner because there wasn't a formal
        7      it sent it back to the commission or would it be an       7      complaint issued, came to a settlement agreement.
        8      order maybe just, you know, referencing the file          8      That would be submitted to the commission.
        9      number or something?                                      9             The commission then would treat that as
       10   A. I don't recall.                                          10      akin to the master's report and decide whether to
       11   Q. Okay.                                                    11      accept it or not accept it and then issue a decision
       12   A. I know it happened, I just don't recall how they         12      as if there had been a hearing. Based on this
       13      handled it.                                              13      settlement agreement, here's the commission's findings
       14   Q. Okay. With respect to public censure, would that also    14      and recommendations to the Supreme Court and that
       15      have to be by agreement?                                 15      would get sent to the Supreme Court.
       16   A. It would not necessarily have to be. It could be or      16   Q. If for some reason the commission did not accept that
       17      it could be following a hearing on a formal complaint.   17      though, would they then send it back to you
       18   Q. Okay. By the way, I'm sorry, going back to private       18      essentially because there might need to be a hearing
       19      censure, is that considered discipline?                  19      though, right?
       20   A. Yes.                                                     20   A. Right. So it's not so much as they're sending it
       21   Q. Okay. It --                                              21      back, but, yes, the commission did not agree to the
       22   A. If it comes from the Supreme Court it's discipline.      22      settlement agreement reached by the executive
       23   Q. But how would anybody else then ever know about it?      23      director, acting as the quasi examiner and the
       24   A. They wouldn't.                                           24      respondent judge, it would come back to where it was
       25   Q. Okay. And with respect to public censure, that           25      and then a report would be provided to the commission



                                                            Page 106                                                             Page 108
        1       likewise would be considered discipline, correct?        1      with a recommendation of whatever, dismissal or formal
        2   A. Yes.                                                      2      complaint.
        3   Q. Okay. Now, you said that that could be via an             3   Q. So you wouldn't lose the opportunity -- the judge,
        4       agreement with the judge, correct?                       4      let's say, wouldn't lose the opportunity for a hearing
        5   A. Yes.                                                      5      if the agreement was not approved, correct?
        6   Q. Or the commission could decide to do that on its own?     6   A. Correct.
        7   A. Following a hearing, yes.                                 7   Q. Okay. And then the final one here is removal,
        8   Q. That would have to follow a hearing?                      8      correct?
        9   A. Yes.                                                      9   A. Yes.
       10   Q. If the judge agreed to it there wouldn't have to be a    10   Q. And that would fundamentally be the same process,
       11       hearing, correct?                                       11      correct?
       12   A. Yeah, correct.                                           12   A. Yes.
       13   Q. Okay. And if the Supreme Court agreed with the           13   Q. Now, with respect to the items that we determined were
       14       recommendation for public censure, the Supreme Court    14      not discipline, right, dismiss, dismissal with
       15       would issue an order of public censure, right?          15      explanation, dismissal with caution and dismissal with
       16   A. Yes.                                                     16      admonition, is the grievant informed of the outcome?
       17   Q. And that, of course, would have an identification, a     17   A. The grievant gets a form letter of all cases. I don't
       18       name, right?                                            18      recall specifically what it says with explanation and
       19   A. Yes.                                                     19      caution, I think it's just the same type of wording as
       20   Q. Okay. The next one under that same bullet point is       20      with the dismissals, the matter has been closed or
       21       suspension, correct?                                    21      something like that.
       22   A. Yes.                                                     22             But with admonition, the admonishment
       23   Q. Okay. Is that something the judge could agree to?        23      letter, it says something like -- the letter to the
       24   A. The judge could agree to it, yes.                        24      grievant says something slightly different, you know,
       25   Q. And if the judge agreed there would not have to be a     25      that the behavior -- all judicial offices are not




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        1      perfect or corrective action has been taken, something      1   Q. Focusing first on the 28-day letter, who prepares the
        2      along those lines, but there's a form letter that goes      2      28-day letter?
        3      with it.                                                    3   A. It's issued under the executive director's name. It's
        4   Q. With respect to private censure, does the grievant          4      prepared by a staff attorney, the same way everything
        5      then get some kind of letter?                               5      else is prepared at an initial level by the staff
        6   A. So it never happened during my tenure, but there was        6      attorney, but the executive director would have the
        7      some type of letter.                                        7      authority to change whatever would be done. 28-day
        8   Q. Okay. Public censure -- well, the other is public           8      letters are attached -- or proposed 28-day letters are
        9      censure, suspension or removal are public, correct?         9      attached to the report that goes to the commission, so
       10   A. Right.                                                     10      the commission ultimately approves or modifies the
       11   Q. I mean, do you send those to the grievant when they're     11      28-day letter.
       12      done?                                                      12   Q. And again, we talked about it's called the 28-day
       13   A. Yes, with a letter, here encloses the decision of the      13      letter because you have 28 days to respond, correct?
       14      Supreme Court.                                             14   A. Right.
       15   Q. Okay. Now, you mentioned that private censure was          15   Q. The judge then has 28 days to respond?
       16      never done during your time as executive director,         16   A. Right.
       17      correct?                                                   17   Q. Could be extended, correct?
       18   A. The Supreme Court never entered an order of private        18   A. Yes.
       19      censure while I was there to -- they may have done one     19   Q. Now, has there ever -- well, strike that.
       20      in the very beginning to the best of my recollection.      20               When the commission approves the 28-day
       21      I know that we tried another one and it didn't go          21      letter do they then have to separately approve the
       22      through.                                                   22      formal complaint?
       23               The court expressed either at a meeting           23   A. Yeah, because when the 28-day letter is issued, that's
       24      with us or somewhere that they didn't like private         24      just another phase of the investigation. There may
       25      censure, that if it was serious enough for a censure       25      not necessarily be a formal complaint.


                                                               Page 110                                                            Page 112
        1      it should be a public matter and the commission didn't      1   Q. Okay. Does the executive director take on the role of
        2      offer anymore from that time on, which was relatively       2      examiner when the 28-day letter is filed or is that
        3      early in my tenure there.                                   3      still viewed as part of the investigative phase?
        4   Q. Now, we talked earlier about a change in the executive      4   A. Part of the investigative phase.
        5      directors's role, right, upon the filing of formal          5   Q. So after a response is received from the 28-day letter
        6      proceedings?                                                6      is there another assessment made?
        7   A. Yes.                                                        7   A. Yes.
        8   Q. And at that point the executive director effectively        8   Q. Okay. And the same staff attorney performs that
        9      takes on the role of examiner, correct?                     9      assessment who had been assigned to the case --
       10   A. Yes.                                                       10   A. Yes.
       11   Q. And the examiner then directs the investigation,           11   Q. -- barring any turnover in staff, I guess, but --
       12      correct?                                                   12   A. Yes, yes.
       13   A. There's not much investigation left, it's managing the     13   Q. Okay. And you said there have been occasions when
       14      trial, although there will certainly be some ancillary     14      following a 28-day letter -- a response to a 28-day
       15      investigation going on.                                    15      letter the recommendation was not to go forward with a
       16   Q. Could the executive director issue a subpoena at that      16      formal complaint, correct?
       17      point?                                                     17   A. Yes.
       18   A. So in that particular case, once the formal complaint      18   Q. And that would be based on the contents of the
       19      is issued there is no executive director with respect      19      response, correct?
       20      to that case. The executive director is still at the       20   A. Yes, or other matters that may have come up since the
       21      commission, but not with regard to that particular         21      time of the last report.
       22      case. Yes, the examiner can issue subpoenas.               22   Q. So it's possible that other investigation could still
       23   Q. Okay. Does the judge who is the subject of the formal      23      be continuing even after the 28-day letter got issued?
       24      complaint get to issue subpoenas?                          24   A. Yes, or from the time while the 28-day letter is out
       25   A. I believe so.                                              25      pending, yes.




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        1   Q. Now, after the response to the 28-day letter is           1   Q. Correct. But the commission's recommendation is
        2      received by the commission, if the -- well, strike        2      public?
        3      that.                                                     3   A. The decision that it issues, yes.
        4              Who reviews the response to the 28-day            4   Q. Well, that's actually a recommendation to the Supreme
        5      letter, the staff attorney?                               5      Court, correct?
        6   A. Staff attorney, the executive director and the            6   A. Yeah, well, it's the decision and recommendation. It
        7      commission.                                               7      will be a written document that is a public document,
        8   Q. Okay. And then does the staff attorney or the             8      yes.
        9      executive director in conjunction with the staff          9   Q. Okay. But any pleadings that may be filed in the
       10      attorney prepare a recommendation to the commission      10      course of the case are public also, correct?
       11      and either say we want a formal complaint or we do       11   A. Yes, as part of the hearing on the formal complaint,
       12      not?                                                     12      yes. So from that point -- from the issuance of the
       13   A. Yes.                                                     13      formal complaint forward, things are public. That
       14   Q. Is there another option -- I mean, at that point in      14      doesn't make anything that happened before public.
       15      the game, I mean, is it either we've determined          15   Q. Correct. From that point forward, the answer for
       16      there's nothing here so we dismiss or we have to file    16      example, is public?
       17      a formal complaint?                                      17   A. Is a public document, yes.
       18   A. No, it could be dismissal with caution, dismissal with   18   Q. Just like filing in a court, right?
       19      admonishment --                                          19   A. Exactly.
       20   Q. So those same things could still happen after the        20   Q. You're familiar with the Brown factors, correct?
       21      response?                                                21   A. Yes.
       22   A. Yes.                                                     22   Q. Are the Brown factors taken into account when deciding
       23   Q. Okay. Now, if the executive director maybe through       23      whether to file the formal complaint?
       24      the staff attorney or in conjunction with the staff      24   A. They're not taken into account by the staff in making
       25      attorney decides it is appropriate to have a formal      25      the recommendation. I don't know what the commission



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        1      complaint, that goes to the commission and they either    1      considers when they deliberate on whether they should
        2      approve it or don't, correct?                             2      issue the formal complaint, I'm not in the room when
        3   A. Yes.                                                      3      they do it.
        4   Q. Okay. And if the commission approves the issuance of      4   Q. Now, we talked before about some situations where
        5      a formal complaint, who prepares that?                    5       there could be an agreement reached between the
        6   A. It's generally prepared -- it's always prepared ahead     6       commission and the judge that could result in certain
        7      of time and included with the report that goes to the     7       kinds of discipline, correct?
        8      commission recommending the formal complaint.             8   A. Yes.
        9   Q. So the commission sort of sees the example -- or what     9   Q. Does the JTC essentially offer a deal to the judge in
       10      will go out, assuming you are authorized to do that?     10       some circumstances?
       11   A. Well, what may go out. The commission can modify,        11   A. So it's not that the JTC is offering a deal, it would
       12      edit, delete, whatever they like to do.                  12      be more accurate to say that the -- there is no formal
       13   Q. And that formal complaint then becomes a formal          13      complaint, but the executive director takes on the
       14      statement of the charges, correct?                       14      role of the quasi examiner, taking on the
       15   A. Yes.                                                     15      prosecutorial role.
       16   Q. And from that point forward, in other words from the     16                The commission is out of that negotiation
       17      issuance of the formal complaint forward, the            17      process because it will be the adjudicative body, but
       18      proceedings of the JTC are public, correct?              18      the quasi examiner then can make a plea deal, so to
       19   A. The hearing is public, the -- any arguments or motions   19      speak, with the respondent judge. That deal is then
       20      are public, but when the matter comes back to the        20      presented to the commission, which can either accept
       21      commission from the master, the commission's             21      it or reject it.
       22      deliberations are not public.                            22   Q. And just so I understand, could that -- and I
       23   Q. Correct.                                                 23       understand we're using the term plea deal loosely --
       24   A. The hearing in front of the commission is public, but    24   A. Yes.
       25      the commission and executive session is not.             25   Q. -- an agreement with the judge for some type of




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        1      discipline, can that be made before the 28-day letter      1      consider that to be a benefit to the judge, right?
        2      also?                                                      2   A. I considered it to be a benefit to the entire system.
        3   A. It could be made at any time, yes.                         3   Q. Well, it would also be for the judge to avoid shame
        4   Q. Okay. And it could be made after the 28-day letter,        4      and embarrassment, correct?
        5      but before the formal complaint is issued?                 5   A. And for the system to avoid shame and embarrassment,
        6   A. Yes.                                                       6      yes.
        7   Q. And it could also be reached while the formal -- after     7   Q. I'm sorry, you mean the judicial system in general,
        8      the formal complaint has been issued, correct?             8      correct?
        9   A. Yes.                                                       9   A. Anytime a judge commits misconduct against a public
       10   Q. Okay. Would it be the staff attorney who approaches a     10      slapping from the Supreme Court it harms the judiciary
       11      judge for the suggestion of an agreement or would it      11      as a whole in the eyes of the public. So everybody
       12      be you or could it be either one?                         12      wins when there's a -- that type of resignation and a
       13   A. It would be the executive director -- it would be         13      quiet resolution.
       14      there for -- whichever way, whether the offer was made    14   Q. And you would offer other types of quiet resolutions
       15      from the executive director or whether the respondent     15      too, correct, in connection with settlements, right,
       16      judge had made an offer to the executive director, but    16      for example, dismissal with explanation?
       17      it would have been the executive director level, not      17   A. No, I wouldn't offer that, that's something the
       18      the staff attorney.                                       18      commission would decide to do on its own.
       19   Q. And you as executive director would make the decision     19   Q. Okay. So in terms of settlement offers or offers that
       20      whether to accept that agreement in the sense of          20      you would be involved in, you said that getting the
       21      proposing it to the commission as a resolution,           21      judge off the bench, you didn't care if it was
       22      correct?                                                  22      retirement or resignation, that was one?
       23   A. Right. Acting in the role of quasi examiner because       23   A. Right.
       24      you're not the examiner unless there's a formal           24   Q. Would you suggest a suspension for some term?
       25      complaint. So if there's any type of pre-formal           25   A. Yes.



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        1      complaint, the procedures the commission had set up        1   Q. Okay. I mean --
        2      was to have the examiner act as the quasi examiner and     2   A. Are you saying try to negotiate a resolution with the
        3      negotiate any settlement agreements and then present       3      judge?
        4      those to the commission.                                   4   Q. Yes, would that be in the category of things that
        5   Q. Did the -- during your time as executive director was      5       might be negotiable?
        6      it common to offer agreements to a judge for lesser        6   A. Yes, we would try to negotiate resolutions for public
        7      discipline?                                                7      censure, public censure plus a period of suspension,
        8   A. I don't know how to define common, but it happened         8      that type of thing, yes.
        9      frequently.                                                9   Q. Well, public censure wouldn't save shame or
       10   Q. And in fact according to the IOPs the commission          10       embarrassment to the system, right, because you said
       11      favors settlement agreements, correct?                    11       any kind of discipline embarrasses the system, right?
       12   A. Yes, as did the executive director.                       12   A. Yes, but it would be the type of thing that we could
       13   Q. In terms of the settlement agreements that you were       13      also negotiate. A suspension doesn't save
       14      involved in, did you ever offer a judge the option to     14      embarrassment to the system either --
       15      resign instead of facing discipline?                      15   Q. Right.
       16   A. Yes.                                                      16   A. -- but not everybody has to resign.
       17   Q. Did you ever offer the judge an option to retire          17                 Not every infraction rises to the level
       18      instead of facing discipline?                             18      that the judge should no longer be a judge.
       19   A. That was more of the judge's choice, but leaving          19   Q. Right. So some things we would tolerate that they
       20      office was the issue. How they handled it, whether it     20       became public essentially, right?
       21      was a resignation or whether it was a retirement, if      21   A. Judges have shown that they recognize the error of
       22      it's a defined benefit plan, you know, that didn't        22      their ways and turned it around, that's a positive
       23      make any difference to our side. So they could phrase     23      thing.
       24      it however they wanted.                                   24   Q. That's good for the system, right?
       25   Q. And when you would make an offer like that, you would     25   A. That's good for the system or can be.




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        1   Q. Now, once formal proceedings are initiated there is       1   A. 10, 12.
        2      discovery in this process, correct?                       2   Q. Do you recall if any of those masters were
        3   A. Yes.                                                      3      African-American?
        4   Q. And that's provided in the Michigan Court Rules,          4   A. Do I recall, yes.
        5      right?                                                    5   Q. Okay. Can you tell me which one or ones?
        6   A. Yes.                                                      6   A. Yes, there was a woman, she was from the Detroit 36th
        7   Q. So the judge, subject to the proceeding, is entitled      7      District Court. I'm trying to remember which case it
        8      to inspect and copy all documentary evidence in the       8      was. I think it was the -- Hultgren or --
        9      JTC's possession that is to be introduced at the          9      H-U-L-T-G-R-E-N.
       10      hearing on the formal complaint, correct?                10   Q. Hultgren was the judge subject to the proceedings --
       11   A. I don't have the copy of the Court Rules in front of     11   A. Yes.
       12      me, so I don't know.                                     12   Q. -- just so we're --
       13   Q. Okay. You don't know one way or the other?               13   A. Yes, yes.
       14   A. It's something like that, but I'm not going to agree     14   Q. -- clear?
       15      to something under oath. The Court Rules set it out.     15   A. Okay. I think in that case.
       16   Q. Okay. You recall the JTC is also required to give the    16   Q. And you believe it was a former -- the master was a
       17      judge the name and address of any person to be called    17      former judge of the 36th District Court?
       18      as a witness?                                            18   A. Yes. We had a couple -- I think we had a couple from
       19   A. There's -- whatever the Court Rule says.                 19      the 36th District Court, but, you know, I -- I just
       20   Q. You would agree that in the cases you were involved in   20      don't recall race or gender for the master, but I
       21      you provided the discovery requirement under the         21      think we had --
       22      Michigan Court Rules; is that correct?                   22   Q. But at least that one you believe, I think you said
       23   A. To the best of my ability, yes.                          23      was a woman?
       24   Q. Did the judge have to request the discovery or was       24   A. Yes, I think so.
       25      that just required to be provided as a matter of         25   Q. An African-American woman?



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        1      course?                                                   1   A. I think so.
        2   A. I don't know that -- it's seems to me that at that        2   Q. Okay. And after the hearing before the master, the
        3      point where we're at the discovery level, we're           3      master issues a report; is that correct?
        4      talking with an attorney and it just gets discussed,      4   A. Yes.
        5      when are we going to do discovery, that type of thing.    5   Q. And the parties can raise objections to that report,
        6   Q. And once a formal complaint is filed the judge is         6      correct?
        7      entitled to a hearing, correct?                           7   A. Yes.
        8   A. Yes.                                                      8   Q. And then the commission conducts oral argument; is
        9   Q. And in your experience that is always before the          9      that correct?
       10      master, correct?                                         10   A. Yes.
       11   A. Yes.                                                     11   Q. Now, does the commission only conduct oral argument if
       12   Q. And it is the Michigan Supreme Court who appoints the    12      one party objects -- if either party objects, rather?
       13      master; is that correct?                                 13   A. No, the -- well, I'm not aware of anytime one side or
       14   A. Yes.                                                     14      the other didn't object, but there has to be an
       15   Q. Does the commission make a request to the Supreme        15      argument regarding the recommended sanction. So it
       16      Court to appoint a master?                               16      will always be some oral argument in front of the
       17   A. Yes, there's a file a motion or a request form.          17      commission.
       18   Q. And does the commission have any input into the          18   Q. And at that point the commission may also dismiss,
       19      identity of the master?                                  19      right?
       20   A. No.                                                      20   A. Yes.
       21   Q. Do you know how the Michigan Supreme Court selects a     21   Q. Have you ever seen that happen?
       22      master?                                                  22   A. Yes.
       23   A. No.                                                      23   Q. Would you, sort of in the role of prosecutor at that
       24   Q. During your tenure do you recall how many cases where    24      point, could you appeal the commission's decision to
       25      masters were appointed?                                  25      dismiss to the Michigan Supreme Court?




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        1   A. No.                                                          1    A. Something, yes.
        2   Q. The party could certainly -- I mean, they wouldn't           2    Q. And were you the person who then made a search to
        3      appeal a dismissal obviously, but they could appeal          3        produce some files?
        4      any other decisions to the Michigan Supreme Court,           4    A. Yes.
        5      correct?                                                     5    Q. And how did you go about that search?
        6   A. Yeah, so it's not so much that they're appealing.            6                 MS. MILLER: I'm going to place an
        7      Once the commission issues a decision it has to get          7        objection as I think that would -- at that time I was
        8      filed with the court, but the respondent judge could         8        representing the -- and I still do represent the JTC
        9      file objections to the commission's report, the              9        and I think any discussions we may have had about how
       10      examiner can't. So if the examiner thinks it should         10        the search would be conducted would be attorney/client
       11      have been a higher sanction or whatever, the examiner       11        privilege.
       12      can't file something objecting, the examiner can only       12                 MR. HIRSCH: Well, I don't -- well, first
       13      respond to whatever the respondent raises.                  13        of all, I certainly agree that any discussions you had
       14   Q. It's an objection, actually I used the word appeal          14        would be attorney/client privilege, although I don't
       15      before, but of course you're correct that it's an           15        think that's what I was asking so I'll try to rephrase
       16      objection that gets filed.                                  16        the question.
       17                 So at that point when the commission has         17    BY MR. HIRSCH:
       18      made its recommendation, does the examiner then sort        18    Q. In terms of physically going through and reviewing the
       19      of move back to the role of executive director in the       19        JTC files, did you make some selections as to what
       20      sense that the executive director is then representing      20        would be produced?
       21      and advocating the position of the commission before        21    A. Yes.
       22      the Michigan Supreme Court?                                 22    Q. And without going into the substance, did you make
       23   A. No, it seems that that person is still at the level of      23        those selections based on a conversation you had had
       24      the examiner because they're still advocating the           24        with counsel?
       25      position. The commission doesn't tell the examiner          25    A. I'm sure -- I don't recall specifically.


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        1      how to argue the case or what to do about the case or        1   Q. Well, do you recall then how it was that you made
        2      how to prepare the brief or review the brief that the        2      choices as to what would be produced?
        3      examiner files, so no.                                       3   A. I thought there was an order or something listing the
        4   Q. You were involved in discovery in this case during the       4      code numbers that were wanted and the grievance
        5      time you were executive director specifically,               5      numbers that went with those codes and then a separate
        6      correct?                                                     6      list with names of the judges that were associated
        7              MR. NELSON: Objection, vague. Do you mean            7      with those grievance numbers.
        8      by this case, the case in front of the JTC or this           8   Q. Now, when you -- well, strike that.
        9      litigation in district court?                                9              Were the files you reviewed electronic or
       10   BY MR. HIRSCH:                                                 10      hard copy or a combination?
       11   Q. I mean this litigation in front of the federal              11   A. So they would have been PDFs on the computer and then
       12      district court?                                             12      they probably would have been printed out so I could
       13   A. Yes.                                                        13      see them, so probably both.
       14   Q. And you recall that there was a discovery request           14   Q. Were you the person that picked which files to print
       15      issued for certain JTC files, correct?                      15      out from the computer?
       16   A. Yes.                                                        16   A. I would say yes. As I recall, it was based on those
       17   Q. And there were some motions on that, correct, do you        17      codes, you know, the nature of grievance code, a 14 or
       18      recall that?                                                18      whatever. I don't remember which numbers you had
       19   A. Yeah, I don't remember the details, but it seems to me      19      asked for, but I think it was just sorting those and
       20      that you wanted to get all the files from a particular      20      then printing those out.
       21      period and you eventually agreed with counsel to limit      21   Q. And those codes, you said, are kept, at least now, in
       22      it to certain codes or something like that.                 22      a computer system, right, each file has a code
       23   Q. We reached some agreement --                                23      associated with it electronically?
       24   A. Yes.                                                        24   A. Yes, at least one, yes.
       25   Q. -- between counsel in this case, correct?                   25   Q. At least one code, okay. Now, you did not produce the




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        1      entire JTC files, correct?                                1      number 11, the last two digits of the Bates number?
        2   A. I don't recall what was produced.                         2   A. Your Exhibit 8 is the same letter that was in your
        3               MARKED FOR IDENTIFICATION:                       3      Exhibit 6, right?
        4               DEPOSITION EXHIBIT 7                             4   Q. I believe it's the same letter, then I have some
        5               11:56 a.m.                                       5      additional material.
        6   BY MR. HIRSCH:                                               6   A. Okay, yes. Now I'm listening, yes.
        7   Q. Sir, I've just handed you what we've marked as            7   Q. You see on the first page it references two requests
        8      Deposition Exhibit Number 7. You'll see at the bottom     8      for investigation?
        9      it has Bates numbers that begin with the prefix FTC       9   A. Yes.
       10      and it goes from 1 to 2. Do you see that?                10   Q. Okay. And you see that starting at Bates number 13,
       11   A. Yes.                                                     11      using the last two digits of the Bates number, you've
       12   Q. All right. You're familiar with what a Bates number      12      included -- or included was an RFI for number
       13      is, I assume?                                            13      03-14430. Do you see that?
       14   A. Yes, yes.                                                14   A. Yes.
       15   Q. I know you've done this.                                 15   Q. Do you know why we would not have been provided with
       16   A. Yes.                                                     16      the grievance for case number 02-14082?
       17   Q. Do you recall that this was a portion of one of the      17   A. I don't know.
       18      files you produced -- you selected for production?       18   Q. Okay. When matters are initiated not pursuant to a
       19   A. Do I recall, no.                                         19      request for investigation, all right, for example, we
       20   Q. Okay. Would you agree with me that this is not the       20      talked about the JTC itself might decide to open one?
       21      complete file for request for investigation number       21   A. Yes.
       22      02-14170?                                                22   Q. Do those still get these numbers?
       23   A. Yes, I would agree.                                      23   A. Yes, a case number, yes.
       24   Q. Okay. Do you know how it was that you selected this      24   Q. Okay. So it is possible, for example, that the
       25      particular portion of that file to be produced, and      25      02-14082 was started internally so there may not have


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        1      again, without going into any conversations you may       1      been an RFI?
        2      have had with counsel?                                    2   A. I mean, anything is possible, I just don't know.
        3   A. I don't recall.                                           3   Q. Okay. Since you were the one to compile these for
        4   Q. And what this portion of the file appears to include      4      production, to the extent there was an RFI you would
        5      is the request for investigation that starts on the       5      have intended to produce it, barring some oversight;
        6      Bates number that ends in 04 and then I guess the         6      is that fair?
        7      resolution letter that comes from the commission that     7   A. Yes.
        8      runs from Bates numbers starting at 01 to 03, correct?    8   Q. Okay.
        9   A. Yes.                                                      9                MARKED FOR IDENTIFICATION:
       10   Q. So it looks like we got essentially two documents from   10                DEPOSITION EXHIBIT 9
       11      this particular file, correct?                           11                12:02 p.m.
       12   A. Yes.                                                     12   BY MR. HIRSCH:
       13              MARKED FOR IDENTIFICATION:                       13   Q. Sir, our court reporter has just handed you what we've
       14              DEPOSITION EXHIBIT 8                             14      marked as Exhibit Number 9. Do you have that in front
       15              11:59 a.m.                                       15      of you?
       16   BY MR. HIRSCH:                                              16   A. Yes.
       17   Q. Sir, you've just been handed what we've marked as        17   Q. And you'll see that this appears to be an RFI with the
       18      Exhibit Number 8 to your deposition and it appears to    18      number 02-14345, I believe, it is a little hard to
       19      be portions of the file regarding request -- requests    19      read?
       20      for investigation 02-14082 and 03-14430. Do you have     20   A. Yes.
       21      those in front of you, sir?                              21   Q. Do you know why there would not have been some letter
       22   A. Yes.                                                     22      issued by the commission with respect to this RFI
       23   Q. Do you recall reviewing this particular file?            23      number that was produced?
       24   A. Sorry, I don't recall, no.                               24   A. I don't know.
       25   Q. And the first page of this, the one that ends in Bates   25   Q. Is there always some letter that goes out from the




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        1      commission with respect to each RFI number?                  1      right, is you can request a response from the judge,
        2   A. I hate saying always, but, yes.                              2      correct?
        3   Q. Well, let me -- I understand that always and never are       3   A. Yes, with respect to the judge's comments on
        4      tough ones, but you can't think of a circumstance            4      something, yes, that would be put in the file, yes.
        5      where there would be an RFI number assigned to some          5   Q. Okay. If the judge perhaps had counsel,
        6      file where there wouldn't be a letter from the               6      correspondence with that counsel would be kept in the
        7      commission that ended the file, correct?                     7      file; is that correct?
        8   A. Right.                                                       8   A. Yes.
        9   Q. It was your practice as executive director to at least       9   Q. And you said in certain instances there might be some
       10      notify the grievant that the grievance was resolved in      10      other memos prepared, correct?
       11      some way?                                                   11   A. Yes.
       12   A. And the judge, yes.                                         12   Q. And those would be kept in the corresponding file,
       13   Q. And the judge, okay. Now, are you aware that there          13      correct?
       14      were some files produced by the JTC after the time you      14   A. Yes.
       15      were no longer executive director?                          15   Q. Are there any other categories of documents you can
       16   A. No.                                                         16      think of that might be in the file?
       17   Q. Okay. And you would not have had anything to do with        17   A. The grievance reports, the memo -- which are the memos
       18      that production, correct?                                   18      from the staff and me to the commission, they would be
       19   A. I didn't know that anything had happened. I don't           19      in there.
       20      know that I hadn't prepared something beforehand, but       20   Q. The reports we talked about earlier in some detail,
       21      I don't -- I have no knowledge of anything.                 21      correct?
       22   Q. Okay. We've looked at two categories of documents           22   A. Yes. The ballots that the commissioners would -- when
       23      that would be in a JTC file, the RFI and the letter         23      they vote on something, they would be in there too.
       24      from the commission. You would agree with me there,         24      Any additional things that a grievant might send in to
       25      those two categories?                                       25      us, that would be in there. They frequently would



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        1   A. The last few exhibits, yes.                                  1       update things. Attorney notes.
        2   Q. And in general, would you agree with me that those           2   Q. Does -- well, strike that.
        3      would be included in the JTC file?                           3                  While you were at the JTC did the JTC keep
        4   A. Yes.                                                         4       any record as to the race of each judge that was being
        5   Q. Not everyone would have an RFI, right, we talked about       5       investigated?
        6      that, but --                                                 6   A. No.
        7   A. But it would have some sort of memo --                       7   Q. Did the JTC keep any record of the gender of each
        8   Q. -- examples --                                               8       judge it was investigating?
        9   A. An initiating document and a closing document.               9   A. The sex of the judge, no.
       10   Q. Okay. Are meeting minutes of the JTC generally kept         10   Q. Yes, male or female?
       11      in the file for a particular RFI?                           11   A. No.
       12   A. No, but there will be a little blurb, from the meeting      12   Q. And in fact you may recall during discovery in this
       13      that governs a particular case, will generally be           13       case we actually had a discussion in the courtroom and
       14      included in the file. So, for example, if the               14       you indicated that the JTC couldn't provide the race
       15      commission said, you know, in whatever case, you know,      15       or gender of the particular judges because it didn't
       16      so-and-so made a motion to authorize the staff to talk      16       keep that information, correct?
       17      to a witness or obtain whatever document, that little       17   A. That's correct.
       18      blurb would be included in the file just to kind of         18   Q. Are you aware that later in the case, after you left
       19      keep a chronologic record of what was happening.            19       your position with the JTC, the JTC indicated it was
       20   Q. If a response is requested from the judge subject to        20       able to provide information as to the race and gender
       21      the grievance, that would be kept in the file,              21       of certain judges?
       22      correct?                                                    22   A. No, I'm not aware of that.
       23   A. If the respondent judge submits a response to               23   Q. Okay. So you would not know how they were able to do
       24      something, is that what you're asking?                      24       that, correct?
       25   Q. Well, one thing you can do during an investigation,         25   A. No. I could say they couldn't do it by looking at the




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        1      records, it's not kept in the records.                     1      your time to review it, but this looks to me to at
        2   Q. Do you know how many judges there are in the State of      2      least be portions of the commission's file with
        3      Michigan?                                                  3      respect to RFI 08-17418. Do you agree with that?
        4   A. Judicial officers under the Tenure Commission              4   A. Yes.
        5      jurisdiction?                                              5   Q. And to my knowledge this was produced after you
        6   Q. Okay, fair enough. So that would include -- just so        6      were -- well, it was certainly produced after you were
        7      we're clear for the record, that would include             7      no longer with the JTC. I presume that you were not
        8      magistrates, I'm not sure if --                            8      responsible for this production, unless you recognize
        9   A. Referees.                                                  9      otherwise?
       10   Q. Referees, Friend of the Court, I think?                   10   A. I don't recognize it, no.
       11   A. Friend of the Court referees.                             11   Q. Okay. And in fact in looking through this, would it
       12   Q. Okay.                                                     12      be fair to say that this includes some documents
       13   A. 1,000, maybe a little bit more, maybe a little bit        13      that -- categories of documents that you chose not to
       14      less.                                                     14      produce when you were selecting other JTC files?
       15   Q. Do you have any idea what percentage of those judges      15   A. It certainly is a -- looks to me like it's a more
       16      are African-American?                                     16      fuller version of the -- of a file. I can't tell you
       17   A. No.                                                       17      why I only produced whatever I produced. And the
       18   Q. And if I limited my question only to general              18      other ones, I don't remember producing those, I
       19      jurisdiction judges your answer would be the same,        19      couldn't tell you that I produced the ones that you've
       20      correct?                                                  20      given me as 8 and 9, I just don't recall.
       21   A. You mean circuit court and district court judges?         21   Q. Okay. But is it fair to say that -- well, strike
       22   Q. I think district court would actually fall in the         22      that.
       23      category of limited jurisdiction because they're          23              Do you recall at the time you were
       24      25,000 or less?                                           24      selecting documents for production, you were selecting
       25   A. Circuit court judges?                                     25      a narrower set of documents from the JTC file, I mean,



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        1   Q. Circuit court judges.                                      1       do you recall that?
        2   A. No idea.                                                   2   A. I really don't recall.
        3   Q. Okay. And I think -- I take it you would not know          3   Q. Okay.
        4       what percentage are female?                               4   A. I'm pretty sure I wasn't copying the entire file, but
        5   A. Right, no idea.                                            5      I don't remember what it was that I was copying or
        6   Q. Of either category?                                        6      providing.
        7   A. Right, no idea.                                            7   Q. Okay. If you could look at page 18, please?
        8   Q. And you never asked the JTC to compile statistics on       8   A. Okay.
        9       that, correct?                                            9   Q. And I'm not necessarily concerned about this
       10   A. Never.                                                    10       particular document substantively, but you see it's
       11                 MARKED FOR IDENTIFICATION:                     11       labeled first grievance report, correct?
       12                 DEPOSITION EXHIBIT 10                          12   A. Yes.
       13                 12:11 p.m.                                     13   Q. And just to be clear, would this be an example of the
       14   BY MR. HIRSCH:                                               14       document we talked about earlier that is prepared by
       15   Q. Sir, I'm going to hand you what we've marked as           15       the staff attorney after your initial review?
       16       Exhibit Number 10 to your deposition. And what I want    16   A. Yes.
       17       to represent to you and counsel is there are numbers     17               MR. NELSON: I'm going to place on the
       18       in the lower right-hand corner, just page numbers,       18       record an objection to the use of this document. It
       19       consecutively, which I have put on those. Those were     19       appears that it may have been produced despite the
       20       not on the original document and I've only done that     20       fact that it appears to be attorney work product and
       21       because I may reference you to a particular page. So     21       specifically my client's work product.
       22       if you keep that in mind when you're looking at these    22               MR. HIRSCH: I mean, you're not disputing
       23       documents, those numbers were not part of the original   23       that it was produced by the JTC in this case, correct?
       24       and these were not Bates numbered.                       24               MR. NELSON: I'm not objecting -- I'm not
       25                 Now -- and again, you can certainly take       25       disagreeing that it was produced.




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        1              MR. HIRSCH: Okay. I just --                       1   Q. So I think --
        2              MR. NELSON: It may have been produced and         2   A. Before you ask a question, may I consult with my
        3      subject to the Rules of -- excuse me, subject to          3      attorney on something?
        4      Federal Rule of Civil Procedure 26, I'm informing you     4   Q. Yeah.
        5      that it appears that it may have been -- it certainly     5               (Recess taken at 12:18 p.m.)
        6      was produced without my client's knowledge and            6               (Back on the record at 1:07 p.m.)
        7      permission and to the extent that it's his attorney       7   BY MR. HIRSCH:
        8      work product he has not consented to production.          8   Q. Good afternoon, sir. Before we broke we had some
        9              So then there's a Clawback Rule there in          9      objections, but I am going to ask my question again
       10      Rule 26 and we will need to review this to make a        10      and obviously your counsel or any counsel here I guess
       11      determination as to whether we would be seeking to       11      will make whatever objection they deem appropriate,
       12      claw it back.                                            12      but I don't know that we got the question out
       13              MR. HIRSCH: All right. So you'll                 13      completely and got the objection on the record.
       14      certainly do that, I trust.                              14               So I guess my first question was do you
       15   BY MR. HIRSCH:                                              15      recall Judge James Kandrevas?
       16   Q. Okay. Sir, I want to move on now to a slightly           16   A. Do I recall that name?
       17      different area. I mean, your counsel has a copy of       17   Q. Yeah, does the name ring a bell?
       18      that too so, I mean, you'll certainly get a chance to    18   A. I've heard of him.
       19      look at it later, if you wish.                           19   Q. Okay. Do you recall whether the JTC investigated
       20              I want to talk about some specific judges        20      Judge Kandrevas?
       21      that the JTC investigated during your tenure, okay?      21               MS. MILLER: I'll place an objection to
       22   A. That's what you want to talk about, that's okay.         22      that as it exceeds the scope of the agreement of the
       23   Q. Okay. Do you recall Judge James Kandrevas?               23      parties in terms of what information from the JTC
       24              MS. MILLER: I'm going to place an                24      would be disclosed.
       25      objection insofar as there was no formal complaint       25               MR. HIRSCH: So are you -- just to be


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        1      issued to him. Our agreement was no names would be        1       clear, are you directing him not to answer?
        2      used with the exception of those where formal             2                MS. MILLER: I'm directing him not to
        3      complaints were issued. So insofar as he was not the      3       answer.
        4      subject of a formal complaint, I think that is in         4                MR. HIRSCH: Okay. And just to be clear --
        5      contrary to the agreement that we reached.                5       and I'll skip some questions, I mean, without waiving
        6              MR. HIRSCH: Well, I'm going to disagree on        6       my right to challenge the objection, but I understand
        7      a portion, which is that I think our agreement was        7       it. Then probably this line you would object to so
        8      that the JTC certainly didn't have to produce that        8       you will permit me to challenge it and I will just
        9      information, but not that we could not have obtained      9       give you the objection and not continue on for -- I
       10      that information from any other source.                  10       may ask some others that I don't think are
       11              MS. MILLER: Well, but the -- for                 11       objectionable, but --
       12      Mr. Fischer to answer that question he would have to     12                MS. MILLER: That's -- I would not -- if
       13      be releasing information -- producing information that   13       the determination is later made that this line of
       14      would be in the JTC's possession. And to even confirm    14       questioning is appropriate and that he should answer,
       15      that there was an investigation, if there was no         15       I would not later say well, you didn't ask that
       16      formal complaint, would I think violate the agreement    16       question and allow me to specifically object before.
       17      that we had reached.                                     17                MR. HIRSCH: Right. In other words, I have
       18              MR. HIRSCH: Well, let's go question by           18       some questions underneath, but I will not ask those
       19      question and then you'll --                              19       with that understanding.
       20              MS. MILLER: Okay.                                20                MS. JAMES: How many lawyers does he have
       21              MR. HIRSCH: -- object.                           21       here?
       22              I think some of them you'll raise an             22                MR. HIRSCH: Well, no, she's objecting on
       23      objection, some of them I may take issue with that       23       behalf of the JTC, I presume.
       24      particular objection.                                    24                MS. MILLER: Correct.
       25   BY MR. HIRSCH:                                              25                MR. NELSON: And for the record, Ms. James,




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        1       you're not permitted to speak on the record during the    1              MS. MILLER: I'm going to make the same
        2       deposition.                                               2      objection as I had made before on the basis of
        3                  MS. JAMES: You don't direct me.                3      personal knowledge versus knowledge through the JTC
        4                  MR. HIRSCH: Okay. Let's -- let's not get       4      and insofar as it requires information gained through
        5       into it.                                                  5      his employment with the JTC I would instruct him not
        6                  All right. I am going to ask a couple more     6      to answer.
        7       questions on this that you may or may not choose to       7   BY MR. HIRSCH:
        8       object to.                                                8   Q. Subject to that objection are you able to answer that
        9   BY MR. HIRSCH:                                                9      question?
       10   Q. Do you recall that in a civil deposition Judge            10   A. I have no personal knowledge, although I may have seen
       11       Kandrevas asserted his Fifth Amendment right over 200    11      something in the newspaper about it.
       12       times?                                                   12   Q. By the way, with respect to Judge Kandrevas, do you
       13                  MS. MILLER: Insofar as his answer would       13      know whether he is Caucasian?
       14       require him to call upon knowledge he gained through     14   A. I do not know.
       15       his employment with the JTC, I would object and          15   Q. Okay. And do you know whether Judge Konschuh is
       16       instruct him not to answer on the previous basis. If     16      Caucasian?
       17       he has personal knowledge of that apart from what he     17   A. I do not know.
       18       would have learned through the JTC, he -- I think he     18   Q. Do you recall a judge named David Stow?
       19       could answer. For instance, if there was -- he gained    19              MR. NELSON: You can answer.
       20       information through a public news story or something     20              MS. MILLER: Insofar as you know there's a
       21       like that.                                               21      judge named David Stow.
       22                  MR. NELSON: Would you mind repeating the      22   A. Any knowledge I would have about somebody with that
       23       question, Jason?                                         23      name would only have come from my work at the Tenure
       24   BY MR. HIRSCH:                                               24      Commission so I can neither confirm or deny that I
       25   Q. Yeah, so the question -- actually, why don't we have      25      recognize that name.



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        1      the court reporter read it back and I won't change it?     1   BY MR. HIRSCH:
        2      Why don't we stick to that exact question then?            2   Q. Do you recall a judge named Mary Waterstone?
        3              (The following requested portion of the            3                MS. MILLER: Same objection.
        4              record was read by the reporter at                 4   A. I've heard that name.
        5              1:10 p.m.:                                         5   BY MR. HIRSCH:
        6              Q. Do you recall that in a civil                   6   Q. Did you hear that from some press coverage about
        7              deposition Judge Kandrevas asserted his            7       Ms. Waterstone?
        8              Fifth Amendment right over 200 times?)             8   A. I believe there was something in the -- it was
        9   A. I have no personal knowledge of that.                      9       actually a local judge and there was something in the
       10   BY MR. HIRSCH:                                               10       paper.
       11   Q. If you gained knowledge that a judge had asserted his     11   Q. Does it refresh your recollection if I tell you that
       12      Fifth Amendment right 200 times in a civil case, would    12       she was a former Wayne County Circuit Court judge?
       13      that have raised concern for you as executive director    13   A. I believe that's correct. I think she died too.
       14      of the JTC?                                               14   Q. I believe she did pass away.
       15   A. I can't speculate.                                        15                MARKED FOR IDENTIFICATION:
       16   Q. So it would depend on the particular facts and            16                DEPOSITION EXHIBIT 11
       17      circumstances?                                            17                1:13 p.m.
       18   A. I can't speculate what I might do or might have done      18   BY MR. HIRSCH:
       19      based on what might have happened or might not have       19   Q. Sir, you've just been handed what we've marked as
       20      happened.                                                 20       Exhibit 8 to your deposition -- 11, I'm sorry, I
       21   Q. Do you recall a judge named Byron Konschuh,               21       apologize, what we've marked as Exhibit 11 to your
       22      K-O-N-S-C-H-U-H?                                          22       deposition and it's actually a couple of newspaper
       23   A. I'm aware of that name, yes.                              23       articles. The first one talks about Judge Waterstone,
       24   Q. Were you aware that there were felony charges filed       24       and that's on pages 1 and 2. And there's another
       25      against Judge Konschuh in the summer of 2014?             25       article that starts on the third page, it looks like




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        1      it's titled Troubling Trend When Michigan Judges Need      1      JTC, which based upon the judge's name we had agreed
        2      Disciplining.                                              2      we will not be providing that information regarding
        3                 Do you have that sort of package in front       3      specific judges.
        4      of you?                                                    4              MR. HIRSCH: I'm not sure my question
        5   A. Yes.                                                       5      actually though presupposes anything, just whether the
        6   Q. Okay. And if you sort of look at the first two pages,      6      press made a call to the JTC asking about Waterstone.
        7      it looks to be an AP article on Judge Waterstone.          7      So are you still going to direct him not to answer?
        8      Does that refresh your recollection on the nature of       8              MS. MILLER: If you're asking whether the
        9      the allegations made against Judge Waterstone?             9      press made a call regarding Waterstone, I think that's
       10   A. Yes. When you say allegations, I'm assuming you're        10      okay.
       11      referring to the criminal allegations?                    11   BY MR. HIRSCH:
       12   Q. Yes, the allegations that they're talking about in        12   Q. Yes, did -- do you recall whether the press ever made
       13      here, which is talking about criminal charges,            13      any inquiry to you about Judge Waterstone?
       14      right --                                                  14   A. I do not specifically recall, no. If the press would
       15   A. Yes.                                                      15      call, the media would call, and they frequently did,
       16   Q. -- that's the first paragraph?                            16      about judges that were not subject to formal
       17   A. Yes.                                                      17      complaint, the standard answer that I would give is I
       18   Q. I'd like to direct your attention now, if you could       18      can neither confirm nor deny the existence or
       19      look at the second page, the last paragraph of the        19      nonexistence of a file against any particular judge.
       20      article, the second sentence there. It says the State     20   Q. But you certainly can't recall ever saying that a
       21      Judicial Tenure Commission, which serves as a watchdog    21      judge was scolded, correct?
       22      of judges, did not file a formal complaint but scolded    22   A. I definitely never said that.
       23      Waterstone. Do you see that sentence?                     23   Q. Okay. And in fact you wouldn't even know what that
       24   A. Yes, I do.                                                24      means, right?
       25   Q. Okay. Is it accurate that the Judicial Tenure             25   A. I know what scolded means, but --



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        1       Commission did not file a formal complaint against        1   Q. Well, but that's -- you're right, you know what
        2       Waterstone?                                               2      scolded means, I didn't mean to suggest otherwise, but
        3                  MS. MILLER: I'm going to place an              3      that is not any of the forms of discipline or even
        4       objection along the lines of the previous objection,      4      categories of things that do not fall into
        5       as there was no formal complaint. The parties agreed      5      discipline -- that's not a term that the JTC uses,
        6       that the JTC would not produce information related to     6      correct?
        7       any specific judge based upon names only.                 7   A. Correct.
        8   BY MR. HIRSCH:                                                8   Q. You would agree with me that conspiring to suborn
        9   Q. You have no reason to think this article is wrong,         9      perjury is a serious charge, correct?
       10       correct?                                                 10   A. Yes.
       11   A. I don't know. I can tell you there was no formal          11   Q. And would you agree with me that if a charge of that
       12       complaint against her.                                   12      nature had come to your attention anyway, that would
       13   Q. Now, the article also then says but scolded               13      be something the JTC would investigate?
       14       Waterstone. Do you see that?                             14   A. Again, I cannot speculate.
       15   A. I see that.                                               15   Q. Do you recall a judge named Mark Somers?
       16   Q. Do you know what that means?                              16   A. I've heard the name.
       17   A. I do not.                                                 17   Q. Do you recall that there was a substantial civil jury
       18   Q. Okay. Do you recall giving any comment to the press       18      award rendered against Judge Somers?
       19       with respect to Judge Waterstone?                        19   A. Something like that, yes.
       20   A. I -- I do not recall, no.                                 20   Q. Do you know whether Judge Somers is Caucasian?
       21   Q. Do you recall the press making any inquiries to you       21   A. I believe he is, but I don't know. I don't know that
       22       about Judge Waterstone?                                  22      I've ever seen him, although I may have.
       23                  MS. MILLER: I'm going to, again, place an     23   Q. Do you recall that the nature of the civil suit
       24       objection because that would presuppose that there was   24      against Judge Somers involved the former employee who
       25       a matter involving Judge Waterstone in front of the      25      claimed to have been improperly terminated?




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        1   A. Something, I don't -- I couldn't state details like         1      Tenure Commission. Do you have that in front of you?
        2      that, something involving an employment matter.             2   A. Yes.
        3   Q. Do you recall a judge named Marc Barron?                    3   Q. Do you recognize this document?
        4   A. Yes, I know who that is.                                    4   A. Yes.
        5   Q. Do you know a judge named Kimberly Small?                   5   Q. And this would be the complaint you filed in the Wayne
        6   A. Yes, I know who she is.                                     6      County Circuit Court, correct?
        7   Q. And you're familiar with the 48th District Court,           7   A. Yes.
        8      correct?                                                    8   Q. And specifically in this complaint you allege that you
        9   A. Yes, used to practice there.                                9      were terminated in violation of the Michigan
       10   Q. Were you aware of a civil case filed by a former clerk     10      Whistleblower's Protection Act, correct?
       11      of the 48th District Court who alleged improper            11   A. Yes.
       12      termination and defamation?                                12   Q. And in this complaint you allege some concerns that
       13   A. I'm aware that there was a case like that, yes.            13      you had about the behavior of certain commissioners,
       14   Q. Were you aware that there was a jury award of damages      14      correct?
       15      of around $3 million in that case?                         15   A. Yes.
       16   A. I know that -- I know there was some type of an award,     16   Q. Okay. And this complaint is related to events that
       17      I don't know any details of that.                          17      occurred in connection with the grievance filed
       18   Q. Do you know whether Judge Barron is Caucasian?             18      against Judge Gorcyca from Oakland County; is that
       19   A. Yes, he is.                                                19      correct?
       20   Q. Do you know whether Judge Small is Caucasian?              20   A. Yes.
       21   A. Yes, she is. At least I would consider them to be, I       21   Q. And in paragraph 22 of this complaint you allege on
       22      couldn't tell you what they consider themselves.           22      August 26th, 2016 JTC commissioner one advised Fischer
       23   Q. You have filed two lawsuits against the Judicial           23      that --
       24      Tenure Commission, correct?                                24   A. I'm sorry, what paragraph?
       25   A. Say that again?                                            25   Q. I'm reading from paragraph 22.


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        1    Q. You as a plaintiff --                                      1   A. Okay.
        2    A. Yes, I --                                                  2   Q. I'll start again. On August 26th, 2015 JTC
        3    Q. -- filed two lawsuits against the Judicial Tenure          3      commissioner one advised Fischer that, quote, I have a
        4        Commission?                                               4      real reservation about bringing a formal complaint,
        5    A. Yes.                                                       5      but don't see any harm to at least sending out a
        6    Q. One is in the Wayne County Circuit Court, correct?         6      28-day letter to see what her side of this whole story
        7    A. Yes, yes.                                                  7      is, therefore I approve. Correct?
        8    Q. And one is in the federal court for the Eastern            8   A. That's what it says.
        9        District of Michigan, correct?                            9   Q. Okay. In paragraph 24 of your complaint you allege,
       10    A. Yes.                                                      10      among other things, commissioner two emphatically
       11    Q. You were terminated from your position as executive       11      advised Fischer on at least two occasions that a
       12        director of the JTC, correct?                            12      public censure was the most severe sanction that Judge
       13    A. Yes.                                                      13      Gorcyca should face and that commissioner two had even
       14    Q. That was in September of 2016; is that correct?           14      expressed that opinion to Judge Gorcyca in one of
       15    A. Yes.                                                      15      their many discussions of the matter. Did I read that
       16    Q. And in your lawsuit you contend you were terminated       16      correctly, sir?
       17        without a valid reason; is that correct?                 17   A. Yes.
       18    A. The complaint speaks for itself.                          18   Q. It would not be proper for a commissioner to discuss
       19                 MARKED FOR IDENTIFICATION:                      19      with you whether a judge had committed misconduct,
       20                 DEPOSITION EXHIBIT 12                           20      correct?
       21                 1:21 p.m.                                       21                MR. NELSON: Can you read that question
       22    BY MR. HIRSCH:                                               22      back again, I'm sorry?
       23    Q. Sir, I've just handed you what we've marked as            23                (The following requested portion of the
       24        Exhibit 12. It's the complaint in a case captioned       24                record was read by the reporter at
       25        Paul J. Fischer vs. State of Michigan and the Judicial   25                1:25 p.m.:




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        1              Q. It would not be proper for a                    1      the same objection as to the identity of commissioner
        2              commissioner to discuss with you whether a         2      two?
        3              judge had committed misconduct, correct?)          3              MS. MILLER: Correct.
        4   A. No, that would not be improper.                            4   BY MR. HIRSCH:
        5   BY MR. HIRSCH:                                                5   Q. You mentioned that you were deposed and you thought
        6   Q. Well, let's look at what you allege in paragraph 22.       6      maybe it was in connection with both of your cases and
        7      Are you alleging that there is something improper with     7      maybe agreed to do them together, I think you said,
        8      respect to what you quote commissioner one as having       8      relatively recently, correct?
        9      advised you in paragraph 22?                               9   A. Yes.
       10   A. I'm confused. Are you asking me questions about my        10   Q. Is there a protective order in those cases?
       11      lawsuit or are you asking questions about Ms. James'      11   A. I believe so.
       12      lawsuit?                                                  12   Q. During your deposition in those cases did you identify
       13   Q. Well, right now I'm asking you questions about            13      commissioner one?
       14      paragraph 22 in a complaint that you made.                14   A. I think so.
       15   A. I don't understand your question then.                    15   Q. Did you identify commissioner two?
       16   Q. Are you alleging that there is anything improper about    16   A. I'm pretty sure I identified all three, yes.
       17      what commissioner one -- what you allege commissioner     17   Q. In paragraph 33 of this complaint you allege at the
       18      one advised you in paragraph 22 of the complaint?         18      holiday celebration a commissioner made a speech
       19   A. That's what the complaint says.                           19      recognizing JTC as the watchdog and protecting the
       20   Q. Are you alleging that there is anything proper (sic)      20      public from judicial misconduct.
       21      about what you allege -- in what you allege in            21              Focusing just on that sentence, which
       22      paragraph 24 that commissioner two advised you?           22      commissioner made that speech?
       23   A. Is there anything improper?                               23   A. That was outgoing Commissioner Michael Hathaway.
       24   Q. Yes.                                                      24   Q. And then the remainder of paragraph 33 you allege
       25   A. You said proper.                                          25      commissioner four was overheard by JTC staff to say,



                                                            Page 158                                                           Page 160
        1   Q. Improper.                                                  1       quote, something they --
        2   A. That's what it says.                                       2   A. Sometimes.
        3   Q. Okay. Outside of a hearing before the commission,          3   Q. I apologize. Sometimes they, bracket, the JTC, close
        4       would it be proper for a commissioner to discuss with     4       bracket, gets it wrong. Correct, that's the
        5       you the level of discipline a judge should receive?       5       allegation?
        6   A. It would depend on a number of factors.                    6   A. Yes.
        7   Q. Who is commissioner one in this complaint?                 7                MR. HIRSCH: Okay. I presume the same
        8               MS. MILLER: I'm going to place an                 8       objection as to the identity of commissioner four or
        9       objection, it would go into the deliberative process      9       maybe I shouldn't presume anything?
       10       of the members of the JTC. The commissioner has not      10                MS. MILLER: If the -- I am not familiar
       11       been identified. I'm going to instruct him not to        11       with this lawsuit.
       12       disclose the name of the commissioner.                   12                I will instruct Mr. Fischer not to answer
       13               MR. HIRSCH: Well, I'm puzzled. It seems          13       that if that statement was made in connection with a
       14       to me that the deliberative process would go to the      14       particular deliberation, but if it was a statement in
       15       substance of some conversation, which it appears to me   15       passing at a holiday celebration, like that's how it
       16       Mr. Fischer has already identified in a complaint, not   16       looks to me, I don't believe that would be subject to
       17       the identity of a particular speaker. Are you still      17       privilege of any kind.
       18       going to direct him not to answer?                       18   A. It was said at the holiday celebration.
       19               MS. MILLER: I'm still going to instruct          19   BY MR. HIRSCH:
       20       him not to answer.                                       20   Q. Okay. So can you identify then commissioner four for
       21   BY MR. HIRSCH:                                               21       me?
       22   Q. Is there a reason you chose not to identify               22   A. That was David Fischer.
       23       commissioner one in your complaint?                      23   Q. Okay. No relation, by the way, correct?
       24   A. You'd have to ask my attorney.                            24   A. No. Same spelling, no relation.
       25               MR. HIRSCH: I presume that you will make         25   Q. Okay. And you allege here it was overheard by JTC




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        1      staff. Do you see that?                                   1   A. Right.
        2   A. Yes.                                                      2   Q. You allege in your complaint at paragraph 56 that you
        3   Q. And can you identify for me the staff that overheard      3      filed with the commission a detailed analysis of Judge
        4      that?                                                     4      Gorcyca's conduct that rejected the construct favored
        5   A. Margaret Rynier certainly was one and I believe also      5      by many of the commissioners, correct?
        6      Celest, C-E-L-E-S-T, Robinson, who was one of the         6   A. Yes.
        7      administrative assistants.                                7   Q. Fair to say that in your conduct you were seeking to
        8   Q. And did Ms. Rynier convey that to you, tell you what      8      treat Judge Gorcyca the same as you would treat any
        9      she heard?                                                9      other judge, correct?
       10   A. She probably -- I mean, I heard that and I probably      10   A. Yes.
       11      heard it from her.                                       11   Q. What was the construct favored by many of the
       12   Q. You didn't hear it directly though, this statement by    12      commissioners?
       13      commissioner four?                                       13               MS. MILLER: I'm going to place an
       14   A. I did not hear that directly, no.                        14      objection and instruct him not to answer, that it
       15   Q. Okay. And you also allege in this complaint that, and    15      would be, I believe, part by deliberative process
       16      I can refer you, if you'd like, to paragraph 46, but     16      and/or potentially attorney/client communications.
       17      I'm paraphrasing, that you had expressed some concerns   17   BY MR. HIRSCH:
       18      that the JTC was somehow treating the Gorcyca matter     18   Q. Did you normally provide the type of detailed analysis
       19      differently than it treated other cases; is that         19      that you provided in Judge Gorcyca's case in other
       20      correct?                                                 20      cases?
       21   A. That's what it says, yes.                                21   A. This is referring to the brief that we would have
       22   Q. Do you know why that was the case?                       22      submitted as examiner and associate examiner in
       23                MS. MILLER: I'm not sure I understand your     23      support of the master's decision and with the
       24      question.                                                24      disciplinary analysis with the recommendation for
       25                MR. HIRSCH: Well, let me ask a different       25      discipline. That's a public document.


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        1      question.                                                 1   Q. I'm sorry, so your detailed analysis that you submit
        2   BY MR. HIRSCH:                                               2      to the JTC is public?
        3   Q. What was the basis for your assertion that the Gorcyca    3   A. Yes, it's a brief. It's a brief in support of the
        4      case was being treated differently than the JTC           4      master's decision and argument -- or disciplinary
        5      treated other cases?                                      5      analysis with recommendation for discipline.
        6                MR. NELSON: I'm going to object to the          6   Q. Okay. That's -- I understand what that's referring to
        7      extent that you're calling for his mental impressions     7      now. Would you agree with me that the construct
        8      that formed anticipation of litigation in the Gorcyca     8      favored by many of the commissioners is that Judge
        9      matter.                                                   9      Gorcyca was a good judge who had a bad day?
       10   BY MR. HIRSCH:                                              10               MS. MILLER: I'll place the same objection
       11   Q. You would agree with me that one goal of the JTC is to   11      as before, I believe that would -- he would have that
       12      treat equivalent cases similarly, correct?               12      information, I believe, in attorney/client
       13   A. Yes.                                                     13      relationship and/or it would be the deliberative
       14   Q. And so was that one reason that you expressed concern    14      process -- processes of the JTC.
       15      in the Gorcyca case, because you thought it was being    15   BY MR. HIRSCH:
       16      treated somehow differently than other cases?            16   Q. The master on that case was former Judge Dan Ryan,
       17                MR. NELSON: Same objection.                    17      correct?
       18   BY MR. HIRSCH:                                              18   A. Yes.
       19   Q. Judge Gorcyca is Caucasian, correct?                     19   Q. In Judge Gorcyca's matter, right?
       20   A. Yes. At least that's how I see her, I don't know how     20   A. Yes.
       21      she defines herself.                                     21   Q. And Judge Ryan's determination was that Judge Gorcyca
       22   Q. I understand, I mean, and I understand that with         22      had engaged in judicial misconduct, correct?
       23      respect to all of these, that's your view from having    23   A. Yes.
       24      perhaps seen these people. You certainly didn't go       24   Q. And you agreed with Judge Ryan's conclusion, right?
       25      into their ancestry, I assume.                           25   A. Yes.




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        1    Q. Now, you did then submit the report -- well, strike       1   Q. Maybe not much of an opportunity, maybe that's an
        2        that.                                                    2        ill-chosen word, huh?
        3                What's called in your complaint a detailed       3   A. Everything that happens in life is an opportunity.
        4        analysis, but what you submitted was your position       4                 MARKED FOR IDENTIFICATION:
        5        that Dan Ryan's recommendation should be affirmed by     5                 DEPOSITION EXHIBIT 13
        6        the commission, right?                                   6                 1:40 p.m.
        7    A. Yes.                                                      7   BY MR. HIRSCH:
        8    Q. That's what was public, right?                            8   Q. Sir, I've just handed you what we've marked as Exhibit
        9    A. Yes.                                                      9        Number 13 to your deposition, which is titled
       10    Q. You actually did not argue that case in front of the     10        affidavit of Honorable David H. Sawyer and the caption
       11        commission, correct?                                    11        on it is from your Wayne County Circuit Court case.
       12    A. That's right.                                            12        Do you have that in front of you, sir?
       13    Q. Because you were terminated before it ended up being     13   A. Yes.
       14        argued, right?                                          14   Q. Have you seen this affidavit before?
       15    A. Yes.                                                     15   A. Yes.
       16    Q. And actually it had been scheduled to be argued on       16   Q. And in paragraph 11 of this affidavit Mr. Sawyer says
       17        September 12th, 2016, correct?                          17        that you were terminated based on work performance.
       18    A. Yes.                                                     18        Do you see that?
       19    Q. But it got moved to October 10th, 2016, correct?         19   A. Yes.
       20    A. Yes.                                                     20   Q. And he says including issues identified by the
       21    Q. And September 12th, 2016 was the date you were           21        Michigan Supreme Court in four cases that he
       22        actually terminated, correct?                           22        identifies. Do you see those?
       23    A. Yes.                                                     23   A. Yes.
       24    Q. Do you have any idea why the oral argument on Judge      24   Q. The first case he mentions is a case called In Re
       25        Gorcyca's hearing was moved?                            25        Servaas, 484 Mich 634 (2009). Do you see that?


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        1   A. One of her attorneys was scheduled to be out of town       1   A. Yes.
        2      or some such thing after the scheduling order had been     2   Q. Do you recall that case?
        3      entered and so they asked to have it adjourned a           3   A. Yes.
        4      month.                                                     4   Q. And were you criticized by the Michigan Supreme Court
        5   Q. Did the JTC give you a reason that you were terminated     5      in that case?
        6      from your position as executive director?                  6   A. In the court's opinion cited here, yes, there was some
        7   A. Yes, they gave me two.                                     7      criticism. I'm not sure if it was just me or me and
        8   Q. What were the two reasons?                                 8      the commission and this is the case that led to the
        9   A. They didn't like the direction some of the -- the          9      grievance against me that ended up being dismissed by
       10      twists some of the investigations had taken and they      10      the Attorney Grievance Commission, affirmed by the
       11      wanted to go in a different direction.                    11      Supreme Court, finding I had done nothing grievable.
       12   Q. You --                                                    12   Q. Are you familiar with the Supreme Court's opinion In
       13   A. When -- I should say that was conveyed to me by Tom       13      Re Servaas?
       14      Ryan, I assume he was speaking on behalf of the           14   A. I haven't read it in a while, but I've certainly seen
       15      commission.                                               15      it.
       16   Q. You were --                                               16   Q. With respect to the portions of that opinion about --
       17   A. Commissioner Tom Ryan, sorry.                             17      of your conduct, was that accurate or inaccurate?
       18   Q. Right, not -- I got it. You were offered the              18   A. I can't say without reading it, I haven't seen it in a
       19      opportunity to resign, correct?                           19      while.
       20   A. Yes.                                                      20               MARKED FOR IDENTIFICATION:
       21   Q. You declined to do so, correct?                           21               DEPOSITION EXHIBIT 14
       22   A. Correct. I should say I was offered the opportunity       22               1:44 p.m.
       23      to resign later, I mean, they came in and fired me and    23   BY MR. HIRSCH:
       24      later in the week they gave me the opportunity to         24   Q. Sir, I've handed you what we've marked as Exhibit
       25      resign.                                                   25      Number 14, which is the Michigan Supreme Court's




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        1      opinion in In Re Servaas. Do you have that in front        1   A. I don't know that I knew he was armed, but, yes, I was
        2      of you, sir?                                               2      with a Michigan State Police lieutenant.
        3   A. Yes.                                                       3   Q. Okay. Had you requested the Michigan State Police to
        4   Q. And I would direct your attention to page 6 of this        4      accompany you?
        5      document. It has two columns. In the left-hand             5                MR. NELSON: You a may answer.
        6      column there's a section that begins with the letter B     6   A. The commission did.
        7      and it's titled conduct of the executive director of       7   BY MR. HIRSCH:
        8      the JTC. Do you see that?                                  8   Q. Had you ever gone to any judge's chamber with a
        9   A. Yes.                                                       9      Michigan State Police Officer other than this time?
       10   Q. And that would be you during this period of time,         10   A. No.
       11      correct?                                                  11   Q. Was there a reason you needed a Michigan State Police
       12   A. Yes, yes.                                                 12      Officer this time?
       13   Q. Okay. Is it accurate that you showed up at Judge          13                MS. MILLER: Insofar that that would
       14      Servaas' chambers unannounced with a resignation          14      require him to disclose confidential communications
       15      letter in hand?                                           15      between himself and the JTC, I'll instruct him not to
       16   A. Yes, at the commission's direction, yes.                  16      answer.
       17   Q. When you say at the commission's direction, was that      17                MR. NELSON: Could you read the question
       18      an approach that you recommended to the commission and    18      back?
       19      they affirmed that you should take that action or was     19                (The following requested portion of the
       20      that just something the commission instructed you to      20                record was read by the reporter at
       21      do?                                                       21                1:48 p.m.:
       22   A. That was something --                                     22                Q. Was there a reason you needed a
       23               MS. MILLER: I'm going to place an                23                Michigan State Police Officer this time?)
       24      objection as to I think that would be -- his              24   A. The judge was known to have a large number of weapons,
       25      recommendations to the commission would be protected      25      firearms and kept at least one or two at the



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        1      by the attorney/client privilege at that stage of the      1        courthouse.
        2      investigation.                                             2    BY MR. HIRSCH:
        3   BY MR. HIRSCH:                                                3    Q. So it was a safety issue, correct?
        4   Q. Had you ever done that before to any other judge?          4    A. Yes.
        5   A. I have approached judges personally with the               5    Q. It was not meant as an intimidation tactic, correct?
        6      suggestion, slash, recommendation that they retire or      6    A. Correct.
        7      resign, yes.                                               7    Q. There were, I presume, other officers at the court,
        8   Q. Well, in this particular case the Supreme Court said       8        correct?
        9      you actually had a letter prepared. That's true?           9    A. I don't know.
       10   A. That is true, yes.                                        10    Q. Is it accurate that you offered Judge Servaas the
       11   Q. Had you ever done it before where you actually had a      11        opportunity to resolve the matter quickly without any
       12      letter prepared when you showed up in the judge's         12        shame, proceedings or accusations of perjury if he
       13      chamber?                                                  13        were to resign?
       14   A. No.                                                       14    A. That sounds accurate, yes.
       15   Q. And it says in the Supreme Court opinion that the         15    Q. If you were -- well, strike that.
       16      letter was actually on Judge Servaas' court               16                   I think you testified earlier that you had
       17      letterhead. Is that accurate?                             17        sometimes personally approached a judge to give them
       18   A. Yes.                                                      18        the option to resign, correct?
       19   Q. Where did you get the letterhead for Judge Servaas'       19    A. Yes.
       20      court?                                                    20    Q. If you were concerned about safety in Judge Servaas'
       21   A. I don't recall, some staff member gave it to me. I        21        courtroom, was there a reason you didn't just mail him
       22      don't know.                                               22        something?
       23   Q. It also says that when you showed up there you showed     23                   MR. NELSON: Objection, lack of foundation.
       24      up with an armed Michigan State Police lieutenant. Is     24    BY MR. HIRSCH:
       25      that accurate?                                            25    Q. Well, let's put it this way, your concerns about




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        1      safety did not outweigh your desire to go there           1   Q. You served as examiner on that case, correct?
        2      personally, correct?                                      2   A. Yes. Again, I was the examiner, yes. I second
        3                MR. NELSON: Objection, lack of foundation.      3      chaired.
        4      I don't believe he testified that he had concerns         4   Q. Do you recall in that case that the commission had
        5      about safety.                                             5      recommended a 180-day suspension?
        6   BY MR. HIRSCH:                                               6   A. Yes.
        7   Q. Did you have concerns about safety because Judge          7   Q. Do you recall that you disagreed with that
        8      Servaas kept a lot of weapons in his chambers?            8      recommendation?
        9   A. No. You asked me, did I personally?                       9   A. Yes.
       10   Q. You personally, correct.                                 10   Q. I presume that you had argued for a more severe
       11   A. Yes, I personally did not.                               11      penalty when you had oral argument in front of the
       12   Q. And I presume that you will not tell me whether the      12      commission, correct?
       13      commission had concerns about safety?                    13   A. Yes.
       14                MS. MILLER: Well, I'll instruct him not to     14   Q. And the commission nonetheless recommended a 180-day
       15      answer because I think that would be disclosing the      15      suspension, correct?
       16      attorney/client communications.                          16   A. Yes.
       17   BY MR. HIRSCH:                                              17   Q. And then who -- well, strike that.
       18   Q. Now, you were actually presenting the 28-day letter      18              Did the respondent then object to the
       19      notice in this visit, correct?                           19      Michigan Supreme Court?
       20   A. Yes.                                                     20   A. Again, so the commission's decision is filed with the
       21   Q. So Judge Servaas at this time when you offered him the   21      court and then the respondent has 28 days, I don't
       22      opportunity to resign had not even had the chance to     22      remember the exact number or -- X number of days to
       23      respond to the 28-day letter, correct?                   23      file objections. And whether the respondent files or
       24   A. Correct.                                                 24      not, the commission -- the court takes the case.
       25   Q. And is it accurate that you gave him until -- you gave   25   Q. Right. But you couldn't object?



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        1      Judge Servaas until 9:00 a.m. the next morning to sign    1   A. Correct, I can't file anything in an objection.
        2      the resignation letter?                                   2   Q. But you could respond to the objections filed by the
        3   A. Yes.                                                      3      respondent, correct?
        4   Q. And what would happen if he didn't sign the               4   A. Yes.
        5      resignation letter by 9:00 a.m.?                          5   Q. Okay. And when you argued in front of the Michigan
        6   A. Then the petition for in-term suspension that the         6      Supreme Court you argued in favor of a greater
        7      commission had authorized would be filed with the         7      suspension than that recommended by the JTC, correct?
        8      court, the Supreme Court.                                 8   A. Yes.
        9   Q. And you said this event was the basis of an attorney      9   Q. And the Supreme Court in its opinion expressed some
       10      grievance complaint against you, correct?                10      concern about that; is that fair to say?
       11   A. I don't know about this event, but this case.            11   A. No.
       12   Q. Do you know who made that grievance against you?         12   Q. Okay. Do you recall whether they made any comment
       13   A. There were a number of attorneys, a group of them.       13      about your argument in their decision in In Re Adams?
       14   Q. Did you know who they were?                              14   A. Yes.
       15   A. I don't recall.                                          15   Q. What did they say?
       16   Q. Do you know what their relationship was to this          16   A. In a footnote they questioned the authority of the
       17      matter?                                                  17      examiner to argue something greater or against what
       18   A. No official relationship, but I assume they were         18      the commission had recommended.
       19      friends of Judge Servaas or -- I don't know. I don't     19   Q. And I presume, given that you made that argument, you
       20      recall if the attorney in the case, the defense of       20      believed that the examiner could argue for something
       21      Judge Servaas, was one of the signatories, I just        21      different or greater than what the commission
       22      don't recall.                                            22      recommended, correct?
       23   Q. The second case mentioned in Judge Sawyer's affidavit    23   A. I did and so did the commission.
       24      is In Re Adams. Do you recall that case?                 24   Q. Well, how do you know the commission did?
       25   A. Yes.                                                     25   A. Because in a couple of times that the commission had




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        1      been asked by the Court to prompt -- to propose              1   A. Judge Simpson filed a motion or something in the
        2      additional rules, the commission specifically                2      Supreme Court alleging that I had withheld certain
        3      requested that the rule be clarified to allow the            3      information, some e-mails or some such thing, and that
        4      examiner to argue against their position.                    4      the reason for doing so was based on racism. The
        5   Q. Was the rule ever clarified subsequent to In Re Adams?       5      court remanded back to the commission to see if any of
        6   A. It's still under consideration by the Court, although        6      those would have made a difference in their opinion.
        7      the commission has changed its position since then,          7             The commission remanded it back to the
        8      since firing me.                                             8      master to see if it would have made a difference. The
        9   Q. The third case mentioned by Judge Sawyer is In Re            9      master held a hearing and found that we hadn't
       10      McCree. Do you recall that case?                            10      withheld anything. It made its way back to the
       11   A. Yes.                                                        11      commission. The commissioner addressed it again. The
       12   Q. You served as examiner in that case?                        12      Supreme Court just issued the decision on Monday and
       13   A. Yes.                                                        13      didn't address it either.
       14   Q. Do you know what happened in that case that caused          14   Q. It was true in that case that some documents had not
       15      Judge Sawyer to mention that as a basis for some            15      been produced, correct?
       16      deficiency in your work performance?                        16   A. I can't answer the question the way you've asked it.
       17                 MR. NELSON: Objection, calls for                 17      We produced everything that we had or everything we
       18      speculation.                                                18      knew we had. We didn't know that we had certain
       19   BY MR. HIRSCH:                                                 19      e-mails.
       20   Q. You can answer to the extent you understand.                20   Q. So it was, I think, your position that there was an
       21   A. It's -- there's a footnote in that opinion as well          21      error because there was some attachment to an e-mail
       22      because the commission had recommended removal and I        22      that somehow did not get printed. Was that roughly
       23      was arguing for removal before the Court. And I             23      it?
       24      referred to some facts in one of the counts that the        24   A. Yes, it was never forwarded by regular -- we never saw
       25      commission forgot to include and -- in its decision         25      it before. We never saw it until after the allegation



                                                                Page 178                                                         Page 180
        1      about comments the judge had -- Judge McCree had made        1      was made by Judge Simpson and the Supreme Court.
        2      in court about the litigants and others who were             2   Q. In addition to the Wayne County complaint that we
        3      there, and I referred to one or two of those facts and       3       looked at, you also filed a complaint in federal
        4      then they made the footnote again that this was              4       court, correct?
        5      considered -- that they questioned me arguing outside        5   A. Yes.
        6      or some such thing. I don't remember that one as             6   Q. Before filing that federal complaint you filed a
        7      clearly.                                                     7       complaint with the EEOC, correct?
        8   Q. So you're suggesting that these were facts that were         8   A. Yes.
        9      before the JTC, but had not ended up in their written        9   Q. Okay. What was the outcome of the complaint with the
       10      recommendation to the Michigan Supreme Court; is that       10       EEOC?
       11      accurate?                                                   11   A. They gave authority to file the federal complaint.
       12   A. Yes, they were in the master's report so they're part       12   Q. So they didn't take any action, but they gave you a
       13      of the file. They were part of the record.                  13       right-to-sue letter, correct?
       14   Q. The fourth case mentioned by Judge Sawyer is called In      14   A. That's correct.
       15      Re Simpson. Do you recall that case?                        15   Q. In your federal complaint you allege that the JTC
       16   A. Yes.                                                        16       discriminated against you because of your religion or
       17   Q. Relatively recent, correct?                                 17       ethnicity, correct?
       18   A. Yes.                                                        18   A. Yes.
       19   Q. And do you recall that in that case the Michigan            19   Q. You are an orthodox Jew, correct?
       20      Supreme Court had remanded it back to the commission        20   A. I don't use that term, I'm a Jew.
       21      to consider certain information that Judge Simpson had      21               MARKED FOR IDENTIFICATION:
       22      obtained, but which was not in the -- well, strike          22               DEPOSITION EXHIBIT 15
       23      that.                                                       23               2:01 p.m.
       24              Do you know the reason the Michigan Supreme         24   BY MR. HIRSCH:
       25      Court remanded the case back to the commission?             25   Q. Sir, just to be clear, I did not mean any disrespect,




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        1        but --                                                  1      any commissioner?
        2    A. I understand, of course.                                 2   A. No.
        3    Q. -- what we've just handed you is Exhibit Number 15,      3   Q. Have you ever observed any racial discrimination by
        4        which is the complaint in the case Paul Fischer vs.     4      any of the professional staff at the JTC?
        5        State of Michigan and the Judicial Tenure Commission    5   A. No.
        6        filed in the Eastern District of Michigan.              6   Q. I want to shift focus a little bit and now talk about
        7                 Do you have that in the front of you, sir?     7      the Judge James matter before the JTC, okay?
        8    A. Yes.                                                     8   A. Okay.
        9    Q. And that is your complaint in federal court, correct?    9   Q. What prompted the JTC to investigate Judge James?
       10    A. Yes.                                                    10   A. I don't recall if there was a grievance filed or if it
       11    Q. If I could refer you to paragraph 13 of your            11      was something that we had seen in the media.
       12        complaint? 13, sir.                                    12   Q. Okay. Do you recall an attorney by the name of David
       13    A. Paragraph 13?                                           13      Jones?
       14    Q. Paragraph 13, I'm sorry.                                14   A. Yes.
       15    A. Sorry. Yes.                                             15   Q. Do you know whether he had filed a grievance against
       16    Q. You do allege there that you are an orthodox Jew.       16      Judge James?
       17        Those are the words you use in your complaint,         17   A. As you say that, I believe so, but I can't say for
       18        correct?                                               18      sure.
       19    A. Those are the words my attorney used, yes.              19   Q. Do you know Deborah Green?
       20    Q. Okay. And do you consider your termination a result     20   A. Yes.
       21        of anti-Semitism?                                      21   Q. Ms. Green works for the State Court Administrator's
       22    A. I believe that was a factor, yes.                       22      Office, correct?
       23    Q. And again, you don't identify names in your federal     23   A. Worked, past tense, for.
       24        complaint either, but in paragraph 95 you refer to     24   Q. In 2011 she worked for the State Court Administrator's
       25        commissioner one. Do you see that?                     25      Office; is that correct?


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        1   A. Yes.                                                      1   A. Yes. That was before the -- yes.
        2   Q. And you indicate that commissioner one was                2               MARKED FOR IDENTIFICATION:
        3      instrumental in causing your termination, correct?        3               DEPOSITION EXHIBIT 16
        4   A. Yes.                                                      4               2:06 p.m.
        5   Q. And you base that on comments commissioner one made to    5   BY MR. HIRSCH:
        6      you that you perceived some -- strike that, let me        6   Q. So I'm going to hand you what we've marked as
        7      start again.                                              7      Exhibit 16 to your deposition. It appears to be a
        8              Commissioner one -- your allegation is that       8      letter dated June 4th, 2011 directed to you at the JTC
        9      commissioner one somehow felt that you were bias          9      from Deborah Green at the State Court Administrator's
       10      against Judge Gorcyca because of your Jewishness and     10      Office. Do you have that in front of you, sir?
       11      ethnicity. Is that your allegation?                      11   A. Yes, I do.
       12   A. Yes, commissioner one expressed it on behalf of          12   Q. And again, this is dated June 14th, 2011, correct?
       13      himself and commissioner, I think it's three, but they   13   A. Yes.
       14      were there, as I understood it, at the direction of      14   Q. Do you recall -- well, strike that.
       15      the entire commission.                                   15               First of all, did you view this as a
       16   Q. So it would be fair to say that you have observed some   16      request for investigation from the Supreme Court
       17      discrimination, in fact experienced some                 17      Administrator's Office -- Administrative Office, I'm
       18      discrimination, by the commission based on religion,     18      sorry?
       19      correct?                                                 19   A. It gets called both, don't worry about it. Yes.
       20   A. That's what I've alleged, yes.                           20   Q. Okay. Do you recall if you received this request
       21   Q. Well, your allegations are true, right, you wouldn't     21      before or after the request from David Jones?
       22      make them if they weren't true to the best of your       22   A. I do not.
       23      knowledge, information and belief, right?                23   Q. Do you recall whether you had already begun an
       24   A. That is correct.                                         24      investigation prior to receiving this request from
       25   Q. Have you ever observed any racial discrimination by      25      Ms. Green?




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        1   A. I do not.                                                  1      commission or the commission --
        2   Q. Do you know when Judge James was placed on                 2   Q. Well, you -- well, first of all, you in your capacity
        3      administrative leave by the Michigan Supreme Court?        3      as executive director at the time?
        4   A. I think it was in December of 2011. The hearing then       4   A. No, no involvement.
        5      was maybe in January or February of 2012 and she was       5   Q. And insofar as you know the commission had nothing to
        6      removed in July of 2012. December 2011 sounds about        6      do with that, correct?
        7      right.                                                     7   A. Correct.
        8   Q. Well, I want to get the timeline straight. To your         8   Q. That was purely something that happened at the
        9      recollection Judge James was placed on administrative      9      Michigan Supreme Court level?
       10      leave before or after you received the request for        10   A. Correct.
       11      investigation from Ms. Green dated June 14th, 2011?       11   Q. And you would agree with me that that was -- well,
       12   A. I don't specifically recall, but I don't think it         12      strike that.
       13      would have been before.                                   13              Do you agree with me that that occurred
       14               MR. HIRSCH: One moment, please.                  14      before the JTC had opened its investigation?
       15               MR. NELSON: Off the record for a moment.         15   A. I don't know. You mentioned some other person,
       16               (Discussion off the record at 2:08 p.m.)         16      whatever the attorney's name was. I don't remember if
       17               (Back on the record at 2:10 p.m.)                17      he actually was a grievant or not or if the commission
       18   BY MR. HIRSCH:                                               18      had started something because of -- maybe this was
       19   Q. Okay. Would you disagree if I told you that Judge         19      public that she was on some type of administrative
       20      James was placed on administrative leave on               20      leave, I just don't recall when the actual file was
       21      April 14th, 2011?                                         21      opened.
       22   A. Then you're asking me -- I didn't understand the          22   Q. Were you aware that when Judge James was placed on
       23      question you were asking. I was -- I was thinking of      23      administrative leave an acting judge was installed to
       24      from the time that the commission petitioned for an       24      oversee the 22nd District Court?
       25      in-term suspension, which I believe was put into place    25   A. I'm aware that that occurred, yes.



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        1      in December of 2011. Administrative leave, I'm not         1   Q. Do you recall if that occurred before the in-term
        2      sure what that means then and I don't know who would       2       suspension that the JTC requested?
        3      have done anything like that.                              3   A. Yes, I believe so.
        4   Q. You did not have anything to do with -- well, strike       4   Q. You were aware that Judge James was on administrative
        5      that.                                                      5       leave at the time you filed the request, you on behalf
        6   A. As you're saying that, I remember there being              6       of the JTC, filed the request for in-term suspension,
        7      something like that, but it had nothing to do with the     7       correct?
        8      commission.                                                8   A. I would have been aware then, I didn't necessarily
        9   Q. Okay. So let's clarify. When I say administrative          9       remember today, but as you're saying this it is
       10      leave, do you know now what I'm talking about?            10       bringing it back to me. It does seem right.
       11   A. I understand the words, but there's no provision          11   Q. Do you recall any other situation where a judge was
       12      anywhere for administrative leave like that so I don't    12       under investigation by the JTC, had been placed on
       13      really know what legal basis there is for it. I know      13       administrative leave before the JTC had sought any
       14      that it happens.                                          14       sort of in-term suspension?
       15   Q. I'm not suggesting that the commission did it, I'm        15   A. I believe so, but I -- don't ask me for any --
       16      just asking if you recall that that happened in Judge     16   Q. Do you recall the judge that was selected to serve as
       17      James' case?                                              17       the acting judge in the 22nd District Court when Judge
       18   A. I do recall now that there was some type of               18       James was -- certainly when -- by the time Judge James
       19      administrative leave, whatever that means, that took      19       was suspended?
       20      place at some time before the commission petitioned       20   A. Valdemar Washington.
       21      for the in-term suspension. Is it in a letter?            21   Q. Okay. Did you have anything to do with the selection
       22   Q. There you go. And you had -- you had nothing to do        22       of Judge Washington to act as the acting judge?
       23      with that administrative leave, correct?                  23   A. No.
       24   A. Correct. When you say you, you mean talking about me,     24   Q. Do you know who did?
       25      Paul Fischer, or me as the executive director of the      25   A. I don't know.




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        1   Q. Did you know Judge Washington before Ms. James' matter       1   A. Yes.
        2       before the JTC?                                             2   Q. So I take it since you don't recall specifically
        3   A. I knew who he was. It's possible I had met him in a          3       whether you did it in this matter, you would not
        4      conference or something.                                     4       recall if there were any particular offers made,
        5   Q. At the time the JTC filed its petition for in-term           5       correct?
        6       suspension, that was contemporaneous with the filing        6   A. That's correct.
        7       of the formal complaint; is that right?                     7   Q. And you don't recall whether you gave Judge James the
        8   A. I don't specifically recall, but I think so.                 8       option to resign or retire, correct?
        9   Q. Do you recall whether you had dealt with Judge               9   A. I believe that would be the only option I would have
       10       Washington in any way during the investigative phase       10      given Phil. This was not a suspension case, it was a
       11       prior to the filing of the formal complaint?               11      removal case.
       12   A. I don't recall.                                             12   Q. It was a removal case in the sense that your review of
       13   Q. Who was the staff attorney assigned to Judge James'         13       the file led you to the conclusion that you were going
       14       case?                                                      14       to recommend removal, correct?
       15   A. Margaret Rynier.                                            15   A. Yes, it was theft of public money and fraud on the
       16   Q. From the beginning?                                         16      public. Removal was the only option.
       17   A. I don't know, I don't remember when she started.            17   Q. So you don't recall one way or another whether there
       18   Q. Well, that's sort of what I'm getting at, right,            18       were discussions for settlement or resolution of this
       19       Ms. Rynier I believe started in 2011, right? I don't       19       particular case, but ultimately we would agree that
       20       know what month. Do you recall what month?                 20       there was a formal complaint filed -- issued, correct?
       21   A. I think early in the year, January, February. This          21   A. Yes.
       22      was her first trial at the commission, I remember           22   Q. So the commission approved that and it got issued,
       23      that.                                                       23       right?
       24   Q. But if Mr. Swastek, for example, had had the file,          24   A. Yes.
       25       Ms. Rynier could still very well have ended up being       25   Q. Okay. And when you were considering the allegations



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        1      the trial attorney, correct?                                 1      in the formal complaint, the formal charging document,
        2   A. Anything is possible, I just don't remember him having       2      did you compare the conduct -- the alleged conduct of
        3      it first.                                                    3      Judge James to the conduct of other judges against
        4   Q. But in the sense that Mr. Swastek wouldn't have done         4      whom the JTC had proceeded?
        5      it so --                                                     5   A. There was no other judge who had stolen public money
        6   A. He wouldn't have done the trial, correct.                    6      and committed fraud the way she had, so no.
        7   Q. And did you make any efforts to resolve this matter          7   Q. So you didn't think that in the history of the JTC
        8      with Judge James before the 28-day letter?                   8      there was anything equivalent to do that sort of
        9   A. I don't specifically recall.                                 9      comparison, correct?
       10   Q. Don't recall one way or the other?                          10   A. Correct. I can recall a case, Jenkins was -- I forgot
       11   A. No.                                                         11      what kind of judge, something in Detroit, and he
       12   Q. Do you recall if you made any efforts to resolve this       12      had -- can't quite say that he stole, but he was
       13      matter with Judge James after issuing the 28-day            13      getting things from local little stores or whatever.
       14      letter and before filing the formal complaint?              14      He would go in, getting this for free and there were
       15   A. It's generally my practice to do so. One of her             15      some lies about what he had done and he was removed.
       16      attorneys, I think was her lead attorney -- who I           16      That -- I can't even say that that was close because
       17      considered her lead attorney, was Phil Thomas and that      17      he didn't do what she had done.
       18      I have a good relationship with him, working                18   Q. So to the extent you were considering it, you were
       19      relationship, professional relationship, and I'm            19      considering it in the context of some, in your view,
       20      certain that we discussed it.                               20      lesser conduct and since the lesser conduct resulted
       21   Q. Do you recall --                                            21      in removal, what you considered more severe conduct
       22   A. Presuming we would have discussed it, I don't               22      would, I think logically then, have to result in
       23      specifically recall doing so though.                        23      removal, right?
       24   Q. Okay. Mr. Thomas handles a lot of matters in front of       24   A. Well, I'm saying that sitting here. I can't say that
       25      the JTC, correct?                                           25      I necessarily thought of it then. The actions that




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        1      she had committed in and of themselves in my opinion        1   A. Yes.
        2      and in the opinion of the Supreme Court later required      2   Q. That was part of the process, right --
        3      her removal.                                                3   A. Yes.
        4   Q. But it is important, I think you've told me, that the       4   Q. -- prior grievances?
        5      JTC seeks to treat judges equally, correct?                 5                Did you take the fact that there had been
        6   A. Yes.                                                        6       prior grievances into account when deciding whether to
        7   Q. So to the extent you could make any comparison to how       7       proceed against Judge James in the matter we're
        8      some other judge had been treated, it would be              8       talking about now, the 2011 matter?
        9      important to do that, right, that's how you'd have to       9                MR. NELSON: Objection, calls for his
       10      ensure that they were treated equally, right?              10       mental impressions and thus work product.
       11   A. I can't speculate on what it was. There was no other       11                MR. HIRSCH: So are you directing him not
       12      judge who committed the theft that she had committed       12       to answer?
       13      and the fraud that she had committed. There was            13                MR. NELSON: I'm directing him not to
       14      nothing to compare her to. What she did required           14       answer.
       15      removal.                                                   15   BY MR. HIRSCH:
       16   Q. Had you met Judge James at all prior to the JTC's          16   Q. What investigation was performed prior to filing the
       17      investigation of this case?                                17       formal complaint against Judge James?
       18   A. I don't think I ever saw her until the first day of        18   A. I don't specifically recall.
       19      the hearing, unless there was a pretrial, but I don't      19   Q. If I told you the formal complaint was filed on
       20      recall.                                                    20       October 26th, 2011, would you have any reason to
       21   Q. Did you know Judge James was African-American at the       21       dispute that date?
       22      time you filed the formal complaint?                       22   A. No.
       23   A. I did, yes.                                                23   Q. Do you know -- do you know whether investigation was
       24   Q. Do you know how you got that knowledge?                    24       being conducted while Judge James was on
       25   A. I'd seen her in another matter that the commission had     25       administrative leave; in other words, was the


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        1      with her. I had seen a picture of her or some such          1      investigation conducted at the time when she was not
        2      thing.                                                      2      at the 22nd District Court?
        3   Q. What was the other matter that the commission had with      3   A. I believe so.
        4      her?                                                        4   Q. Do you recall if the JTC was dealing with Judge
        5   A. Well, there were two that I can recall.                     5      Washington at that time?
        6   Q. What were the two you can recall?                           6   A. I don't know that the JTC dealt with the acting judge
        7   A. One was the mayor or mayoral candidate had filed a          7      or acting chief judge at all. I don't specifically
        8      grievance against her because she had taken a position      8      recall.
        9      against his political position regarding the city           9   Q. Do you know --
       10      charter or amended city charter or some such thing.        10   A. Now, it's possible that Maggie Rynier, as the chief
       11      And the other time was she had, I believe it was a         11      attorney with that matter, may have talked to him, I
       12      loaded gun going through the airport at Metro.             12      don't know.
       13   Q. With respect to the first one you mentioned, the           13   Q. Did you ever visit --
       14      grievance brought by the mayoral candidate. Do you         14   A. No.
       15      recall the outcome of that?                                15   Q. -- the 22nd District Court in the course of the
       16   A. There was no formal complaint. I don't know if there       16      investigation of Judge James?
       17      was one or the other types of letters that was issued,     17   A. No.
       18      I just don't recall.                                       18   Q. Okay. And do you know whether any of the staff
       19   Q. And as to the incident with the gun at the airport, do     19      attorneys visited the 22nd District Court in the
       20      you recall the outcome of that?                            20      course of the investigation of Judge James?
       21   A. Also no formal complaint and I don't recall if there       21   A. I believe Margaret Rynier did, but I don't know.
       22      was anything else done.                                    22   Q. Do you know if anyone made a search for materials in
       23   Q. Now, in your intake then of Judge James' grievance or      23      Judge James' office?
       24      grievances, those other two would have come up,            24   A. I don't know.
       25      correct?                                                   25   Q. Do you know if the source of any materials that were




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        1       ultimately used in the disciplinary proceedings came       1      discipline, right?
        2       from Judge James' office?                                  2   A. No discipline, dismissed.
        3   A. I don't know.                                               3   Q. So in that case a judge who retired or resigned could
        4   Q. And you said you were never at the 22nd District            4      come back and serve as a visiting judge, correct?
        5       Court, correct?                                            5   A. So sometimes the commission would specifically say if
        6   A. Right.                                                      6      you do, then the commission will reinstate the
        7   Q. Did you direct anyone to make a search of any area of       7      charges.
        8       the 22nd District Court?                                   8   Q. If you come back as a visiting judge?
        9   A. No.                                                         9   A. That's right.
       10   Q. Do you know whether there was a safe in Judge James'       10   Q. Because the commission does have jurisdiction over
       11       office?                                                   11      visiting judges as well?
       12   A. I don't know.                                              12   A. Correct.
       13   Q. To your knowledge Judge Washington fully cooperated        13   Q. Okay. You are familiar with reciprocal discipline by
       14       with the JTC's investigation, correct?                    14      the State Bar of Michigan, correct -- well, are you
       15   A. I don't know that he was involved in the                   15      familiar with reciprocal discipline by the State Bar
       16       investigation.                                            16      of Michigan?
       17                 MR. HIRSCH: We'll take a short break.           17   A. In terms of another state discipline?
       18                 (Recess taken at 2:30 p.m.)                     18   Q. No, in terms of that the State Bar of Michigan, if
       19                 (Back on the record at 2:42 p.m.)               19      there is a finding by the JTC of discipline, would
       20   BY MR. HIRSCH:                                                20      consider that reciprocal discipline with respect to a
       21   Q. Sir, we talked a little bit earlier when we were           21      law license in the State Bar of Michigan?
       22       discussing the types of discipline and what fell into     22   A. No, I don't think that's how it works, no.
       23       the category of discipline and not discipline, right,     23   Q. Okay. You don't think that's how it worked?
       24       do you recall that?                                       24   A. No. I mean, I know they can show-cause the judge and
       25   A. Yes.                                                       25      show why they couldn't have -- they have to have some



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        1   Q. Certain letters fell into the category of not               1      type of a hearing in front of the Attorney Discipline
        2      discipline?                                                 2      Board. There's got to be some process involved there.
        3   A. Yes.                                                        3   Q. Okay. But you're not -- generally you're not too
        4   Q. And one thing you suggested is that it wouldn't make a      4      familiar with that process apparently, correct?
        5      difference to you whether a judge resigned or retired       5   A. Right.
        6      if the settlement discussions went to essentially           6   Q. Okay. We talked about Ms. Green at the Supreme Court
        7      removal, right? You didn't care how it happened,            7      Administrative Office. Do you recall that?
        8      right?                                                      8   A. Yes.
        9   A. Correct. I don't know that there's a difference in          9   Q. Did you have any discussions about this matter, and by
       10      the judge submits the letter of resignation and            10      this matter I'm talking about the federal case we're
       11      whether the Office of Retirement treats it as a            11      now in with Ms. Green --
       12      retirement or not; that's their business, not mine.        12   A. So Judge -- the Sylvia James case against Green, me --
       13   Q. So maybe there's no difference anyway?                     13   Q. Correct.
       14   A. Right. But a judge who resigns has to submit a letter      14   A. -- the commission.
       15      to, I forget, Secretary of State, the governor, SCAO,      15   Q. Correct, the federal matter, not the underlying JTC
       16      whatever it is. It's a letter of resignation, it's         16      proceedings.
       17      not a letter of retirement.                                17   A. Yes. So the question is then?
       18   Q. Okay. And to the extent that would happen then and         18   Q. Did you have any discussions with Ms. Green, who is
       19      the JTC would resolve the case with one of the             19      also a Defendant in this case, about this case, this
       20      resolutions that are in the no-discipline category,        20      federal case?
       21      correct?                                                   21   A. It's possible, I don't recall.
       22   A. Generally what would happen is if a judge resigns          22   Q. Did you have any conversations with Valdemar
       23      under fire, so to speak, the commission will dismiss       23      Washington about this case?
       24      the matter.                                                24   A. I don't think so.
       25   Q. Okay. And if it's dismissed, then that's no                25   Q. Do you know Pamela Anderson?




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        1   A. I know who she is, I don't know her personally.            1      read it carefully, but I did read through it. I met
        2   Q. Have you ever met her?                                     2      with my attorney yesterday. I think that's it.
        3   A. I can't say I met her. She was a witness in the case,      3   Q. I don't want to know the substance of what you said,
        4      I know it's possible that Maggie, who had interviewed      4      but how long did you meet with your attorney
        5      her and was questioning her, introduced me to her,         5      yesterday?
        6      that's possible. I don't specifically recall that          6   A. A couple hours, three hours maybe.
        7      either.                                                    7   Q. And I've named some categories of people and asked you
        8   Q. She was a witness at the JTC hearing --                    8      specifically if you discussed the case with them, but
        9   A. Yes.                                                       9      other than the people I already asked you about and
       10   Q. -- for Judge James, correct?                              10      other than counsel was there anybody else who you
       11   A. Yes.                                                      11      discussed this federal case with?
       12   Q. As was Judge Washington, I believe, correct? If you       12   A. With the commissioners at the time that I still worked
       13       recall?                                                  13      there. Same thing, I would report to them at meetings
       14   A. I don't recall.                                           14      what was going on with any cases that were -- where
       15   Q. Okay.                                                     15      the commission was a defendant or I was a defendant
       16   A. I believe so, but I don't recall.                         16      and so I would advise them, you know, the case was
       17   Q. Okay. Did you have any discussions with Ms. Anderson      17      dismissed, this is what happened, but not in any more
       18       about this federal case?                                 18      detail than that.
       19   A. No, I've never spoken to her.                             19             MR. HIRSCH: I have nothing further right
       20   Q. Did you ever discuss this federal case with any           20      now. Thank you, sir.
       21       present or former justice of the Michigan Supreme        21             MR. ASHER: No questions, all set.
       22       Court?                                                   22             MS. MILLER: I have none.
       23   A. I don't think so.                                         23             MR. NELSON: I guess we're done.
       24   Q. Did you ever discuss --                                   24             (The deposition was concluded at 2:49 p.m.
       25   A. And I only pause -- I only hesitate because the           25          Signature of the witness was not requested by



                                                              Page 202                                                         Page 204
        1      Supreme Court has -- or had a justice as the liaison       1               counsel for the respective parties hereto.)
        2      to the commission that would come maybe once a year or     2
        3      once every couple years just to see how things are and     3
        4      perhaps it was mentioned at one of those, but I don't      4
        5      specifically recall. I don't normally sit and talk to      5
        6      Supreme Court justices.                                    6
        7   Q. Did you discuss this federal case with any other of        7
        8      the staff members of the JTC?                              8
        9   A. Again, it's possible. I mean, the commission and I         9
       10      were being sued, it's possible it got mentioned, by       10
       11      the way, we're being sued.                                11
       12   Q. So you don't know one way or the other?                   12
       13   A. I don't specifically recall.                              13
       14   Q. And so I presume you couldn't tell me about any           14
       15      conversations then because you don't recall whether       15
       16      they occurred or not?                                     16
       17   A. No, and there wouldn't have been very many.               17
       18   Q. And in that previous answer I was also referring to       18
       19      the staff attorneys?                                      19
       20   A. I'm certain that I've discussed it with Maggie, but       20
       21      discussed more in the sense of mention, the case is       21
       22      still going on, the case got dismissed, the case got      22
       23      reinstated, such and such.                                23
       24   Q. What did you do to prepare for this deposition?           24
       25   A. I looked over the Supreme Court's decision. I didn't      25




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        1               CERTIFICATE OF NOTARY
        2   STATE OF MICHIGAN )
        3              ) SS
        4   COUNTY OF OAKLAND )
        5
        6             I, BECKY JOHNSON, certify that this
        7     deposition was taken before me on the date
        8     hereinbefore set forth; that the foregoing questions
        9     and answers were recorded by me stenographically and
       10     reduced to computer transcription; that this is a
       11     true, full and correct transcript of my stenographic
       12     notes so taken; and that I am not related to, nor of
       13     counsel to, either party nor interested in the event
       14     of this cause.
       15
       16
       17
       18
       19
       20
       21
       22                      BECKY JOHNSON, CSR-5395
       23                      Notary Public,
       24                      Oakland County, Michigan
       25     My Commission expires: January 28, 2019




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